                                             Monolines Ex. 51
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                                   UNITED STATES OF AMERICA
                                COMMON WEALTH OF PUERTO RICO
                     PUERTO RICO HIGHWA Y AND TRANSPO RTATION AUTHOR ITY



             $140;000;000~00                                                                     June 30, 2009
                      PUERTO RICO HIGHWA Y. AND .TRANSP ORTATIO N AUTHOR ITY
             (hereinafter called the "Authority "), a public corporatio n and autonomo us governme nt
             instrumen tality of the Commonw ealth of Puerto. Rico, for value received hereby
             promises to pay, solely from the sources described in the Loan Agreemen t mentioned
             herein, to the order of Goverrune ntDevekip ment Bank for Puerto Rico (the ,,Lender'~).at
            its principal office in Sari Juan, Puerto. Rico, on June 30, 2009, subject to prepayme nt as
             set forth below, the principal sum of ONE HUNDRE D FORTY MILLION DOLLARS
             ($140,000,000.00) to the extent- that such amount or any portion .thereof has beert
            borrowed by the Authority under the Loan Agreemen t (hereinafter defined) and remains
             unpaid. Such payment shall be made in any coin or currency of the United States of
            America which at the time of payment is legal tender for the payment of public and
             private debts. The Authority hereby agrees to repay the outstandin g aggregate principal
            amount of the Loan at the principal office of the Lender in San Juan, Puerto Rico, from
            proceeds of bonds to be issued by the Authority pu!suant to the provisions of
            Authority' s Constructi on Fund, created and established under Resolution No. 68-18,
            adopted by the Authority on June 13; 1968, as amended, (the ''1968 Resolution 'l, or the
            Authority' s Constructi on Fund created and established under Resolution 98~06 adopted
            by the Authority on February 26, 1998, as amended, (the "1998 Resolution) (collectively,
            "the Resolutions"). Each Drawjng shall bear interest daily until paid in full from the date
            such Loanis.m~ de until its repaymen t at a variable rate of interest, which rate may be
            revised,jn:6:rtthly>per annum equal to the Lender's cost of funding for taxable variable
            rat~ lo;u{ttansa~ti~'ns or the cost of any other obligations or source of funds used to .fund
            tl{e Lpan.r1Fgr.. p,urp~ses of the precedmg sentence, the cost of funding shall mean the
            applicable
              ·' .• .    ,.. ·•
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                                   , ,. ! .
                                            source of funds used. to fund the Loan, plus in either case, a
                                                                                  .
            requi:i;~d: Ii),a:t~·co_st. Initially, this required, margin cost will be equal to 150 basis points..
            The··\:rfquired ma.rgin cost may be revised from time to time by the Lender to such an
            extentlha t      when     added to the applicable cost of funds, the interest rate so determine d
  ·"F       and applicable to the Loan will provide for a total coverage of what the Lender
            determines to be-its ,;all-inclusive" fundingc6 sts. lnterest shall be payable monthly in
            arrears not later than the te:nth Banking Day following receipt from the Lender of the
            statement referred below, from any available moneys of the Authority. Not later than the
            fifth (5 th) Banking Day of each month the Bank shall furnish to the Authority a written
            statement showing the am6unt of interest due and payable by the Authority on the Loan
            for the preceding month. The Loan may be prepaid at any time by the Authority
            without penalty or premium. This Note is issued pursuant to a Loan Agreemen t between
        ,   the Authority and the Lender subscribed on this same date.

                  The Authority waives the requireme nt of demand, presentme nt, protest, notice of
            dishonor, and, in general, any other legal formality.            .

                  If the Authority defaults in making any payment w.hen due under this Note, the
            Lender may declare this Note to be immediate ly due and payable:               '
                    In case of recourse to the courts by the Lender in order to co11ed the whole or any
            portion of the principal or interest due under this Note, the Administr ation agrees to pay
            a liquidated sum equal to 10% of the principal sum of this Note to cover expenses of such
            proceeding s, court costs, disbtu-sements and attorney's fees, which amount will become
            immediate ly due and payable upon the filing of such judicial proceedings.

                  All acts, conditions and things required by the Puerto Rican Federal Relations Act
            and the Constituti on and Laws of the Commonw ealth of Puerto Rico to happen, exist,
            and be·perform ed precedent to and in the issuance of this Note have happened, exist and


            Document 23544



                                                                                            AAFAF_CONF_0003653
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      have been perfor:i:ned as so required. This Note shall be construed in accordance with
      the laws of the Commonwealth of Puerto ·Rico.        ·

               IN   WITNESS .       W'HEREOF,        PUERTO . RICO            HIGHWAY          AND
      TRANSPORTATION AUTHORITY .has caused this note to be signed by its executive
      director and its corporate seal to be affixed hereto, in San Juari, Puerto Rico, this 19th day
      of March, 2008.


                                                                    PUERTO RICO BIGHWAY AND
                                                                 · TRANSPORT TI N AUT     TY


                                                      By:
                                                                                       d Garay
                                                                             u ve ._ irector ·

      Affidavit No. -(i{- .

             Recognized and subscribed before me by Luis M. Trinidad Ga,ray, as Executive
      Director of the Puerto Rico Highway and Transpoi·tation Authority, of legal age; married and ..
      resident of San Juan, P~erto Rico, perso"nally known to me. · ·

              ·. In Sari Juan, Puerto Rico, on March 19, 2008.




       Document 23544


                                                                                AAFAF_CONF_0003654
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                         . UNITED STATES OF AMER.I CA
                       COMMONWEALTH OF PlJERTO RICO
              PUERTORICOHIGHWAYAND TRANSPORTATION AUTHORITY



        $147,113,000.00                                                            June 30, 2009
                                ,           .           .             .


                 PUERTO RICO . HIGIDNAY . AND TRANSPORTATION AUTHORITY
         (hereinafter ~alled the .• "Authority''),. a public corporation. and autonomous
         instrumentality of the Corru:nonwealth of Puerto Rico, for value received hereby
         promises to payr solely from the sources described in the Loan Agreement mentioned
         herein, to the order ·of Government Development Bank for Puerto Rico (the
         "Lender") at its principal office ili SanJuan, Puerto Rico, on June 30, 2009, subject to
         prepayment as set forth below, the principal sum of ONE HUNDRED FORTY
       · SEVEN MILLION ONE · HUNDRED · THIRTEEN THOUSAND DOLLARS
         ($147,113,000.00) to the extent that such amount or any portion thereof has been
         borrowed by the Authority under the Loan Agreement (hereinafter defined) and
         remains unpaid. Such payment shall be made in any coin or currency of the United
       · States of America which at the time of payment is legal tender for the payment of
         public and private debts. The Authority hereby agrees to repay the outstanding
         a gregate principal amount of the Loan at the principal office of the Lender in
            an Juan, Puerto Rico, from proceeds of bonds to be issued by the Authority
            ursuant to the provisions 6£ Authority's Construction Fund, created and established
           nder Resolution No. 68-18, adopted by the Authority on June 13, 1968, as amended,
         · the. "1968 Resolution"), or the Authority's Construction Fund created and
         established under Resolution 98-06 adopted by the Authority on February 26, 1998,
         as amended, (the "1998 Resoluti9n) (collectively, "the Resolutions"), or with the
         proceeds of the Operational Management Agreement for the Private/Public
         Partnership on Highway PR-22 to be entered by the Authority with a third party yet
         to be determined. If these measures are not implemented successfully, or do not
         produce the projected benefits, the Authority will implement the necessary increases in
         tolls for the repayment of the Line of Credit.

               Each Drawing shall bear interest daily until paid in full from the date such
        Loan is made until its repayment at a variable rate of interest, which rate may be
        revised monthly, per annum equa1 to . the Lender's cost of funding for taxable
        variable rate loan transactions or the cost· of any other obligations or source of funds
      · used to fund the Loan. For purposes of the preceding sentence, the cost of funding
        shall mean the applkable cost of any sou:tce of funds used to fund the. Loan, plus. in
        either case, a required margin cost Initially, this required margin cost wHl be equal
        to 150 basis points. The required margin cost may be revised from time to time by
        the Lender to such an extent that when.added to the applicable cost of funds, the
        interest rate so determined and applicable      to  the Loan will provide for a total
                                                                 11
        coverage of what the Lender determines to .be its all-inclusive" funding costs.
        Interest shall be payable monthly in arrears not later than the tenth Banking Day
        following receipt from the Lender of th.e . statement referred below, from any
        available moneys of the Authority. Not later than the fifth (5 th ) Banking Day of each
        month the Bank shall· furnish to the Authority a written. statement showing the
        amount of interest due and payable by the Authority     on   the Loan for the preceding
        month. The Authority may prepay the Line of Credit at any time without penalty or
        premium. This Note is issued pursuant to a Loan Agreement between the Authority
        and the Lender subscribed on this same date.

              The Authority waives the requirement of demand, presentment, protest,
       notice of dishonor, and, in general, any other legal foqnality ..

             If the Authority defaults in making any payment when due under this Nate,
       the Lender may declare this Note to be immediately due and payable.




                                                                              AAFAF_CONF_0004176
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                In case of recourse to the courts by the Lender in order to collect the whole or
         any portion of the principal or interest due under this Note, the Administration
         agrees to pay a 11.quidated sum equ.al to 10% of the principal sum of this Note to
         cover expenses of such proceedings, court costs~ disbursements and attorney's fees,
         which amount will become immediately due and payable upon the filing of such
         judicial proceedings. .                  .,

                 All acts, conditions and things required by the Puerto Rican Federal Relations
         Act and the Constitution and Laws of the Commonwealth of Puerto Rico to happen,
         exist, and b°k performed precedent to and in the issuance ot this Note have happened,
         exist arid have been performed as so required; This Note shall .be construed in
         accordance with the laws of the Commonwealth of Puerto Rico.

                 IN-- . WITNESS      WHEREOF,       . PUERTO    RICO     HIGHWAY ..    AND
         TRANSPORTATION AUTHORJTY has caused this note to be signed by its executive
         director and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this
         6th day of August, 200.8. .


                                                           PUERTO RICO HIGIDVAY AND
                                                          TRANSPORTA TI. N AUTHORITY


                                                  .By:
                                                                        . Trinidad Garay
                                                                  . Executive Director

        · Affidavit No. 508

                Recognized and subscribed before · me by Luis M. · Trinidad Garay, as
         Executive Director of the Puerto R1co Highway and Transportation Authority, of
         legal age, married and a resident of San Juan, Puerto Rico, who is personally known
         tome.

                 In San Juan, Puerto Rico; on August 6th, 2008.




         Document 23951



                                                                            AAFAF_CONF_0004177
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                                  PROMISSORY NOTE




 $100,000,000                                                Due date: August 30, 2011

         The PUERTORICO HIGHWAY AND TRANSPORTATION AUTHORITY
 (hereinafter called the "Authority'1 ) , a public corporation and autonomous
 instrumentality of the Commonwealth of Puerto Rico, for value received hereby
 promises to pay, solely from the sources described in the Loan Agreement mentioned
 herein, to the order of Government Development Bank for Puerto Rico (the "Lender") at
 its principal office in San Juan, Puerto Rico, on August 30, 2011, subject to prepayment
 as set forth below, the principal sum of ONE HUNDRED MILLION DOLLARS
 ($100~000,000) to the extent that such amount or any portion thereof disbursed under
 the Loan Agreement executed on this same date remains unpaid. Such payment shall
 be made in any coin or currency of the United States of America which at the time of
 payment is legal tender for the payment of public and private debts. The Authority
 hereby agrees to repay the outstanding aggregate principal amount of the Loan at the
 principal office of the Lender in San Juan, Puerto Rico,. from proceeds of bonds to be
 issued by the Authority pursuant to the provisions of the respective sections of the
 Resolutions or from any available moneys of the Authority.

         The Loan shall bear interest daily from August 28, 2009, the date of disbursement,
 until its full repayment at the rate of prime rate plus 150 basis points per annum, or the
 rate determined by the President of the Bank or his designee, depending on the interest
 rate market. Interest shall be payable monthly in arrears not later than the tenth
 Banking Day following receipt from the Lender of the statement referred below, from
 any available moneys of the Authority. Not later than the fifth (5th) Banking Day of each
 month the Bank shall furnish to the Authority a written statement showing the amount
 of interest due and payable by the Authority on the Loan for the preceding month. The
 Authority may prepay the Line of Credit at any time without penalty or premium. This
 Note is issued pursuant to a Loan Agreement between the Authority and the Lender
 subscribed on this same date.

        The Authority waives the requirement of demand, presentment, protest,. notice
 of dishonor, and, in general, any other legal formality.

       If the Authority defaults in making any payment when due under this Note, the
 Lender may declare this Note to be immediately due and payable.

        In case of recourse to the courts by the Lender in order to collect the whole or any
 portion of the principal or interest due under this Note, the Administration agrees to
 pay a liquidated sum equal to 10% of the principal sum of this Note to cover expenses
 of such proceedings, court costs, disbursements and attorney's fees, which amount will
 become immediately due and payable upon the filing of such judicial proceedings.

        All acts, conditions and things required by the Puerto Rico Federal Relations Act
 and the Constitution and Laws of the Commonwealth of Puerto Rico to happen, exist,
 and be performed precedent to and in the issuance of this Note have happened, exist
 and have been performed as so required. This Note shall be construed in accordance
 with the laws of the Commonwealth of Puerto Rico.




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         IN WITNESS li\THEREOF, the AUTHORITY has caused this note to be signed by
  its Executi~ir ector and its corporate seal to be affixed hereto, in San Juan, Puerto
  Rico, this    day of October, 2009.                .

                                   PUERTO RICO HIGHWAY AND
                                   TRANSP   TATIO AUTHORITY


                                   By:[_,.<;.-+_:-r--,--.-
                                                        '-L_'--+_)_ _ _ _ _ _ __

                                                    ernandez Gregorat
                                         Executive Director

  Testimony No.   8'375
        Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
  Executive Director of the Puerto Rico Highway and Transportat ion Authority, of legal
  age, married, and resident of Guaynabo, Puerto Rico, personally known to me.
                    .          .                    -::zri~
        In San Juan, Puerto Rico, on October ~, 2009.
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                                                PROMISSORY NOTE



                $20,000,000                                                            August 31, 2010

                       PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
                (hereinafter called the u Authority"), a public corporation arid autonomous
                instrumentality of the Commonwealth of Puerto Rico, for value received hereby
                promises to pay, solely from the sources described in the Loan Agreement mentioned
                herein, to the order of Government Development Bank for Puerto Rico (the
                aLendern), at its principal office in San Juan, Puerto Rico, on August 31, 2010, subject
                to prepayment as set forth below, the principal sum of TWENTY MILLION
                DOLLARS ($20,000,000), (the "Loan"), to the extent that such amount or any portion
                thereof has been borrowed by the Authority under the Loan Agreement, dated
                October ___, 2009., between the Authority and the Lender and remains unpaid.
                Such payment shall be made in any coin or currency of the United States of America
                which at the time of payment is legal tender for the payment of public and private
                debts. The Authority hereby agrees to repay the outstanding aggregate principal
                amount of the Loan at the. principal office of the Lender in San Juan, Puerto Rico,
                from the proceeds of federal reimbursements on payments done or to be done by the
                Authority for the Projects, from amounts available from the Authority's Construction
                Funds established under the Resolutions, as defined in the Loan Agreement, or from
                any other available resources of the Authority. Capitalized terms used in this Note
                and not otherwise defined shall have the meaning ascribed to them in the Loan
                Agreement.

                Each Drawing shall bear interest daily from the date such Drawing is made until its
                repayment al a variable rate of interest which may be revised quarterly, equal to
                Prime plus 150 basis points. The President of the Bank or the duly authorized
                Executive Vice President of the Bank may modify the interest rate at anytime at their
                full discretion, depending on the interest rate market.

                Interest shall be payable monthly in arrears not later than the tenth Banking Day
                following receipt from the Lender of the statement referred to in the next sentence of
                this paragraph, from amounts available from the respective Construction Funds
                established under the Resolutions or from any available moneys of the Authority.
                Each month the Bank shall furnish to the Authority a written statement showing the
                amount of interest due and payable by the Authority on the Loan for the preceding
                month. The Authority may prepay the Line of Credit at any time without penalty or
                premium. This Note is issued pursuant to a Loan Agreement between the Authority
                and the Lender subscribed on this same date.

                       The Authority waives the requirement of demand, presentment, protest,
                notice of dishonor, andr in general, any other legal formality.

                      If the Authority defaults in making any payment when due under this Note,
                the Lender may declare this Note to be immediately due and payable.

                      In case of recourse to the courts by the Lender in order to collect the whole or
               any portion of the principal or interest due under this Note, the Administration
               agrees to pay a liquidated sum equal to 10% of the principal sum of this Note to
               cover expenses of such proceedings, court costs, disbursements and attorney's fees,
               which amount will become immediately due and payable upon the filing of such
               judicial proceedings.

~"Tl
                       All acts, conditions and things required by the Puerto Rican Federal Relations
 )>            Act and the Constitution and Laws of the Commonwealth of Puerto Rico to happen,
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()
               exist, and be performed precedent to and in the issuance of this Note have happened,
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                  exist and have been performed as so required. This Note shall be construed in
                  accordance with the laws of the Commonwealth of Puerto Rico.

                         IN   WITNESS        WHEREOF,        PUERTO      RICO     HIGH.1NAY AND
                 TRANSPORTATION AUTHORITY has caused this note to be signed by its executive
                 dir_Gctor and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this
                 ~day of October, 2009.                                         .


                                                                 PUERTO RICO             GHWAY AND
                                                                      _O                   UTHORITY


                                                         By:
                                                                 (--;,f-\---f--/
                                                                               -/-_L_I



                                                                       Ruben A. Hernandez Gregorat
                                                                          Executive Director

                 Affidavit   No.1t12-
                        Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
                 Executive Director of the Puerto Rico Highw~y and Transportation Authority, of
                 legal age, married and a resident of Guaynabo, Puerto Rico, who is personally
                 known tome.

                           In San Juan, Puerto ·




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                                            PROMISSORY NOTE

     $148,900,000.00                                                        Due date: Au.gust 30, 2011

             The PUERTORICO IDGHWAY AND TRANSPORTATION AUTHORITY
     (hereinafter called the "Authority"), a public corporation and autonomous instrumentality of the
     Commonwealth of Puerto Rico, for value received hereby promises to pay, solely from the
     sources described in the Loan Agreement mentioned herein, to the order of Government
     Development Bank for Puerto Rico (the "Lender") at its principal office in San Juan, Puerto
     Rico, on August 30, 2011, · subject to prepayment as set forth below, the principal sum of ONE
     HUNDRED FORTY EIGHT MILLION NINE HUNDRED THOUSAND DOLLARS
     ($148,900,000) to the extent that such amount or any portion thereof disbursed under the Loan
     Agreement executed on this same date remains unpaid. Such payment shall be made in any coin
     or currency of the United States of America which at the time of payment is legal tender for the
     payment of public and private debts. The Authority hereby agrees to repay the outstanding
     aggregate principal amount of the Loan at the principal office of the Lender in San Juan, Puerto
     Rico, from proceeds of bonds to be issued by the Authority pursuant to the provisions of the
     respective sections of the Resolutions or from any available moneys of the Authority.

            This Note is under and pursuant to the Loan Agreement dated as of November 9, 2009
     (as modified and supplemented and in effect from time to time, the "Loan Agreement") between
     the Borrower and Government Development Bank for Puerto Rico, as Lender and evidences the
     Advances made by the Lender thereunder, and is subject to the terms thereof. Terms used but not
     defined in this Note have the respective meanings assigned to them in the Loan Agreement.

            The Authority waives the requirement of demand, presentment, protest, notice of
     dishonor, and, in general, any other legal formality.

               If the Authority defaults in making any payment when due under this Note, the Lender
         may declare this Note to be immediately due and payable.

             In case of recourse to the courts by the Lender in order to collect the whole or any portion
     of the principal or interest due under this Note, the Administration agrees to pay a liquidated sum
     equal to 10% of the principal sum of this Note to cover expenses of such proceedings, court
     costs, disbursements and attorney's fees, which amount will become immediately due and
     payable upon the filing of such judicial proceedings.

                All acts, conditions and things required by the Puerto Rico Federal Relations Act and the
         Constitution and Laws of the Commonwealth of Puerto Rico to happen, exist, and be performed
         precedent to and in the issuance of this Note have happened, exist and have been performed as so
         required. This Note shall be construed in accordance with the laws of the Commonwealth of
         Puerto Rico.

                IN WITNESS WHEREOF, the Authority has caused this note to be signed by its
         Executive Director and its cqrporate seal to be affixed hereto, in San Juan, Puerto Rico, this .
         9th day of November, 2009.

                                        PUERTO RICO IDGHWAYS AND TRANSPORTATION
                                        AUTHO           ,




                                                u en . emandez Gregorat
                                        Title: Executive Director

     Affidavit No. /'-/ q

          Acknowledged and subscribed before. me in San Juan, Puerto Rico, on this 9th day of
     November, 2009, by the following person who is personally known to me: Ruben A. Hernandez
J    ~J~ age;..warried, executive and resident of Guaynabo, Puerto Rico, as Executive
    ~ector of the·~o Rico Highway and Transportation Authority.



                                                    ~.:~
                           ~


1~CF\
    c;


   ~             . ·           •                                   Notary Public




                                                                                          AAFAF_CONF_0004313
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                                         PROMISSORY NOTE



                                                                              December 31; 2011

               PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
        (hereinafter called the II Authority"), a public corporation and autonomous
        instrumentality of the Commonwealth of Puerto Rico, for value received hereby
        promises to pay, solely from the sources described in the Loan Agreement mentioned
        herein, to the order of Government Development Bank for Puerto Rico (the
        "Lender"), at its principal office in San Juan, Puerto Rico, on December 31, 2011,
        subject to prepayment as set forth below, the principal sum of THREE MILLION
        DOLLARS ($3,000,000), (the "Loan"), to the extent that such amount or any portion
        thereof has been borrowed by the Authority under the-Loan Agreement, dated June
        30, 2010, between the Authority and the Lender and remains unpaid. Such payment
        shall be made in any coin or currency of the United States of America which at the
        time of payment is legal tender for the payment of public and private debts. The
        Authority hereby agrees to repay the outstanding aggregate principal amount of the
        Loan at the principal office of the Lender in San Juan, Puerto Rico, from any available
        moneys of the Authority. Capitalized terms used in this Note and not otherwise
        defined shall have the meaning ascribed to them in the Loan Agreement.

                Each Drawing shall bear interest daily from the date such Drawing is made
        until its repayment at a variable rate of interest per annum· equal to Prime Rate plus
        150 basis points, as determined from time to time in good faith. by the Lender, or,
        upon written notice to the Borrower, at a variable rate of interest per annum, which
        interest rate may be revised periodically, equal to the Lender's cost of funding for
        variable rate loan transactions or the cost of any other obligations or source of funds
        used to fund the Loan. Such interest rate shall not exceed twelve (12) percent and
        shall not be less than six (6) percent. Interest shall be calculated on the basis of a 360-
        day year of twelve 30-day months. Interest for any period of less than one calendar
        month shall be calculated on the basis of the actual number of days elapsed during
        that month. If the line of credit comes due and payable, the Borrower hereby agrees
        to pay a default interest rate on the principal outstanding amount calculated on the
        basis of Prime Rate plus four hundred (400) basis points. The President of the Bank
        or the duly authorized Executive Vice President of the Bank may modify the interest
        rate at anytime at their full discretion, depending on the interest rate market.

              Interest shall be payable mo.nthly in arrears not later than the tenth Banking
        Day ·following receipt from the Lender of the statement referred to in the next
        sentence of this paragraph, from amounts available from any available moneys of the
        Authority. Each month the Bank shall furnish to the Authority a written statement
        showing the amount of interest due and payable by the Authority on the Loan for the
        preceding month. The Authority may prepay the Lme of Credit at any time without
        penalty or premium. This Note is issued pursuant to a Loan Agreement between the
        Authority and the Lender subscribed on this same date.

               The Authority waives the requirement of demand, presentment, protest,
        notice of dishonor, and, in general, any other legal formality.

              If the Authority defaults in making any payment when due under this Note,
        the Lender may declare this Note to be immediately due and payable.

              In case of recourse to the courts by the Lender in order to collect the whole or
        any portion of the principal or interest due under this Note, the Administration
        agrees to pay a liquidated sum equal to 10% of the principal sum of this Note to
        cover expenses of such proceedings, court costs, disbursements and attorney's fees,
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        which amount will become immediately due and payable upon the filing of such
        judicial proceedings.

                All acts, conditions and things required by the Puerto Rican Federal Relations
        Act and the Constitution and Laws of the Commonwealth of Puerto Rico to happen,
        exist, and be performed precedent to and iri. the issuance of this Note have happened,
        exist and have been performed as so required. This Note shall be construed in
        accordance with the laws of the Commonwealth of Puerto Rico.

               IN WITNESS          WHEREOF,_ PUERTO            RICO HIGHWAY           AND
        TRANSPORTATION AUTHORITY has caused this note to be signed by its executive
        director and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this
        30th day ofJune, 2010.


                                                                       OHIGHWAY AND
                                                                          NAUTHORITY


                                                 By:
                                                              uben A. Hernandez Gregorat
                                                                . Executive Director

        Affidavit No.~2tjS-

               Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
        Executive Director of the Puerto Rico Highway and Transportation Authority, of
        legal age, married and a resident of Guaynabo, Puerto Rico, who is personally
        known tome.

               In San Juan, Puerto Rico, on June 30, 2010.




       26318
Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                                                    Desc:
                      Monolines Ex. 51 Page 12 of 167




                                               PRO MIS SOR Y NO TE


        $63,000,000
                                                                                                  Aug ust 30,2 012
                   PUERTO RIC O HIG HW AY AN
                                                               D TRANSPORTATION AUTHOR
          (her eina fter call ed the "Au thor
                                                    ity" }, a pub lic corp orat ion and
                                                                                                               ITY
          inst rum enta lity of the Com mon                                                          auto nom ous
                                                   wea lth of Pue rto Rico, for valu
          prom ises to pay , sole ly from the sour                                           e rece ived here by
                                                       ces desc ribe d in the Loa n Agr eem
         he:refu, to the ord er of Gov ernm                                                        ent men tion ed
                                                       ent Development Bank for Pue
         "Le nde r"), at its prin cipa l office in                                                 rto Rico (the
                                                    San Juan , Pue rto Rico, on Aug ust
         to prep aym ent as set fort h belo                                                     30, 2012, subj ect
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         DOL LAR S ($63,000,000), (the "Lo                                                         EE l\'ITLUON
                                                   an") , to the exte nt that such amo
         ther eof has bee n borr owe d by the                                                unt or any port ion
                                                    Autho.rity und er the Loa n Agr eem
         13, 2010, betw een the Auth_ority                                                        ent, date d July
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         shal l be mad e in any c-oin or curr                                              aid. Suc h pay men t
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        time of pay men t is lega l tend er                                                       a whi ch at the
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        Aut hori ty hereby agre es to repa y                                                     ate  deb ts. The
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                                                  Len der in San Juan, Pue rto Rico, from
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       upo n writ ten noti ce to the Bor row                                               by the Len der, or,
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       vari able rate loan tran sact ions or                                                    of.f und ing for
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       used to fund the Loan. Suc h inte
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      that mon th. If the line of cred it com                                                . elap sed duri ng
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      or the duly auth oriz ed Exe cuti ve                                                     ent of the Bank
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   · show ing. the amo unt of inte rest due                                             writ ten stat eme nt
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    pen alty or prem ium . This Not e is                                                               with out
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                                                ed on this sam e date .
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   noti ce of dish ono r, and , in gen eral                                            prot est,
                                            , any othe r lega l formality.
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                                                any pay men t whe n due und er this
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                                       to be imm edia tely due and paya ble.
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    Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                                                              Desc:
                          Monolines Ex. 51 Page 13 of 167


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            day o£ July, 2010.                              affixed he re to ; in                           its executive
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                                    to Rico, on Ju ly 13
                                                             , 2010.




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Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                       Desc:
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                                                                                         Exhibit A


                                    PROMISSO RY ~OTE

$45,000,000                                                       Due date:       August 27, 2011

       The PUERTORI CO IDGHWAY AND TRANSPORTATION AUTHORITY
(hereinafter called the "Authority"), a public corporation and autonomous instrumentali ty of the
Commonwea lth of Puerto Rico, for value received hereby promises to pay, solely from the
sources described in the Loan Agreement mentioned herein, to the order of Government
Development Bank for Puerto Rico (the "Lender") at its principal office in San Juan, Puerto Rico,
on August 27, 2011, subject to prepayment as set forth below, the principal sum of FORTY
FIVE l\.flLLION DOLLARS ($45,000,000) to the extent that such amount or any portion
thereof disbursed under the Loan Agreement executed on this same date remains unpaid. Such
payment shall be made in any coin or currency of the United States of America which at the time
of payment is legal tender for the payment of public and private debts. The Authority hereby
agrees to repay the outstanding aggregate principal amount of the Loan at the principal office of
the Lender in San Juan, Puerto Rico, from proceeds of bonds to be issued by the Authority
pursuant to the provisions of the respective sections of the Resolutions or from any available
moneys of the Authority.

        Each Advance shall bear interest daily from the date of disbursement until paid in full at a
fluctuating annual rate of interest equal to one and one half percent (1.5%) over and above the
Prime Rate, as determined from time to time in good faith by the Lender, or, upon written notice
to the Authority, at a variable rate of interest, which interest rate may be revised quarterly, per
annum equal to the Lender's cost of funding for variable rate loan transactions or the cost of any
other obligations or source of funds used to fund the Advance. For purposes of the preceding
sentence; the cost of funding shall mean the applicable cost of any source of funds used to fund
the Loan, plus in either case, a required margin cost. Initially, this required margin cost will be
equal to 150 basis points. The required margin cost may be revised from time to time by the
Lender to such an extent that when added to the applicable cost of funds, the interest rate so
determined and applicable to an Advance will provide for a total coverage of what the Lender
determines to be its "all-inclusive " funding costs. For purposes of this Note, the applicable
interest rate shall not exceed twelve (12) percent and shall not be less than six (6) percent.

        Anything hereunder to the contrary notwithstanding, and without prejudice to any
remedies of the Lender provided hereunder or at law or in equity, the interest rate applicable to
the outstanding principal amount of each Advance during any period when an Event of Default
shall have occurred and be continuing shall be four percent (4.0%) over the otherwise applicable
interest rate (the "Default Rate").

        Interest shall be payable monthly in arrears not later than the tenth Banking Day following
receipt from the Lender of the statement referred to below, from any available moneys of the
Authority. Each month the Lender shall furnish to the Authority a written statement showing the
amount of interest due and payable by the Authority on all outstanding Advances for the preceding
month. The Loan shall be junior and subordinate to outstanding bonds of the Authority and shall be
subject to certain other terms and conditions, as set forth in the Loan Agreement (as defined below).
Payment of principal and interest on the Loan shall be made in any coin or currency of the
United States of America, which at the time of payment shall be legal tender for the payment of
public and private debts.

       This Note is under and pursuant to the Loan Agreement dated as of August 27, 2010 (as
modified and supplemented and in effect from time to time, the "Loan Agreement") between the
Borrower and Government Development Bank for Puerto Rico, as Lender and evidences the
Advances made by the Lender thereunder, and is subject to the terms thereof. Terms used but not
defined in this Note have the respective meanings assigned to them in the Loan Agreement.

       The Authority waives the requirement of demand, presentment, protest, notice of
dishonor, and, in general, any other legal formality.

        If the Authority defaults in making any payment when due under this Note, the Lender
may declare this Note to be immediately due and payable.




                                                                                      AAFAF_CONF_0003163
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                                                    2

        In case of recourse to the courts by the Lender in order to collect the whole or any portion
of the principal or interest due under this Note, the Administration agrees to pay a liquidated sum
equal to 10% of the principal sum of this ~ote to cover expenses of such proceedings, court costs,
disbursements and attorney's fees, which amount will become immediately due and payable
upon the filing of such judicial proceedings.

       All acts, conditions and things required by the Puerto Rico Federal Relations Act and the
Constitution and Laws of the Commonwea lth of Puerto Rico to happen, exist, and be performed
precedent to and in the issuance of this Note have happened, exist and have been performed as so
required. This Note shall be construed in accordance with the laws of the Commonwea lth of
Puerto Rico.

       IN WITNESS WHEREOF, the Authority has caused this note to be signed by its
Executive Director and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this
27th day of August, 2010.

                                PUERTO RICO IDGHWAYS .t\ND TRANSPOR TATION

                                AUTHORITYa~
                                ~~e: ~emAn dez Gregorat
                                Title: Secretary of Transportation and Public Works
                                       and Executive Director

Affidavit No.

      ·Acknowledged and subscribed before me in San Juan, Puerto Rico, on this 27th day of
August, 2010, by the following person who is personally lmown to me: Ruben A. Hernandez
Gregorat, of legal age, married, executive and resident of Guaynabo, Puerto Rico, as Secretary of
Transportation and Public Works and Executive Director of the Puerto Rico Highway and
Transportation Authority.



                                                             Notary Public




                                                                                      AAFAF_CONF_0003164
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                                                                                                     Exhibit A



                                                PROMISSORY NOTE

           $                                                                      Due date: August 27, 2013

                  The PUERTORICO HIGHW'AY AND TRANSPORTATION AUTHORITY
          (hereinafter called the "Authority"), a public corporation and autonomous instrumentality of the
          Commonwealth of Puerto Rico, for value received hereby promises to pay, solely from the
          sources described in the Loan Agreement mentioned herein, to the order of Government
          Development Bank for Puerto Rico (the "Lender") at its principal office in San Juan, Puerto Rico,
          on August 27, 2011, subject to prepayment as set forth below, the principal sum of
          _ _ _ _ _ _ _ _ _ _ _ _ DOLLARS($_ _ _ _ _ __, to the extent that such
          amount or any portion thereof disbursed under the Loan Agreement executed on this same date
          remains unpaid. Such payment shall be made in any coin or currency of the United States of
          America which at the time of payment is legal tender for the payment of public and private debts.
          The Authority hereby agrees to repay the outstanding aggregate principal amount of the Loan at
          the principal office of the Lender in San Juan, Puerto Rico, from proceeds of bo:Qds to be issued
          by the Authority pursuant to the provisions of the respective sections of the Resolutions or from
          any available moneys of the Authority.

                   ·Each Advance shall bear interest daily from the date of disbursement until paid in full at a
           fluctuating annual rate of interest equal to one and one half percent (1.5%) over and above the
           Prime Rate, as determined from time to time in good faith by the Lender, or, upon written notice
           to the Authority, at a variable rate of interest, which interest rate may be revised quarterly, per
           annum equal to the Lender's cost of funding for variable rate loan transactions or the cost of any
           other obligations or source of funds us,ed to fund the Advance. For purposes of the preceding
           sentence, the cost of :funding shall mean the applicable cost of any source of funds used to fund
           the Loan, plus·in either case, a required margin cost Initially, this required margin cost will be
           equal to 150 basis points. The required margin cost may be revised from time to time by the
           Lender to such an extent that when added to the applicable cost of funds, the interest rate so
           determined and applicable to an Advance will provide for a total coverage of what the Lender
           determines to be its "all-inclusive" funding costs. For purposes of this Note, the applicable
           interest ,:ate shall not exceed twelve (12) percent and shall not be less than six (6) percent
                   Anything hereunder to the contrary notwithstanding, and without prejudice to any
           remedies of the Lender provided hereunder or at law or in equity, the interest rate applicable to
           the outstanding principal amount of each Advance during any period when an Event of Default
           shall have occurred and be continuing shall be four percent (4.0%) over the otherwise applicable
           interest rate (the "Default Rate").
                   Interest shall be payable monthly in arrears
                                                              not later than the tenth Banking Day following
           receipt from the Lender of the statement referred to below, from any available moneys of the
           Authority. Each month the Lender shall furnish to the Authority a written statement showing the
           amount of interest due and payable by the Authority on all outstanding Advances for the preceding




                                                                                                        AAFAF_CONF_0003507
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           month. The Loan shall be junior and subordmate to outstanding bonds of the Authority and shall be
           subject to certain other terms and conditions, as set forth in the Loan Agreement (as defined below).
           Payment of principal and interest on the Loan shall be made in any coin or currency of the
           United States of America, which at the time of payment shall be legal tender for the payment of
           public and private debts.

                  Th.is Note is under and pursuant to the Loan Agreement dated llS of August 27, 2010 (as
           modified and supplemented and in effect from time to time, the "Loan Agreement'') between the
           Borrower and Government Development Bank for Puerto Rico, as Lender and evidences the
           Advances made by the Lender thereunder, and is subject to the terms thereof. Terms used but not
           defined in this.Note have the respective meanings assigned to them in the Loan Agreement.
                  The Authority waives the requirement of demand, presentment, protest, notice of
           dishonor, and, in general, any other legal fonnality.

                 If the Authority defaults in making any payment when due under this Note, the Lender
           may declare thls Note to be immediately due and payable.

                   In case of recourse to the courts by the Lender in order to collect the whole or any portio11,
           of the principal or interest due under this Note, the Adnrinistration agrees to pay a liquidated sum
           equal to 10% of the principal sum of this Note to cover expenses of such proceedings, court costs,
           disbursements and attorney's fees, which amount 'Will become immediately due and payable
           upon the filing of such judicial proceedings.

                  All acts, conditions and things required by the Puerto Rico Federal Relations Act and the
           Constitution and Laws of the Commonwealth of Puerto Rico to happen, exist, and be performed
           precedent to and in the issuance of this Note have happened, exist and have been peeformed as so
           required. This Note shall be construed in accordance 'With the laws of the Commonweal1h of
           Puerto Rico.




                                                        Exh. A-2




                                                                                                         AAFAF_CONF_0003508
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                  .IN WITNESS WHEREOF, the Authority has caused this note to be signed. by its
           Executive Director and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this
           27th day of August, 2010.




                                         :~m
                                         PUERTO RICO JilGHWAYS AND TRANSPORTATION



                                         By:...._f,_~ -=---.------- ---
                                         Name: Ruben A. Hernandez Gregorat
                                         Title: Secretary of Transportation and Public Works
                                               • and Executive Director

          Affidavit Ne,~-f""V'

                 Acknowledged and subscribed before me in San Juan, Puerto Rico, on this 27th day of
          August, 2010, by the following person who is_ personally known to me: Ruben A. Hemtbidez
          Oregorat, oflegal age, married, executive and resident ofGuaynabo, Puerto Rico, as Secretazy of
          Transportation and Public Works and Executive Director of the Puerto Rico Highway and
          Transportation Authority.


                                                    ~ ~ c , q . > ~ / MI
                                                            Notary Publi




                                                    Exh. A-3




                                                                                                  AAFAF_CONF_0003509
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                                                                                  EXHIBIT I




                                 PROMISSORY NOTE

                                                                            February 28, 2014



       For value received, the PUERTO RICO HIGHWAYS AND TRANSPORTATION
AUTHORITY (the "Authority"), a public corporation of the Commonwealth of Puerto
Rico, hereby promises to pay, solely from the sources described in the Loan Agreement
mentioned herein, to the order of Government Development Bank for Puerto Rico (the
"Lender"), on February 28, 2014 (the "Maturity Date"), subject to optional prepayment
as set forth below, the principal sum of SIXTY ONE MILLION EIGHT HUNDRED
                                                                  11
THIRTY THOUSAND DOLLARS ($61,830,000) (the "Loan                     borrowed by the
                                                                       ),


Authority under a Loan Agreement dated August 28, 2013 executed between the
Authority and the Lender (the "Loan Agreement''), together with interest thereon as
hereinafter provided.

       Such payment shall be made in any coin or currency of the United States of
America which at the time of payment is legal tender for the payment of public and
private debts. The Authority hereby agrees to repay the outstanding aggregate principal
amount of the Loan at the principal office of the Lender in San Juan, Puerto Rico, with
(a) the revenues allocated to it by Act No. 30 and Act No. 31 approved by the
Legislature of the Commonwealth of Puerto Rico on June 25, 2013; (b) the proceeds
from future bond issuances; (c) the proceeds from public-private partnerships; and (d)
revenues of the Authority.

       All capitalized terms used in this Note and not otherwise defined herein shall
have the meaning ascribed to them in the Loan Agreement.

         Each Drawing shall bear interest daily from the date such Drawing is funded
 until its repayment at a variable rate of interest per annum equal to the Prime Rate plus
 one hundred and fifty (150) basis points, as determined from time to time in good faith
 by the Lender, or, upon written notice to the Borrower, at a variable rate of interest per
.annum, which interest rate may be revised periodically, equal to the Lender's cost of
 funding for variable rate loan transactions or the cost of any other obligations or source
 of funds used to fund the Loan. For purposes of this Loan Agreement, such interest rate
 shall not exceed twelve (12) percent and shall not be less than six (6) percent. Interest
 shall be calculated on the basis of a three hundred and sixty (360) day year of twelve
 (12) actual day months. Interest for any period of less than one (1) calendar month shall


29912 v.2




                                                                                   AAFAF_CONF_0003981
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be calculated on the basis of the actual number of days elapsed during that month.
Interest shall be capitalize d and payable on the Maturity Date.

       The President of the Bank or the duly authorize d Executive Vice President of the
Bank may modify the interest rate at any time at their full discretion, dependin g on the
interest rate market.

        If on the Maturity Date, or such other date if extended as provided in the Loan
Agreemen t, the Loan is not repaid in full the Borrower hereby agrees to pay a default
interest rate equal to two hundred (200) basis points over the otherwise applicable
interest rate calculated on the outstandi ng principal amount.

       The Authority may prepay the Loan at any time without penalty or premium.
This Note is issued pursuant to the Loan Agreemen t and all payments under the Loan
Agreemen t and this Note shall be junior, inferior and subordma te to outstandin g bonds
of the Borrower issued pursuant to the Bond Resolutions.

       The Authority waives the requireme nt of demand, presentme nt, protest, notice
of dishonor, and, in general, any other legal formality.

        If the Authority defaults in making any payment when due under this Note, the
Lender may declare this Note to be immediate ly due and payable, provided, however,
that all repaymen ts shall be on a basis junior, inferior and subordina te in all respects to
the bonds issued under the provisions of the Bond Resolutions.

       In case of recourse to the courts by the Lender in order to collect the whole or any
portion of the principal or interest due under this Note, the Authority agrees to pay
liquidated damages in a sum equal to ten percent (10%) of the principal sum of this
Note to cover expenses of such proceedin gs, court costs, disbursem ents and attorney's
fees, which amount will become immediate ly due and payable upon the filing of such
judicial proceedin gs.

        All acts, conditions and things required by the Puerto Rican Federal Relations
Act and the Constituti on and Laws of the Commonw ealth of Puerto Rico to happen,
exist, and be performed precedent to and in the issuance of this Note have happened ,
exist and have been performed as so required. This Note shall be construed in
accordanc e with the laws of the Commonw ealth of Puerto Rico.




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                                                                                  AAFAF_CONF_0003982
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       IN   WITNESS        WHEREOF,        PUERTO        RICO     HIGHWAYS         AND
TRANSPORTATION AUTHORITY has caused this note to be signed by its Executive
Director and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this 28th
day of August, 2013.



                                                 PUERTO RICO HIGHWAYS AND
                                                 TRANSPORTA TION AUTHORITY



                                                       Javier E. Ramos Hernandez
                                                   Executive Director of the Puerto Rico
                                                  Highway and Transportation Authority

Affidavit No.

      Recognized and subscribed before me by Javier E. Ramos Hernandez as
Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally known
tome.

            In San Juan, Puerto Rico, on August_, 2013.



                                                              Notary Public




29912 v.2




                                                                               AAFAF_CONF_0003983
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VAL OR: $59,722,346
                                                                BAN CO GUBERNAMENTAL
       POR VALOR REOBIDO, pagan~ a la orde n del
                                                        de curs o legal de los Esta dos Unid os
DE FO:MENTO PARA PUERTO RICO en mon eda
                                                       , Puer to Rico, la sum a prin cipa l de
de Ame rica en su oficina prin cipa l en Sant urce
                                                            NTO S VEI NTE Y DOS MIL
CIN CUE NTA Y NUE VE MIL LON ES SET ECIE
TRE SCIE NTO S CUA REN TA Y SEIS DOL
                                                       ARE S ($59,722,346), mas inter eses
                                                         r sum a ya paga da. Este p AG.ARE
capi taliz ados , en igua l mon eda, men os cual quie
                                                       la sum a prin cipa l hast a la fecha de su
acum ular a inter eses sobr e el bala nce inso luto de
                                                        un min imo de 6%, o aque lla tasa de
pago total, a base del Prime Rate mas 1.50%, con
                                                          iden te Ejecutivo desi gnad o por este
inter es que el Pres iden te del BANCO o el Vice pres
                                                            es. Los intereses sera capitalizados
disp onga , depe ndie ndo del merc ado de tasas de inter
                                                         d del CONTRATO DE PRESTAMO
al venci.miento. Este PAGA.RE se otor ga en virtu
otor gado en esta mism a fecha.
                                                                  RE se vea precisado a recu rrir
         En el caso en que el toma dor o tene dor de este P AG.A
                                                          inter veni r en procedimientos bajo la
 a los tribunales de justicia para su cobro o teng a que
                                                             ien una sum a equivalente al DIEZ
 Ley de Quie bra Federal, los suscribientes paga ran tamb
                                                          P AG.ARE, com o pena lidad liquid.a y
 POR CIEN TO (10%) del mon to del principal de este
                                                        para costas, gastos y hono rario s de
 exigible sin necesidad de intervenci6n judicial,
                                                         mer a radicaci6n en el tribu nal de la
 abog ados y cuya pena lidad sera paga dera con la
 dem anda .
                                                                este PAG.ARE de su obligaci6n
        Expresamente relevamos al tom ador o tene dor de
                                                           el cobro de este P AGAR.E si dicho
 de pres tar fianza en el caso de acci6n judicial para
                                                         el aseg uram iento de la efectividad de
 toma dor o tene dor solicitara orde n al tribu nal para
                                                         .
 la sentencia de acue rdo con las Leyes de Puer to Rico
                                                                     rar su plaz o y declarar el
         El toma dor o tene dor de este P AGARE pued e acele
                                                             to, de ocur rir cual quie ra de los
 mism o venc ido y paga dero ante s de su vend mien
  siguientes eventos:
                                                                     plaz os para intereses y
          a)      No se pagu e a su vencimiento cual quie ra de los
                                                            tamo que evidencia este P AGARE
  prin cipa l o cualquier adel anto relacionado con el pres
                                                       mism o a favor del suscribiente;
  que ha sido realizado por el toma dor o tene dor del
                                                                             des del suscnbiente
         b)     Emb argo o ejecuci6n de cual quie ra de las prop ieda
  dada s en garantia;
                                                                           daci6n o quie bra del
         c)     Insolvencia, sindicatura, disoluci6n, tenn inac i6n, liqui
  suscribiente o de cual quie ra de ellos y sus sucesores;
                                                                               ntia o -representaci6n
          d)      Que se dete rmin e que cualquier informaci6n, gara
                                                                 P AGA RE en cualquier fecha en que
   hech a por el suscribiente al toma dor o tene dor de este
   la m.isma se hlciere resu ltare falsa o incie rta, en
                                                         part e o totalmente; y el

                                                                       los terminos, clausulas
         e)      Incw nplim iento por el suscribiente de cualquiera de
                                                        TO DE PRESTA.MO suscrito en esta
   y condiciones de este PAGA.RE o del CONTRA
                                                       ARE.
   mism a fecha con el tom ador o tene dor de este PA.G
                                                                 cho de presentaci6n, falta de
         El suscribiente por la pres ente renu ncia a todo dere
                                                       auto riza al tom ador o tene dor de este
   pago, protesto, dem anda y aviso. El suscribiente                                         el
   PAG.ARE y le confiere pode r, sin    que se requ iera notificaci6n algu na, para aplicar
                                                         que se origirum de este PAGA.RE y
   derecho a com pens aci6 n set--off a las obligaciones
                            11       1




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                                                                                     AAFA F_CON F_0003671
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                                                                   AAFAF_CONF _0003672
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                                             GARE

VALO R:                                             VENC IMIEN TO: 31 de agosto de 2013

                                                                                       ENT AL
       FOR VALOR REOB IDO, pagare a la orden del BANC O GUBE RNAM
                                                                             Estado  s Unido s
DE F0M.E NT0 PARA PUER TO RICO en moned a de curso legal de los
                                                                               pal de ONCE
de Ameri ca en su oficina princi pal en Santur ce, Puerto Rico, la suma princi
                                                                                CUAR ENTA
Mil.LO NES TRES CIENT OS NOVE NTA Y SIETE MIL D0SC IENT OS
                                                                                     a, menos
Y TRES D0LA RES ($11,397,243), mas intere ses capita lizado s, en igual      moned
                                                                                   el balanc e
cualqu ier suma ya pagad a. Este P AGARE acumu lara interes es sobre
                                                                                     Rate mas
insolu to de la sum.a princi pal hasta la fecha de su pago total., a base del Prime
                                                                               del BANC O o
1.50%, con un minim o de 6%, o aquell a tasa de interes que el Presid ente
                                                                                 merca do de
el Vicepr esiden te Ejecutivo design.ado por este dispon ga, depen diendo del
                                                                            AGAR  E se otorga
tasas de interes . Los intereses sera _capitalizados al vencimiento. Este P
en virtud del C0NT RAT0 DE PRESTAMO otorga do en esta misma fecha.
                                                                                       recurr ir
        En el caso en que el tomad or o tenedo r de este P AGARE se vea precis ado a
                                                                                     tos bajo la
a los tribuna les de justicia para su cobro o tenga que interve nir en proced.im.ien
                                                                                 lente al DIEZ
Ley de Quieb ra Federa l, los suscribientes pagara n tambie n una sum.a equiva
                                                                                 dad liquid a y
POR OENT 0 (10%) del monto del princip al de este P AGARE, como penali
                                                                               honora ries de
exigible sin necesi dad de interve nci6n judicial, para costas, gastos y
                                                                                tribun al de la
aboga dos y cuya penali dad sera pagad era con la mera radica ci6n en el
deman da.
                                                                                           ci6n
       Expres ament e releva mos al tomad or o tenedo r de este P AG.ARE de su obliga
                                                                           P AGAR   E si  dicho
de presta r fianza en. el caso de accion judicial para el cobro de este
                                                                                efectiv idad de
tomad or o tenedo r solicitara orden al tribun al para el asegur amien to de la
la senten cia de acuerd o con las Leyes de Puerto Rico.
                                                                                  ar el
        El tom.ador o tenedo r de este P AG.ARE puede acelera r su plazo y declar
                                                                          iera de los
 mismo vencid o y pagad ero antes de su vendm iento, de ocunir cualqu
 siguien tes eventos:
                                                                                           y
        a)      No se pague a su vencim iento cualqu iera de los plazos para intereses
                                                                                este PAGA.RE
 princip al o cualqu ier adelan to relacio nado con el presta mo que eviden cia
                                                                                 iente;
 que ha sido realiza do por el tomad or o tenedo r del mismo a favor del suscrib

       b)     Embar go o ejecuci6n de cualqu iera de las propie dades del suscribiente
 dadas en garantfa;

        c)     Insolvencia, sindica tura, disoluci6n, termin aci6n, liquida ci6n o quiebr a del
 suscribiente o de cualqu iera de ellos y sus sucesores;
                                                                                            n
       d)      Que se deter.mine que cualqu ier informaci6n, garant ia o repres entaci6
                                                                                 fecha en que
 hecha por el suscribiente al tomad or o tenedo r de este P AG.ARE en cualqu ier
 la misma se hldere resulta re falsa o incierta, en parte o totalm ente; y el

        e)     Incum .plimie nto por el suscrib iente de cualqu iera de los tennm os,
                                                                                      clausu las
                                                                                      o en esta
  y condiciones de este PAGARE o del C0NT RAT0 DE PRES IAM0 suscrit
  misma fecha con el tomad or o tenedo r de este P AG.ARE.
                                                                                         falta de
         El suscribiente por la presen te renunc ia a todo derech o de presen taci6n ,
                                                                            o  tenedo  r  de este
  pago, protes to, deman da y aviso. El suscribiente autori za al tomad or
                                                                                para aplicar el
  P AG.ARE y le confiere poder, sin que se requie ra notificaci6n alguna ,
                                                                                   P AG.ARE y
  derech o a compe nsaci6 n set-off' a las obligaciones que se orig:inan de este
                            11

                                                                                 misma forma
  para extend er su fecha de pago antes o despue s de su vencim iento, y de la
                                                                                     r cualqu ier
  antes o despue s de su vencim iento extend er tolerancia, dar indulg enda, realiza


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                                                                   AAFAF_CONF _0003674
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                                             PAGARE


   VALOR: $49,325,001)                                     VENCJMIEN fO: 31 de enero de 2013

          POR VALOR RECIBIDO, pagan~ a la orden del BANCO GUBERNAM ENTAL DE
   FOMENTO PARA PUERTO RICO en moneda de curso legal de los Estados Unidos de
   America en su oficina principal en Santurce, Puerto Rico, la sum.a principal de CUARENfA
   Y NUEVE MILLONES TRESCTENTOS VEINTICIN CO MIL DOLARES ($49,325,000), mas
   intereses capitalizados , en igual moneda, menos cualquier sum.a ya pagada. Este P AGARE
   acumulara intereses diarios compu.tados a base del balance :insoluto de la sum.a de
   principal, calculados sobre una base actual/360 dias, de acuerdo con la tasa de interes
   preferencial fluctuante Prime Rate, segun determinada por el BANCO, mas un d:iferencial de
   dento cincuenta (150) puntos base. La t.asa de interes que aplicara a este P AG.ARE no sera
   menor de seis por ciento (6%). El BANCO podra revisar de tiempo en tiempo la base,
   margen y periodicidad de la tasa de interes, segun estim.e necesario y de acuerdo con el
   mercado de tasas de interes. La tasa de interes variara conforme a como varie la tasa de
   interes preferencial fluctuante Prime Rate. Los intereses acumulados bajo este PAGARE
   seran pagaderos al vencimiento.

           Si en la fecha de vencimiento de la obligaci6n de repago la AUTORIDA D no ha
   pagado el balance insoluto del principal, la AUTORIDA D pagara intereses sobre dicha
   sum.a computados a base, de doscientos (200) puntos base sobre la tasa que le aplicaria bajo
   este P AG.ARE.

        Este FAG.ARE se otorga en virtud del CONTRATO DE PRESTAMO otorgado en esta
   misma fecha.

           En el caso en que el tomador o tenedor de este PAGAR.E se vea precisado a recurrir a
   los tribunales de justicia para su cobro o tenga que intervenir en procedimient os bajo la Ley de
   Quiebra Federal, los suscribientes pagaran tam.bien una sum.a equivalente al DIEZ POR
   CIENTO (10%) del monto del principal de este P AG.ARE, como penalidad liquida y exigible
   sin necesidad de intervenci6n judicial, para costas, gastos y honorarios de abogados y cuya
   penalidad sera pagadera con la mera radicaci6n en el tribunal de la demanda.

          Expresament e relevamos al tomador o tenedor de este PAGARE de su obligaci6n de
   prestar fianza en el caso de acci6n judicial para el cobro de este PAGAR.E si dicho tomador o
   tenedor solicitara orden al tribunal para el aseguramien to de la efectividad de la sentencia de
   acuerdo con las Leyes de Puerto Rico.

         El tomador o tenedor de este PAGAR.E puede acelerar su plazo y declarar el mismo
   vencido y pagadero antes de su vencimiento, de ocurrir cualquiera ~e ~s siguientes eventos:

          a)     Nose pague a su vencimiento cualquiera de los plaz9.s.paraintei;eses y principal
   o cualquier adelanto relacionado con el presramo que evidentja ·este P AGARE que ha sido
   realizado por el tomador o tenedor del mismo a favor del suscrib.iente;        '

          b)     Embargo o ejecuci6n de cualquiera de las propiedades del suscribiente dadas en
   garantia;

          c)      Insolvencia, sindicatura, disoluci6n, terminaci6n, liquidaci6n o quiebra del
   suscribiente o de cualquiera de ellos y sus sucesores;

           d)     Que se determine que cualquier informaci6n, garantia o representaci6 n hecha
   por el suscribiente al tomador o tenedor de este P AGARE en cualquier fecha en que la misma
   se hlciere resultare falsa o incierta, en pa.rte o tota1mente; y el

            e)   ·1ncumplimie nto por el suscribiente de cualquiera de los rerminos, clausulas y
    condiciones de este PAGA.RE o del CONTRATO DE PRESTAMO suscrito en esta misma fecha
    con el tomador o tenedor de este PAGA.RE.


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        El suscribiente por la presente renunci.a a todo derecho de presentaci6n, falta de pago,
 protesto, demanda y aviso. El suscribiente autoriza al tomador o tenedor de este PAGARE y
 le confiere poder, sin que se requiera notificaci6n alguna, para aplicar el derecho a
 compensaci6n 11 set-off 1 a las obligaciones que se origin.an de este PAGA.RE y para extender su
 focha de pago antes o despues de su vencimiento, y de la misma form.a antes o despues de su
 vencimiento extender toleranci.a, dar indulgencia, realizar cualquier aplicaci6n de pagos de
 cualquier suma de dinero perteneciente al suscribiente o de cualquier otro pagare que se
 encuentre en pod.er del tomador o tenedor de este PAGARE y a modificar, cambiar o alterar la
 form.a de pago de este PAGARE y a sustituir, cambiar o relevar de responsab:ilidad a cualquier
 persona sin que esto afecte, disminuya o altere la responsabilidad solidaria del suscribiente,
 quienes no obstante ta1 susti.tuci6n, cambio o relevo, continuara siendo solidariamente
 responsable de su pago frente al tomador o tenedor de este PAGARE.

        El uso del singular en este PAGA.RE se entendera plural si mas de una persona
 suscribiere el mismoi el uso del plural incluira el singulari y el uso de los pronombres de
 cualquier genera incluiran los otros; y en caso de mas de un suscribiente Ia responsabilidad de
 cada uno de ellos frente al tomador o tenedor de este PAGARE sera solidaria de todos los
 fumantes.

        En San Juan, Puerto Rico, a ~ de noviembre de 2011.


                                                    AUT0RIDADDECARRETERASY
                                                    TRANSPORTAO6N




                                                             ernandez Gregorat
                                                    Director Ejecutivo y Secretario,
                                                    Departamento de Transportaci6n y 0bras
                                                    Publicas de Puerto Rico

  Testimonio Nwn. L/15

        Reconocido y suscrito ante- mi por Ruben Hernandez Gregorat, mayor de edad,
  casado y vecino de Guaynabo, Puerto Rico, en su capacidad de Director Ejecutivo de la
  Autoridad de Carreteras y Transportaci6n de Puerto Rico, y Secretario del Departanrento de
  Transportaci6n y 0bras Publicas de Puerto Rico, a quien doy fe de conocer personalmente.

        En San Juan, Puerto Rico, a :l-J de noviembre de 2011.




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                                              28 of 167                   c.: \\                      - ··•·-;-"~~    I;
                                                                      tY.'.        .-        -               .... ,   ' ~1 r
                                                   PAGARE
                                                                  (
                                                                  '~              '~""·•·•.-.... ,3 ''                H'i 1

         VALOR: $33,960,000                                    v~~
                                                                 dd e2013
                                                                   ~ro
                 POR VALOR RECIBIDO, pagare a la orden del BANCO GUBERNAMENTAL DE
         FOMENTO PARA PUERTO RICO en moneda de curso legal de los Estados Unidos de
         America en su oficina principal en Santurce, Puerto Rico, la suma principal de TREINTA Y
         TRES MILLONES NOVECIENTOS SESENTA MIL D6LARES ($33,960,000), la cual
         induye las suma de TREINTA Y TRES MILLONES DOSCIENTOS SETENTA Y SEIS MIL
         DOSCIENTOS SETENTA Y DOS D6LARES ($33,276,272) que la AUTORIDAD utilizara
         para continuar sus proyectos de mejoras capitales durante el primer semestre del Ano
         Fiscal 2013, mas SEISCIENTOS OCHENTA Y TRES MIL SETECIENTOS VEINTE Y
         OCHO D6LARES ($683,728) que la AUTORIDAD utilizara para cubrir los cargos por
         asesoria finandera y la capitalizad6n de intereses al vencimiento, menos cualquier suma ya
         pagada. Este PAGARE acumulara intereses sobre el balance insoluto del principal de
         TREINTA Y TRES MILLONES NOVECIENTOS SESENTA MIL D6LARES
         ($33,960,000), a base del Prime Rate mas 1.50%, con un mfnimo de 6%, o aquella tasa de
         interes que el Presidente del BANCO o el Vicepresidente Ejecutivo designado por este
         disponga, dependiendo del mercado de tasas de interes. Los intereses seran capitalizados
         al vencimiento. Este PAGARE se otorga en virtud del CONTRATO DE PRESTAMO
         suscrito por la AUTORIDAD en esta misma fecha.

                 En el caso en que el tomador o tenedor de este PAGARE se vea precisado a recurrir a
         los tribunales de justicia para su cobro o tenga que intervenir en procedimientos bajo la
         Ley de Quiebra Federal, los suscribientes pagaran tambien una suma equivalente al DIEZ
         POR CIENTO (10%) del monto del principal de este PAGARE, como penalidad liquida y
         exigible sin necesidad de intervend6n judicial, para costas, gastos y honorarios de abogados y
         cuya penalidad sera pagadera con la mera radicad6n en el tribunal de la demanda.

                Expresamente relevamos al tomador o tenedor de este PAGARE de su obligad6n de
         prestar fianza en el caso de acci6n judicial para el cobro de este PAGARE si dicho tomador o
         tenedor solidtara orden al tribunal para el asegurarniento de la efectividad de la sentenda de
         acuerdo con las Leyes de Puerto Rico.

              El tomador o tenedor de este PAGARE puede acelerar su plazo y declarar el mismo
         venddo y pagadero antes de su vencimiento, de ocurrir cualquiera de los siguientes eventos:

                a)      No se pague a su vencimiento cualquiera de los plazos para intereses y
         principal o cualquier adelanto relacionado con el prestamo que evidenda este PAGARE que
         ha sido realizado por el tomador o tenedor del mismo a favor del suscribiente;

                b)      Embargo o ejecuci6n de cualquiera de la.s propiedades del suscribiente dadas
         en garantia;

                c)      Insolvencia, sindicatura, disoluci6n, terminaci6n, liquidad6n o quiebra del
         suscribiente o de cualquiera de ellos y sus sucesores;
     \
                 d)      Que se determine que cualquier informaci6n, garantia o representad6n hecha
         par el suscribiente al tomador o tenedor de este PAGARE en cualquier fecha en que la misma
         se hlciere resultare falsa o incierta, en parte o totalmente; y el

                e)      Incumplimiento por el suscribiente de cualquiera de los terminos, clausulas y
         condidones de este P AGARE o del CONTRATO DE PRESTAMO suscrito en esta misma
         fecha con el tomador o tenedor de este PAGARE.

                El suscribiente par la presente renuncia a todo derecho de presentaci6n, falta de pat;o,
         protesto, demanda y aviso. El suscribiente autoriza al tornador o tenedor de este PAGARE y
         le confiere poder, sin que se requiera notilicad6n alguna, para aplicar el derecha a
         compensaci6n "set-off' a las obligaciones que se originan de este PAGARE y para extender su
         fecha de pago antes o despues de su vencimiento, y de la rnisma forma antes o despues de su


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       vendmiento extender tolerancia, dar .indulgencia, realizar cualquier aplicaci6n de pagos de
       cualquier suma de dinero perteneciente al suscribiente o de cualquier otro pagan~ que se
       encuentre en poder del tomador o tenedor de este PAGARE ya modificar, cambiar o alterar
       la forma de pago de este PAGARE y a sustituir, cambiar o relevar de responsabilidad a
       cualquier persona sin que esto afecte, disminuya o altere la responsabilidad solidaria del
       suscribiente, quienes no obstante tal sustituci6n, cambio o relevo, continuara siendo
       solidariamente responsable de su pago frente al tomador o tenedor de este PA GARE.

              El uso del singular en este PAGARE se entendera plural si mas de una persona
       suscribiere el mismo; el uso del plural induira el singular; y el uso de los pronombres de
       cualquier genero incluiran los otros; y en caso de mas de un suscribiente la responsabilidad
       de cada uno de ellos frente al tomador o tenedor de este P AGARE sera solidaria de todos Ios
       firmantes.

              En San Juan, Puerto Rico, a _i de ¾fit,,,,J,r1.,, de 2012.


                                                           AUTORIDAD DE CARRETERAS Y
                                                           TRANSPORTACI6N




                                                            Jf2t,2gmat
                                                           Director Ejecutivo
                                                           Secretario, Departamento de
                                                            Transportaci6n y Obras Pii.blicas de
                                                             Puerto Rico
       TestimonioNum. 70;1.'t)--

             Reconocido y suscrito ante mi por Ruben Hernandez Gregorat, mayor de edad,
       casado y vecino de Guaynabo, Puerto Rico, en su capacidad de Director Ejecutivo de la
       Autoridad de Carreteras y Transportaci6n de Puerto Rico, y Secretario del Departamento
       de Transportaci6n y Obras Publicas de Puerto Rico, a quien doy fe de conocer
       personalmente.

             En San Juan, Puerto Rico, a ~ de septiembre de 2012.




                                                                                                   AAFAF_CONF_0003905
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                                                PAGARE


    VALOR: $33,189,996                                        VENCIMIENTO: 31 de enero 2014

         La AUTORIDAD DE CARRETERAS Y TRANSPORTACI6N DE PUERTO RICO
    (" AUTORIDAD"), una entidad juridica creada en virtud de la Ley Num. 74 de 23 de junio de
    1965, segun enmendada, reconoce adeudar y por valor recibido promete por la presente
    pagar al BANCO GUBERNAMENTAL DE FO:MENTO PARA PUERTO RICO ("BANCO"),
    o a su orden, la suma principal de TREINTA Y TRES MILLONES CIENTO OCHENTA Y
    NUEVE MIL NOVECIENTOS NOVENTA Y SEIS DOLARES ($33,189,996). Los
    desembolsos bajo la linea de credito evidenciada por este PAGARE devengaran intereses
    pagaderos mensualmente, computados sobre la tasa de interes preferencial Prime Rate mas
    un diferencial de 1.50%, con un mfnimo de 6%, o cualquier otra tasa de interes que determine
    el Presidente del BANCO o su designado, de acuerdo con el mercado de tasas de interes. El
    BANCO podra revisar de tiempo en tiempo la base, margen y periodicidad de la tasa de
    interes, segun estime necesario y de acuerdo con el mercado de tasas de interes.

          El vencimiento de este P AGARE es el 31 de enero de 2014. Si al vencimiento no ha sido
    satisfecha en su totalidad esta obligaci6n, desde el 1 de febrero de 2014 se aplicara una tasa
    de interes igual a dosdentos (200) puntos base sobre la tasa de interes aplicable vigente
    previo al vencimiento.

         Tanto el principal como los intereses sobre este P AGARE son pagaderos en cualquier
    moneda corriente de los Estados Unidos de America, que en las respectivas fechas de pago
    sea moneda de curso legal para el pago de deudas publicas y privadas.

         Este PAGARE esta relacionado en un CONTRATO DE PRESTAMO suscrito en esta
    rnisma fecha entre la AUTORIDAD y el BANCO, y su vencimiento puede ser acelerado
    conforme a los terminos del CONTRATO DE PRESTAMO.

          En el caso en que el tomador o tenedor de este PAGARE se vea precisado a recurrir a
    los tribunales de justicia para su cobro o tenga que intervenir en procedimientos bajo la Ley
    Federal de Quiebra, los suscribientes pagaran tambien una suma equivalente al DIEZ POR
    CIENTO (10%) del monto del principal de este PAGARE, como penalidad liquida y exigible
    sin necesidad de intervenci6n judicial, para costas, gastos y honorarios de abogados,
    penalidad que sera pagadera con la mera presentad6n de la demanda en el tribunal.

         Expresamente relevamos al tomador o tenedor de este P AGARE de su obligaci6n de
    prestar fianza en el caso de acci6n judicial para el cobro de este P AGARE en caso de que el
    tomador o tenedor solidtara orden al tribunal para el aseguramiento de la efectividad de la
    sentencia de acuerdo con las leyes de Puerto Rico.

         El tomador o tenedor de este PAGARE puede acelerar su plazo y dedarar el mismo
    vencido y pagadero antes de su vencimiento, de ocurrir cualquiera de los siguientes eventos:

                 a)     Nose pague a su vencimiento cualquiera de los plazos para intereses o
                 cualquier adelanto relacionado con el financiantlento que evidencia este
                 P AGARE que haya sido realizado por el tomador o tenedor del mismo por
                 cuenta de los suscribientes;

                 b)    Embargo o ejecuci6n de cualquiera de las propiedades de los suscribientes
                 que sean susceptibles de ir a publica subasta, dadas en garantfas;

                 c)     Insolvencia, sindicatura, disoluci6n, terminaci6n, liquidaci6n o quiebra de
                 los suscribientes o de cualquiera de ellos;




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               d)    Vencimiento o incumplimiento de cualquier otro pagare, deuda u
               obligaci6n de los suscribientes con el tomador o tenedor de este PAGARE;

               e)     Que se determine que cualquier informad6n o representaci6n hecha por
               los suscribientes al tomador o tenedor de este PAGARE, en cualquier fecha en
               que la misma se hiciere, resultare falsa o incierta, en parte o totalmente;

               £)     Incumplimiento por los suscribientes de cualquiera de los terminos,
               clausulas y condiciones de este PAGARE o del CONTRATO DE PRESTAMO,
               suscrito en esta misma fecha con el tomador o tenedor de este P AGARE.

       Los suscribientes por la presente renuncian a todo derecho de presentaci6n, falta de pago,
   protesto, demanda y aviso. Los suscribientes autorizan al tomador o tenedor de este
   P AGARE y le confieren poder, sin que se requiera notificaci6n alguna, para aplicar el
   derecho a compensaci6n (set-off) a las obligaciones que se originan de este PAGARE y para
   extender su fecha de pago antes o despues de su vencimiento, y de la misma form.a antes o
   despues de su vencimiento extender tolerancia, dar indulgencia, realizar cualquier aplicaci6n
   de pagos de cualquier suma de dinero pertenecientes a los suscribientes o de cualquier otro
   pagare que se encuentre en poder del tomador o tenedor de este PAGARE y a modificar,
   cambiar o alterar la form.a de pago de este P AGARE y a sustituir, cambiar o relevar de
   responsabilidad solidaria de cada suscribiente, quienes no obstante tal sustituci6n, cambio o
   relevo, continuaran siendo solidariamente responsables de su pago frente al tomador o
   tenedor de este PAGARE.

        El uso del singular en este PAGARE se entendera plural si mas de una persona
   suscribiere el mismo; el uso del plural incluira el singular; y el uso de los pronombres de
   cualquier genero incluiran los otros; y en caso de mas de un suscribiente la responsabilidad
   de cada uno de ellos frente al tomador o tenedor de este P AGARE sera solidaria de todos los
   firmantes.

        En San Juan, Puerto Rico, a 211 de k/,re -z       de 2013.

                                                  AUTORIDAD DE CARRETERAS Y
                                                  TRANSPORTACION DE PUERTO RICO




   Testimonioffl

         Reconocido y suscrito ante rru por Javier E. Ramos Hernandez, mayor de edad, casado,
    ingeniero y vecino de Bayamon, Puerto Rico, en su caracter como Director Ejecutivo de la
    Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco personalmente.


        En San Juan, Puerto Rico, a;2..f3 d e ~ de 2013.
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                                      EXENTO DEL PAGO DE ARANCEL
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                                                  PAGARE



    VALOR: $15,000,000                                         VENCIMIENTO: 30 de junio de 2015

         La AUTORIDAD DE CARRETERAS Y TRANSPORTACI6N DE PUERTO RICO
        11
    ( AUTORIDAD"), una entid.ad juridica creada en virtud de la Ley Num. 74 de 23 de junio de
    1965, segun enmendada, reconoce adeudar y por valor recibido promete por la presente
    pagar al BANCO GUBERNAl\.1.ENTAL DE FOI\1ENTO PARA PUERTO RICO ("BANCO"),
    o a su orden, la suma principal de QUINCE MILLONES DE DOLARES ($15,000,000). Los
    desembolsos bajo la lmea de cred.ito evidenciada por este P AG.ARE devengaran intereses los
    cuales seran pagaderos al venc:i.miento, computados sobre la tasa de interes preferencial
    Prime Rate mas un diferencial de 1.50%, con un rnirrimo de 6%, o cualquier otra tasa de
    interes que determine el Presidente del BANCO o su designado, de acuerdo con el mercado
    de tasas de interes. El BANCO podra revisai de tiempo en tiempo la base, margen y
    periodicidad de la tasa de interes, segun estime necesario y de acuerdo con el mercado de
    tasas de interes.

          El venc:i.miento de este P AGARE es el 30 de junio 2015. Si al venc:i.miento no ha sido
    satisfecha en su totalidad esta obligaci6n, desde el 1 de ju.lio de 2015 se aplicara una tasa de
    interes igual a doscientos (200) puntos base sobre la tasa de inter{$ aplicable vigente previo al
    venc:i.miento.

          Tanto el principal como los intereses sobre este P AGARE son pagaderos en cualquier
     moneda corriente de los Estados Unidos de America, que en las respectivas fechas de pago
     sea moneda de curso legal para el pago de deudas publicas y privadas.

          Este PAGARE esta relacionado en un CONTRATO DE PRESTAMO suscrito en esta
     rnisma fecha entre la AUTORIDAD y el BANCO, y su vencimiento puede ser acelerado
     conforme a los terminos del CONTRATO DE PRESTAMO.

           En el caso en que el tomador o tenedor de este P AGARE se vea precisado a recurrir a
     los tribunales de justicia para su cobro o tenga que intervenir en procedimientos bajo la Ley
     Federal de Quiebra, los suscribientes pagaran tambien una suma equivalente al DIEZ POR
     CIENTO (10%) del monto del principal de este PAGA.RE, como penalidad liquida y exigible
     sin necesidad de intervenci6n judicial, para costas, gastos y honorarios de abogados,
     penalidad que sera pagadera con la mera presentaci6n de la demanda en el tribunal.

          Expresamente relevamos al tomador o tenedor de este P AG ARE de su obligaci6n de
     prestar fianza en el caso de acci6n judicial para el cobro de este P AG.ARE en caso de que el
     tomador o tenedor solicitara orden al tribunal para el asegurarniento de la efectividad de la
     sentencia de acuerdo con las leyes de Puerto Rico.

          El tomador o tenedor de este P AGARE puede acelerar su plazo y declarar el rnismo
     vencido y pagadero antes de su vencirniento, de ocurrir cualquiera de los siguientes eventos:

                     a)    Nose pague a su vencirniento cualquiera de los plazos para intereses o
                     cualquier adelanto relacionado con el finandamiento. que evidenda este
                     PAGARE que haya sido realizado por el tomador o tenedor del rnismo por
                     cuenta de los suscribientes;

                     b)    Embargo o ejecuci6n de cualquiera de las propiedades de los suscribientes
                     que sean susceptibles de ir a publica subasta, dadas en garantias;

                     c)     Insolvencia, sindicatura, disoluci6n, terminaci6n, liquidaci6n o quiebra de
                     los suscribientes o de cualquiera de ellos;




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                d)    Vencirniento o incumplimie nto de cualquier otro pagare, deuda u
                obligaci6n de los suscribientes con el tomador o tenedor de este P AGARE;

                e)     Que se determine que cualquier informaci6n o representaci 6n hecha por
                los suscribientes al tomador o tenedor de este PAGARE, en cualquier fecha en
                que la misma se hiciere, resultare falsa o incierta, en parte o totalmente;

                f)     Incumplimie nto por los suscribientes de cualquiera de los terminos,
                clausulas y condidones de este PAGA.RE o del CONTRATO DE PRESTAMO,
                suscrito en esta misma fecha con el tomador o tenedor de este P AGARE.

        Los suscribientes por la presente renuncian a todo derecho de presentaci6n , falta de pago,
    protesto, demanda y aviso. Los suscribientes autorizan al tomador o tenedor de este
    PAGARE y le confieren poder, sin que se requiera notificaci6n alguna, para aplicar el
    derecho a compensaci6 n (set-off) a las obligaciones que se originan de este P AGARE y para
    extender su fecha de pago antes o despues de su vencimiento, y de la misma forma antes o
    despues de su vencimiento extender tolerancia, dar indulgencia, realizar cualquier aplicaci6n
    de pagos de cualquier suma de dinero pertenecient es a los suscribientes o de cualquier otro
    pagare que se encuentre en poder del tomador o tenedor de este PAGA.RE ya modificar,
    cambiar o alterar 1a fo~ de pago de este PAGARE y a sustituir, cambiar o relevar de
    responsabili dad solidaria de cada suscribiente, quienes no obstante tal sustituci6n, cambio o
    relevo, continuaran siendo solidariamen te responsables de su pago frente al tomador o
    tenedor de este PAGA.RE.

         El uso del singular en este P AGARE se entendera plural si mas de una persona
    suscribiere el mismo; el uso del plural incluira el singular; y el uso de los pronombres de
    cualquier genero incluiran los otros; y en caso de mas de un suscribiente la responsabili dad
    de cada uno de ellos frente al tomador o tenedor de este P AGARE sera solidaria de todos los
    firmantes.

         En San Juan, Puerto Rico, a /iz_ de enero de 2014:

                                                    AUTORJDA D DE CARRETERAS Y
                                                    TRANSPOR TACION DE PUERTO RICO




                                                    Director Ejecuti
                                                    Administrac i6n y Finanzas

    Testimonio· f!Ff-

   Reconocido y suscrito ante mi por Cesar M. Gandiaga Texidor, Director Ejecutivo Auxiliar
   para Administrac i6n y Finanzas de la Autoridad de Carreteras y Transportac i6n, quien es
   mayor de edad, casado., contable y vecino de San Juan, Puerto Rico, a quien conozco
   personalmen te. En San Juan, Puerto Rico, a lfe_ de enero de 2014.


        En San Juan, Puerto Rico., a   iJL de enero de 2014.




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                                              PAGARE


   VALOR: $49,325,000                                      VENCIMIENTO: 31 de enero de 2013

         POR VALOR RECIBIDO, pagare a la orden del BANCO GUBERNAMENTAL DE
   FOMENTO PARA PUERTO RICO en moneda de curso legal de los Estados Unidos de
   America en su oficina principal en Santurce, Puerto Rico, la suma principal de CUARENTA
   Y NUEVE MILLONES TRESCIENTOS VEINTICINCO MIL DOLARES ($49,325,000), mas
   intereses capitalizados, en igual moneda, menos cualquier suma ya pagada. Este PAGARE
   acumulara intereses diarios computados a base del balance insoluto de la suma de
   principal, calculados sobre una base actual/360 dias, de acuerdo con la tasa de interes
   preferencial fluctuante Prime Rate, segun determinada por el BANCO, mas un diferencial de
   ciento cincuenta (150) puntos base. La tasa de interes que aplicara a este PAGARE no sera
   menor de seis por ciento (6%). El BANCO podra revisar de tiempo en tiempo la base,
   margen y periodicidad de la tasa de interes, segun estime necesario y de acuerdo con el
   mercado de tasas de interes. La tasa de interes variara conforme a como varie la tasa de
   interes preferencial fluctuante Prime Rate. Los intereses acumulados bajo este PAGARE
   seran pagaderos al vencimiento.

           Si en la fecha de vencimiento de la obligaci6n de repago la AUTORIDAD no ha
    pagado el balance insoluto del principal, la AUTORIDAD pagara intereses sobre dicha
    suma computados a base.de doscientos (200) puntos base sobre la tasa que le aplicaria bajo
    este PAGARE.

         Este PAGARE se otorga en virtud del CONTRATO DE PRESTAMO otorgado en esta
    misma fecha.

            En el caso en que el tomador o tenedor de este P AGARE se vea precisado a recurrir a
    los tribunales de justicia para su cobro o tenga que intervenir en procedimientos bajo la Ley de
    Quiebra Federal, los suscribientes pagaran tambien una suma equivalente al DIEZ POR
    OENTO (10%) del monto del principal de este PAGARE, como penalidad liquida y exigible
    sin necesidad de intervenci6n judicial, para costas, gastos y honorarios de abogados y cuya
    penalidad sera pagadera con la mera radicaci6n en el tribunal de la demanda.

           Expresamente relevamos al tomador o tenedor de este PAGARE de su obligaci6n de
    prestar fianza en el caso de acci6n judicial para el cobro de este PAGARE si dicho tomador o
    tenedor solicitara orden al tribunal para el aseguramiento de la efectividad de la sentencia de
    acuerdo con las Leyes de Puerto Rico.

          El tomador o tenedor de este PAGARE puede acelerar su plazo y declarar el mismo
    vencido y pagadero antes de su vencimiento, de ocurrir cualquiera ~e ~s siguientes eventos:

           a)     Nose pague a su vencimiento cualquiera de los plaz~s.parain~~ y principal
    o cualquier adelanto relacionado con el prestamo que evidencia este P AGARE que ha sido
    realizado por el tomador o tenedor del mismo a favor del suscribiente;    ·
                                                                     '
           b)     Embargo o ejecuci6n de cualquiera de las propiedades del suscribiente dadas en
    garantfa;

           c)      Insolvencia, sindicatura, disoluci6n, terminaci6n, liquidaci6n o quiebra del
    suscribiente o de cualquiera de ellos y sus sucesores;

            d)     Que se determine que cualquier informaci6n, garantfa o representaci6n hecha
    por el suscribiente al tomador o tenedor de este PAGARE en cualquier fecha en que la misma
    se hiciere resultare falsa o incierta, en parte o totalmente; y el

            e)   Incumplimiento por el suscribiente de cualquiera de los terminos, clausulas y
    condiciones de este PAGARE o del CONTRATO DE PRESTAMO suscrito en esta misma fecha
    con el tomador o tenedor de este PAGARE.


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         El suscribiente por la presente renuncia a todo derecho de presentaci6n, falta de pago,
  protesto, demanda y aviso. El suscribiente autoriza al tomador o tenedor de este PAG.ARE y
  le confiere poder, sin que se requiera notificaci6n alguna, para aplicar el derecho a
  compensaci6n "set-off' a las obligaciones que se originan de este PAG.ARE y para extender su
  fecha de pago antes o despues de su vencimiento, y de la misma forma antes o despues de su
  vencimiento extender tolerancia, dar indulgencia, realizar cualquier aplicaci6n de pagos de
  cualquier suma de dinero perteneciente al suscribiente o de cualquier otro pagare que se
  encuentre en poder del tomador o tenedor de este PAG.ARE y a modificar, cambiar o alterar la
  forma de pago de este PAGARE y a sustituir, cambiar o relevar de responsabilidad a cualquier
  persona sin que esto afecte, disminuya o altere la responsabilidad solidaria del suscribiente,
  quienes no obstante ta1 sustituci6n, cambio o relevo, continuara siendo solidariamente
  responsable de su pago frente al tomador o tenedor de este PAGARE.

         El uso del singular en este PAG.ARE se entendera plural si mas de una persona
  suscribiere el mismo; el uso del plural incluira el singular; y el uso de los pronombres de
  cualquier genero incluiran los otros; y en caso de mas de un suscribiente la responsabilidad de
  cada uno de ellos frente al tomador o tenedor de este PAG.ARE sera solidaria de todos los
  firmantes.

         En San Juan, Puerto Rico, a ~ de noviembre de 2011.


                                                     AUIORIDADDECARRE1ERASY
                                                     TRANSPORTAO◊N




                                                              ernandez Gregorat
                                                     Director Ejecutivo y Secretario,
                                                     Departamento de Transportaci6n y Obras
                                                     Publicas de Puerto Rico

  Testimonio Num. L/15

        Reconocido y suscrito ante· mi por Ruben Hernandez Gregorat, mayor de edad,
  casado y vecino de Guaynabo, Puerto Rico, en su capacidad de Director Ejecutivo de la
  Autoridad de Carreteras y Transportaci6n de Puerto Rico, y Secretario del Departamento de
  Transportaci6n y Obras Publicas de Puerto Rico, a quien doy fe de conocer personalmente.

         En San Juan, Puerto Rico, a 29 de noviembre de 2011.
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                            PRIMERA ENMIENDA A PAGARE
                                   ("ALLON GE")


 $49,325,000                                              Vencimiento: 31 de enero de 2014

        El PAGARE por CUARENTA Y NUEVE MILLONES TRESCIENTOS
 VEINTICINCO MIL DOLARES ($49,325,000), suscrito el 29 de noviembre de 2011, por
 Ruben A. Hernandez Gregorat, en su entonces capacidad como Director Ejecutivo de la
 Autoridad de Carreteras y Transportaci6n de Puerto Rico y Secretario del
 Departamento de Transportaci6n y Obras Publicas de Puerto Rico, ante la notaria
 Zoraya Betancourt Calzada, Testimonio numero 415, y pagadero al Banco
 Gubernarnental de Fomento para Puerto Rico (el "BANCO") o a su orden, queda
 enmendado para extender su fecha de vencimiento hasta el 31 de enero de 2014. El
 principal y los intereses acumulados sobre el P AGARE seran pagaderos al vencimiento.

       Los demas terminos y condiciones del PAGARE, segun enmendado, no
 inconsistentes con esta PRIMERA ENMIENDA A PAGARE, permaneceran inalterados
 yen pleno vigor.

       Esta modificaci6n se consigna en virtud de la CUARTA ENMIENDA A
 CONTRATO DE PRESTAMO que el BANCO y la Autoridad de Carreteras y
 Transportaci6n de Puerto Rico han suscrito en el dfa de hoy.

         En San Juan, Puerto Rico, a /3 de marzo de 2013.



                                     AUTORIDAD DE CARRETERAS Y
                                     TRANSPORTACION DE PUERTO RICO




                                     Director Ejecutivo
 Testimonio   ?tJb
        Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad, casado,
 ingeniero y vecino de Bayamon, Puerto Rico, en su caracter como Director Ejecutivo de la
 Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco personalmente.


         En San Juan, Puerto Rico, a -12_ de marzo de 2013.




                                       EXENTO DEL PAGO DE ARANCEL
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                              SEGUNDA ENMIENDA A PAGARE
                                     (" ALLON GE")


   $49,325,000                                             Vencimiento: 31 de enero de 2015

         El PA GARE por CUARENT A Y NUEVE MILLONES TRESCIENTOS
   VEINTICINCO MIL DOLARES ($49,325,000), suscrito el 29 de noviembre de 2011, por
   Ruben A. Hernandez Gregorat, en su entonces capacidad como Director Ejecutivo de la
   Autoridad de Carreteras y Transportaci6n de Puerto Rico y Secretario de!
   Departamento de Transportaci6n y Obras Publicas de Puerto Rico, ante la notario
   publico Zoraya Betancourt Calzada, Testimonio numero 415, y pagadero al Banco
   Gubernamental de Fomento para Puerto Rico (el "BANCO") o a su orden, enmendado
   mediante PRIMERA ENMIENDA A PAGARE (" ALLONGE") suscrita por Javier E.
   Ramos Hernandez, en capacidad de Director Ejecutivo de la Autoridad de Carreteras y
   Transportaci6n de Puerto Rico, el 13 de marzo de 2013, ante la notario publico
   Marguilean Rivera Amill, Testimonio Num. 786, queda por la presente enmendado para
   extender la fecha de vencimiento y el repago de intereses acumulados al 31 de enero de
   2015.

          Los demas terminos y condiciones del P AG ARE, segun enmendado, no
   inconsistentes con esta SECUNDA ENMIENDA A PAGARE, permaneceran inalterados
   y en pleno vigor.

         Esta modificaci6n se consigna en virtud de la QUINTA ENMIENDA A
   CONTRATO DE PRESTAMO que el BANCO y la Autoridad de Carreteras y
   Transportaci6n de Puerto Rico han suscrito en el dfa de hoy.

           En San Juan, Puerto Rico, a 3/ de enero de 2014.



                                          AUTORIDAD DE CARRETERAS Y
                                          TRANSPORTACION DE PUERTO RICO




                                          Director Ejecutivo
   Testimonio S~'-f

          Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad,
   casado, ingeniero y vecino de Bayamon, Puerto Rico, en su caracter como Director
   Ejecutivo de la Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco
   personalmente.


           En San Juan, Puerto Rico, a __§,_l_ de enero de 2014.


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                                  TERCERA ENMIENDA A PAGARE
                                         ("ALLON GE")


         $49,325,000                                          Vencimiento: 31 de enero de 2016

                El PAGARE por CUARENTA Y NUEVE MILLONES TRESCIENTOS
         VEINTICINCO MIL D6LARES ($49,325,000), suscrito el 29 de noviembre de 2011, por
         Ruben A. Hernandez Gregorat, en su entonces capacidad como Director Ejecutivo de la
         Autoridad de Carreteras y Transportaci6n de Puerto Rico y Secretario de!
         Departamento de Transportaci6n y Obras Publicas de Puerto Rico, ante la notario
         publico Zoraya Betancourt Calzada, Testimonio numero 415, y pagadero al Banco
         Gubemamental de Fomento para Puerto Rico (el "BANCO") o a su orden, enmendado
         rttediante PRIMERA ENMIENDA A PAGARE (" ALLONGE") suscrita por Javier E.
         Ramos Hernandez, en capacidad de Director Ejecutivo de Ia Autoridad de Carreteras y
         Transportaci6n de Puerto Rico, el 13 de marzo de 2013, ante la notario publico
         Marguilean Rivera Amill, Testirnonio Num. 786, enmendado mediante SEGUNDA
         ENMIENDA A PAGARE (" ALLONGE") suscrita. por Javier E. Ramos Hernandez, en
         capacidad de Director Ejecutivo de la Autoridad de Carreteras y Transportaci6n de
         Puerto Rico, el 31 de enero de 2014, ante la notario publico Belen Fornaris Alfaro,
         Testimonio Num. 584, queda por la presente enmendado para extender Ia fecha de
         vencirniento y el repago de intereses acumulados al 31 d_e enero de 2016.

               Los demas tcrminos y condiciones de! PAGARE, segun enmendado, no
         inconsistentes con esta TERCERA ENMIENDA A PAGARE, permaneceran inalterados
         yen pleno vigor.

               Esta modificaci6n se cons!gna en virtud de la SEXTA ENMIENDA A
         CONTRATO DE PRESTAMO que el BANCO y la Autoridad de Carreteras y
         Transportaci6n de Puerto Rico han suscrito en el dia de hoy.

               En San Juan, Puerto Rico, a J(J de mayo de 2015.

                                                AUTORIDAD DE CARRETERAS Y
                                                TRANSPORTACI6N DE PUERTO RICO




                                             ~Jia/4/Y
                                                Cannen A. Villar-Prados
                                                Directora Ejecutiva
         Testimonio ..llr-

                Reconocido y suscrito ante mf par Carmen A. Villar-Prados mayor de edad,
         casada, ingeniera y vecina de Guaynabo, Puerto Rico, en su caracter coma Directora
         Ejecutiva de la Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco
         personalmente.

               En San Juan, Puerto Rico, a ~ de mayo de 2015.




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                                         PROMISSORY NOTE



        $3,000,000                                                            December 31, 2011

               PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
        (hereinafter called the "Authority"), a public corporation and autonomous
        instrumentality of the Commonwealth of Puerto Rico, for value received hereby
        promises to pay, solely from the sources described in the Loan Agreement mentioned
        herein, to the order of Government Development Bank for Puerto Rico (the
        "Lender"), at its principal office in San Juan, Puerto Rico, on December 31, 2011,
        subject to prepayment as set forth below, the principal sum of THREE MILLION
        DOLLARS ($3,000,000), (the "Loan"), to the extent that such amount or any portion
        thereof has been borrowed by the Authority under the Loan Agreement, dated June
        30, 2010, between the Authority and the Lender and remains unpaid. Such payment
        shall be made in any coin or currency of the United States of America which at the
        time of payment is legal tender for the payment of public and private debts. The
        Authority hereby agrees to repay the outstanding aggregate principal amount of the
        Loan at the principal office of the Lender in San Juan, Puerto Rico, from any available
        moneys of the Authority. Capitalized terms used in this Note and not otherwise
        defined shall have the meaning ascribed to them in the Loan Agreement.

                Each Drawing shall bear interest daily from the date such Drawing is made
        until its repayment at a variable rate of interest per annum equal to Prime Rate plus
        150 basis points, as determined from time to time in good faith by the Lender, or,
        upon written notice to the Borrower, at a variable rate of interest per annum, which
        interest rate may be revised periodically, equal to the Lender's cost of funding for
        variable rate loan transactions or the cost of any other obligations or source of funds
        used to fund the Loan. Such interest rate shall not exceed twelve (12) percent and
        shall not be less than six (6) percent. Interest shall be calculated on the basis of a 360-
        day year of twelve 30-day months. Interest for any period of less than one calendar
        month shall be calculated on the basis of the actual number of days elapsed during
        that month. If the line of credit comes due and payable, the Borrower hereby agrees
        to pay a default interest rate on the principal outstanding amount calculated on the
        basis of Prime Rate plus four hundred (400) basis points. The President of the Bank
        or the duly authorized Executive Vice President of the Bank may modify the interest
        rate at anytime at their full discretion, depending on the interest rate market.

              Interest shall be payable monthly in arrears not later than the tenth Banking
        Day ·following receipt from the Lender of the statement referred to in the next
        sentence of this paragraph, from amounts available from any available moneys of the
        Authority. Each month the Bank shall furnish to the Authority a written statement
        showing the amount of interest due and payable by the Authority on the Loan for the
        preceding month. The Authority may prepay the Line of Credit at any time without
        penalty or premium. This Note is issued pursuant to a Loan Agreement between the
        Authority and the Lender subscribed on this same date.

               The Authority waives the requirement of demand, presentment, protest,
        notice of dishonor, and, in general, any other legal formality.

              If the Authority defaults in making any payment when due under this Note,
        the Lender may declare this Note to be immediately due and payable.

              In case of recourse to the courts by the Lender in order to collect the whole or
        any portion of the principal or interest due under this Note, the Administration
        agrees to pay a liquidated sum equal to 10% of the principal sum of this Note to
        cover expenses of such proceedings, court costs, disbursements and attorney's fees,
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       which amount will become immediately due and payable upon the filing of such
       judicial proceedings.

               All acts, conditions and things required by the Puerto Rican Federal Relations
       Act and the Constitution and Laws of the Commonwealth of Puerto Rico to happen,
       exist, and be performed precedent to and in the issuance of this Note have happened,
       exist and have been performed as so required. This Note shall be construed in
       accordance with the laws of the Commonwealth of Puerto Rico.

              IN WITNESS WHEREOF, PUERTO RICO HIGHWAY                                AND
       TRANSPORTATION AUTHORITY has caused this note to be signed by its executive
       director and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this
       30th day ofJune, 2010.


                                                                      0 HIGHWAY AND
                                                                          NAUTHORITY


                                                 By:
                                                             uben A. Hernandez Gregorat
                                                               Executive Director

       Affidavit No.-Z'P-

              Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
       Executive Director of the Puerto Rico Highway and Transportation Authority, of
       legal age, married and a resident of Guaynabo, Puerto Rico, who is personally
       known tome.

               In San Juan, Puerto Rico, on June 30, 2010.




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                       FIRST AMENDMENT TO PROMISSORY NOTE
                                   (ALLONGE)

       The terms of the Note executed by Ruben A. Hernandez Gregorat, as Secretary of
Transportation and Public Works and Executive Director of the Puerto Rico Highway
and Transportation Authority, for the principal sum of THREE MILLION DOLLARS
($3,000,000), to the order of the Government Development Bank for Puerto Rico on
December 31, 2011, before Notary Public Zoraya Betancourt Calzada (the "Note"), is
hereby amended to: (i) increase the aggregate principal amount to THREE MILLION
TWO HUNDRED THIRTY-FOUR THOUSAND THREE HUNDRED NINETY-ONE
DOLLARS AND TWENTY-SEVEN CENTS ($3,234,391.27), (ii) extend the Maturity
Date to January 31, 2013, and (iii) provide for the payment of interest at maturity.

        All capitalized terms used but not otherwise defined herein have the meanings
 given them in the First Amendment to Loan Agreement.

        This First Amendment to Promissory Note (Allonge) is executed in connection
 with the First Amendment to Loan Agreement between the Puerto Rico Highway and
 Transportation Authority and Government Development Bank for Puerto Rico,
 executed by the parties on this same date. All other provisions of the Note not
 inconsistent with this First Amendment to the Note (Allonge), shall remain in full force
 and effect.

       IN WITNESS WHEREOF, the PUERTO RICO HIGHWAY AND
 TRANSPORTATION AUTHORITY has caused this First Amendment to Promissory
 Note (Allonge) to be signed by its Executive Director in San Juan, Puerto Rico, this
 29 day of June, 2012.

                                          PUERTO RICO HIGHWAY AND
                                          TRANSPORTA     N AUTHORITY


                                    By:
                                                   . Hernandez Gregorat
                                          Secretary of Transportation and Public Works
                                          Executive Director PRHTA

 Affidavit No. (R9C/

       Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
Secretary of Transportation and Public Works and Executive Director of the Puerto Rico
Highway and Transportation Authority, of legal age, married and a resident of
 Guaynabo, Puerto Rico, who is personally known to me.

         In San Juan, Puerto Rico, on June 29_, 2012.




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                  SECOND AMENDMENT TO PROMISSORY NOTE
                              (ALLONGE)

 $3,234,391.27                                             Due Date: January 31, 2014


       The terms of the Promissory Note executed by Ruben A. Hernandez Gregorat, as
Secretary of Transportation and Public Works and Executive Director of the Puerto Rico
Highway and Transportation Authority, for the principal sum of THREE MILLION
DOLLARS ($3,000,000), to the order of the Government Development Bank for Puerto
Rico on December 31, 2011, before Notary Public Zoraya Betancourt Calzada (the
"Note"), as amended by First Amendment to Promissory Note (Allonge) executed by
Ruben A. Hernandez Gregorat, as Secretary of Transportation and Public Works and
Executive Director of the Puerto Rico Highway and Transportation Authority on June
29, 2012 before Notary Public Marguilean Rivera Amill, is hereby amended to extend
the maturity date to January 31, 2014.

      This Second Amendment to Promissory Note (Allonge) is executed in connection
with the Second Amendment to Loan Agreement between the Puerto Rico Highway
and Transportation Authority and the Government Development Bank for Puerto Rico,
executed by the parties on this same date. All other provisions of the Note, as amended,
not inconsistent with this Second Amendment to Promissory Note (Allonge), shall
remain in full force and effect.

      IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
Authority has caused this Second Amendment to Promissory Note (Allonge) to be
signed by its Executive Director in San Juan, Puerto Rico, this _f{_ day of May, 2013.

                                            PUERTO RICO HIGHWAY AND
                                            TRANS ORTATION AUTHORITY




Affidavit No. '11 S"

      Recognized and subscribed before me by Javier E. Ramos Hernandez, as
Executive Director of Puerto Rico Highway and Transportation Authority, of legal age,
married, engineer and resident of Bayam6n, Puerto Rico, who is personally known to
me.

       In San Juan, Puerto Rico, on May __!P___, 2013.



                                                          I' Notary Public

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                     THIRD AMENDMENT TO PROMISSORY NOTE
                                 (ALLONGE)

  $3,234,391.27                                                Due Date: January 31, 2015


       The terms of the Promissory Note executed by Ruben A. Hernandez Gregorat, as
 Secretary of Transportation and Public Works and Executive Director of the Puerto Rico
 Highway and Transportation Authority, for the principal sum of THREE MILLION
 DOLLARS ($3,000,000), to the order of the Government Development Bank for Puerto
 Rico on December 31, 2011, before Notary Public Zoraya Betancourt Calzada (the
 "Note"), as amended by First Amendment to Promissory Note (Allonge) executed by
 Ruben A. Hernandez Gregorat, as Secretary of Transportation and Public Works and
 Executive Director of the Puerto Rico Highway and Transportation Authority on June
 29, 2012 before Notary Public Marguilean Rivera Amill, as amended by Second
 Amendment to Promissory Note (Allonge) executed by Javier E. Ramos Hernandez, as
 Executive Director of the Puerto Rico Highway and Transportation Authority on May 6,
 2013 before Notary Public Belen Fomaris Alfaro, is hereby amended to extend the
 maturity date to January 31, 2015.

        This Third Amendment to Promissory Note (Allonge) is executed in connection
 with the Third Amendment to Loan Agreement between the Puerto Rico Highway and
 Transportation Authority and the Government Development Bank for Puerto Rico,
 executed by the parties on this same date. All other provisions of the Note, as amended,
 not inconsistent with this Third Amendment to Promissory Note (Allonge), shall
 remain in full force and effect.

        IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
 Authority has caused this Third Amendment to Promissory Note (Allonge) to be signed
 by its Executive Director in San Juan, Puerto Rico, this 3/ day of January, 2014.

                                          PUERTO RICO HIGHWAY AND
                                          TRANS ORTATION AUTHORITY



                                          Executive Director

 Affidavit No. 5-=f-'B

       Recognized and subscribed before me by Javier E. Ramos Hernandez, as
 Executive Director of Puerto Rico Highway and Transportation Authority, of legal age,
 married, engineer and resident of Bayam6n, Puerto Rico, who is personally known to
 me.

        In San Juan, Puerto Rico, on January~ 2014.



EXENTO DEL PAGO
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                                                          /    Notary Public




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                            FOURTH AMENDMENT TO PROMISSORY NOTE
                                        (ALWNGE)

         $3,234,391.27                                             . Due Date: January 31, 2016

               The terms of the Promissory Note executed by Ruben A. Hernandez Gregorat, as
        Secretary of Transportation and Public Works and Executive Director of the Puerto Rico
        Highway and Transportation Authority, for the principal sum of THREE MILLION
        DOLLARS ($3,000,000), to the order of the Government Development Bank for Puerto
        Rico on December 31, 2011, before Notary Public Zoraya Betancourt Calzada (the
        "Note"), as amended by First Amendment to Promissory Note (Allonge) executed by
        Ruben A. Hernandez Gregorat, as Secretary of Transportation and Public Works and
        Executive Director of the Puerto Rico Highway and Transportation Authority on June
        29, 2012 before Notary Public Marguilean Rivera Amill, as amended by Second
        Amendment to Promissory Note (Allonge) executed by Javier E. Ramos Hernandez, as
        Executive Director of the Puerto Rico Highway and Transportation Authority on May 6,
        2013 before Notary Public Belen Fomaris Alfaro, as amended by Third Amendment to
        Promissory Note (Allonge) executed by Javier E. Ramos Hernandez, as Executive
        Director of the Puerto Rico Highway and Transportation Authority on January 31, 2014
        before Notary Public Belen Fornaris Alfaro, is hereby amended to extend the matority
        date to January 31, 2016.

                This Fourth Amendment to Promissory Note (Allonge) is executed in connection
         with the Fourth Amendment to Loan Agreement between the Puerto Rico Highway and
         Transportation Authority and the Government Development Bank for Puerto Rico,
         executed by the parties on this same date. All other provisions of the Note, as amended,
         not inconsistent with this Fourth Amendment to Promissory Note (Allonge), shall
         remain in full force and effect.

               IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
         Authority has caused this Fourth Amendment to Promissory Note (Allonge) to be
         signed by its Executive Director in San Juan, Puerto Rico, this ,2_g_ day of May, 2015.


                                                    PUERTO RICO HIGHWAY AND
                                                    TRANSPORTATION AUTHORITY



                                                ALu#fi4di/Y'
                                                    Carmen A. Villar-Prados
                                                    Executive Director

         Affidavit No. 'lc:1- %'

               Recognized and subscribed before me by Carmen A. Villar-Prados, as Executive
         Director of Puerto Rico Highway and Transportation Authority, of legal age, married,
         engineer and resident of Guaynabo, Puerto Rico, who is personally known to me.

                In San Juan, Puerto Rico, on May ~ • 2015.




                                                              /Notary Public

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         VALOR: $33,960,000                                    VE         ~.(~4~ er~ de 2013
                                                                          ~~
                 POR VALOR RECIBIDO, pagare a la orden de! BANCO GUBERNAMENTAL DE
         FOMENTO PARA PUERTO RICO en moneda de curso legal de los Estados Unidos de
         America en su oficina principal en Santurce, Puerto Rico, la suma principal de TREINTA Y
         TRES MILLONES NOVECIENTOS SESENTA MIL D6LARES ($33,960,000), la cual
         incluye las suma de TREINTA Y TRES MILLONES DOSCIENTOS SETENTA Y SEIS MIL
         DOSCIENTOS SETENTA Y DOS D6LARES ($33,276,272) que la AUTORIDAD utilizara
         para continuar sus proyectos de mejoras capitales durante el primer semestre del Afio
         Fiscal 2013, mas SEISCIENTOS OCHENTA Y TRES MIL SETECIENTOS VEINTE Y
         OCHO D6LARES ($683,728) que la AUTORIDAD utilizara para cubrir los cargos por
         asesoria financiera y la capitalizaci6n de intereses al vencimiento, menos cualquier suma ya
         pagada, Este PAGARE acumulara intereses sobre el balance insoluto de! principal de
         TREINTA Y TRES MILLONES NOVECIENTOS SESENTA MIL D6LARES
         ($33,960,000), a base del Prime Rate mas 1.50%, con un minima de 6%, o aquella tasa de
         interes que el Presidente de! BANCO o el Vicepresidente Ejecutivo designado por este
         disponga, dependiendo del mercado de tasas de interes. Los intereses seran capitalizados
         al vencimiento. Este PAGARE se otorga en virtud de! CONTRATO DE PRESTAMO
         suscrito por la AUTORIDAD en esta misma fecha.

                 En el caso en que el tomador o tenedor de este PAGARE se vea precisado a recurrir a
         los tribunales de justicia para su cobro o tenga que intervenir en procedimientos bajo la
         Ley de Quiebra Federal, los suscribientes pagaran tambien una suma equivalente al DIEZ
         POR CIENTO (10%) de! monto de! principal de este PAGARE, como penalidad !Jquida y
         exigible sin necesidad de intervenci6n judicial, para costas, gastos y honoraries de abogados y
         cuya penalidad sera pagadera con Ia mera radicaci6n en el tribllnal de la demanda.

                Expresamente relevamos al tomador o tenedor de este PAGARE de su obligaci6n de
         prestar fianza en el caso de acci6n judicial para el cobro de este PAGARE si dicho tomador o
         tenedor solicitara orden al tribunal para el aseguramiento de la efectividad de la sentencia de
         acuerdo con las Leyes de Puerto Rico.

               El tomador o tenedor de este PAGARE puede acelerar su plazo y declarar el mismo
         vencido y pagadero antes de su vencimiento, de ocurrir cualquiera de los siguientes eventos:

                a)      No se pague a su vencimiento cualquiera de los plazos para intereses y
         principal o cualquier adelanto relacionado con el prestamo que evidencia este PAGARE que
         ha sido realizado por el tomador o tenedor del mismo a favor del suscribiente;

                b)      Embargo o ejecuci6n de cualquiera de la.s propiedades de! suscribiente dadas
         en garantia;

                c)      Insolvencia, sindicatura, disoluci6n, terminaci6n, liquidaci6n o quiebra del
         suscribiente o de cualquiera de ellos y sus sucesores;
     \
                 d)      Que se determine que cualquier informaci6n, garantia o representaci6n hecha
         par el suscribiente al tomador o tenedor de este PAGARE en cualquier fecha en que la misma
         se hiciere resultare falsa o incierta, en parte o totalmente; y el

                e)      Incumplimiento par el suscribiente de cualquiera de los terminos, clausulas y
         condiciones de esle PAGARE o de! CONTRATO DE PRESTAMO suscrito en esta mis ma
         fecha con el tomador o tenedor de este PAGARE.

                El suscribiente por la presente renuncia a todo derecho de presentaci6n, falta de pa~o,
         protesto, demanda y aviso. El suscribiente autoriza al tomador o tenedor de este PAGARE y
         le confiere poder, sin que se requiera notificaci6n alguna, para aplicar el derecho a
         compensaci6n 11 set-off 1 a las obligaciones que se originan de este PAGARE y para extender su
         fecha de pago antes o despues de su vencimiento, y de la misma forma antes o despues de su


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        vencimiento extender tolerancia, dar indulgencia, realizar cualquier aplicaci6n de pagos de
        cualquier sum.a de dinero pertenedente al suscribiente o de cualquier oh'o pagare que se
        encuentre en poder del tomador o tenedor de este PAGARE y a modificar, cambiar o alterar
        la forma de pago de este PAGARE y a sustituir, cambiar o relevar de responsabilidad a
        cualquier persona sin que esto afecte, disminuya o altere la responsabilidad solidaria del
        suscribiente, quienes no obstante tal sustituci6n, cambio o relevo, continuara siendo
        solidariamente responsable de su pago frente al tomador o tenedor de este PAGARE.

              El uso del singular en este PAGARE se entendera plural si mas de una persona
       suscribiere el mismo; el uso del plural inclui.ra el singular; y el uso de las pronombres de
       cualquier genera incluiran Ios otros; y en caso de mas de un suscribiente la responsabilidad
       de cada uno de ellos frente al tomador o tenedor de este PAGARE sera solidaria de todos los
       firmantes.

              En San Juan, Puerto Rico, a   fL de Stflit,..J,,e.- de 2012.
                                                             AUTORIDAD DE CARRETERAS Y
                                                             TRANSPORTACI6N




                                                             '"~,-~-·
                                                             Director Ejecutivo
                                                             Secretario, Departamento de
                                                              Transportaci6n y Obras Publicas de
                                                               Puerto Rico
       Testimonio Num. 70.:<.fj---

             Reconocido y suscrito ante mi por Ruben Hernandez Gregorat, mayor de edad,
       casado y vecino de Guaynabo, Puerto Rico, en su capacidad de Director Ejecutivo de la
       Autoridad de Carreteras y Transportaci6n de Puerto Rico, y Secretario del Departamento
       de Transportaci6n y Obras PU.blicas de Puerto Rico, a quien doy fe de conocer
       personalmente.

              En San Juan, Puerto Rico, a _f de septiembre de 2012.
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                            PRIMERA ENMIENDA A PAGARE
                                   (" ALLON GE")


 $33,960,000                                                Vencimiento: 31 de enero de 2014

        El PAGARE por TREINTA Y TRES MILLONES NOVECIENTOS SESENTA MIL
 DOLARES ($33,960,000), suscrito el 6 de septiembre de 2012, por Ruben A. Hernandez
 Gregorat, en su entonces capacidad como Director Ejecutivo de la Autoridad de
 Carreteras y Transportaci6n de Puerto Rico y Secretario de! Departamento de
 Transportaci6n y Obras Ptiblicas de Puerto Rico, ante la notaria Marfa de Lourdes
 Rodriguez, Testimonio ntimero 702B, y pagadero al Banco Gubernamental de Fomento
 para Puerto Rico (el "BANCO") o a su orden, queda enmendado para extender su fecha
 de vencirniento hasta el 31 de enero de 2014. El principal y los intereses acumulados
 sobre el P AGARE seran pagaderos al vencirniento.

        Los demas terrninos y condiciones de! PAGARE, segtin enmendado, no
 inconsistentes con esta PRIMERA ENMIENDA A P AGARE, permaneceran inalterados
 y en pleno vigor.

       Esta modificaci6n se consigna en virtud de la CUARTA ENMIENDA A
 CONTRATO DE PRESTAMO que el BANCO y la Autoridad de Carreteras y
 Transportaci6n de Puerto Rico han suscrito en el dfa de hoy.

         En San Juan, Puerto Rico, a LE._ de marzo de 2013.



                                       AUTORIDAD DE CARRETERAS Y
                                       TRANSPORTACION DE PUERTO RICO




                                       avier E. Ramos
                                       Director Ejecutivo

 Testimonio -:::J-$ 3

        Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad, casado,
 ingeniero y vecino de Bayamon, Puerto Rico, en su caracter como Director Ejecutivo de la
 Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco personalmente.


         En San Juan, Puerto Rico, a / 3   de marzo de 2013.




                                                 NTO DEL PAGO DE ARANCEL
                                              LtY 47 DE 4 DE JUNIO DE 1982

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Case:17-03283-LTS
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                          SEGUNDA ENMIENDA A PAGARE
                                 (" ALLONGE")


 $10,536,362.50                                        Vencimiento: 31 de enero de 2014

        El PACARE por TREINTA Y TRES MILLONES NOVECIENTOS SESENTA
 MIL D01ARES ($33,960,000), suscrito el 6 de septiembre de 2012 por Ruben A.
 Hernandez Cregorat, en su entonces capacidad como Director Ejecutivo de la
 Autoridad de Carreteras y Transportaci6n de Puerto Rico y Secretario de!
 Departamento de Transportaci6n y Obras Publicas de Puerto Rico, ante la notaria Marfa
 de Lourdes Rodriguez, Testimonio numero 702B, y pagadero al Banco Cubemamental
 de Fomento para Puerto Rico (el "BANCO") o a su orden, segun enmendado por la
 PRIMERA ENMIENDA A P ACARE (" ALLONCE") suscrita el 13 de marzo de 2013 por
 Javier E. Ramos Hernandez en su capacidad de Director Ejecutivo de la Autoridad de
 Carreteras y Transportaci6n de Puerto Rico ante la notaria Marguilean Rivera Amill,
 Testimonio numero 783, queda enmendado para reducir la cantidad maxima de
 principal a DIEZ MILLONES QUINIENTOS TREINTA Y SEIS MIL TRESCIENTOS
 SESENTA Y DOS DOLARES CON CINCUENTA CENT AVOS ($10,536,362.50).

       Los demas terminos y condiciones de! P ACARE, segun enmendado, no
 inconsistentes con esta SECUNDA ENMIENDA A PACARE, permaneceran inalterados
 yen pleno vigor.

       Esta modificaci6n se consigna en virtud de la SECUNDA ENMIENDA A
 CONTRATO DE PRESTAMO que el BANCO y la Autoridad de Carreteras y
 Transportaci6n de Puerto Rico han suscrito en el dfa de hoy.

       En San Juan, Puerto Rico, a /(J de septiembre de 2013.



                                     AUTORIDAD DE CARRETERAS Y
                                     TRANSPORTACION DE PUERTO RICO




 Testimonio   ?f:J.-
       Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad,
 casado y vecino de Bayam6n, Puerto Rico, en su caracter como Director Ejecutivo de la
 Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco personalmente.

       En San Juan, Puerto Rico, a _fl!___ de septiembre de 2013.




                                     EXENTO DEL PAGO DE ARANCEL
                                      LEY 47 DE 4 DE JUNIO DE 1982
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                              TERCERA ENMIENDA A PAGARE
                                     (" ALLONGE")


     $10,536,362.50                                        Vencimiento: 31 de enero de 2015

           El P AGARE por TREINTA Y TRES MILLONES NOVECIENTOS SESENTA
     MIL DOLARES ($33,960,000), suscrito el 6 de septiembre de 2012 por Ruben A.
     Hernandez Gregorat, en su entonces capacidad como Director Ejecutivo de la
     Autoridad de Carreteras y Transportaci6n de Puerto Rico y Secretario de!
     Departamento de Transportaci6n y Obras Publicas de Puerto Rico, ante la Notaria
     Marfa de Lourdes Rodriguez, testimonio numero 702B, y pagadero al
     Banco Gubernarnental de Fomento para Puerto Rico (el "BANCO") o a su orden, segun
     enmendado por la PRIMERA ENMIENDA A PAGARE (" ALLONGE") suscrita el 13 de
     marzo de 2013 por Javier E. Ramos Hernandez en su capacidad de Director Ejecutivo de
     la Autoridad de Carreteras y Transportaci6n de Puerto Rico, ante la Notaria Marguilean
     Rivera Amill, testimonio numero 783, y por la SEGUNDA ENMIENDA A P AGARE
     (" ALLONGE") suscrita el 10 de septiembre de 2013 por Javier E. Ramos Hernandez en
     la mencionada capacidad, ante la Notaria Marguilean Rivera Amill, testimonio numero
     882, mediante la cual se redujo la cantidad maxima de principal a DIEZ MILLONES
     QUINIENTOS TREINTA Y SEIS MIL TRESCIENTOS SESENTA Y DOS DOLARES
     CON CINCUENTA CENTA VOS ($10,536,362.50), queda por la presente enmendado
     para extender su fecha de vencimiento hasta el 31 de enero de 2015.

           Los demas terminos y condiciones de! P AGARE, segun enmendado, no
     inconsistentes con esta TERCERA ENMIENDA A P AGARE, permaneceran inalterados
     yen pleno vigor.

           Esta modificaci6n se consigna en virtud de la TERCERA ENMIENDA A
     CONTRATO DE PRESTAMO que el BANCO y la Autoridad de Carreteras y
     Transportaci6n de Puerto Rico han suscrito en el dfa de hoy.

           En San Juan, Puerto Rico, a :JI de   e n,e tv    de 2014.


                                       AUTORIDAD DE CARRETERAS Y
                                       TRANSPORTACION DE PUERTO RICO



                                                               dez


     Testimonio I/OK

           Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad,
     casado y vecino de Bayam6n, Puerto Rico, en su caracter como Director Ejecutivo de la
     Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco personalmente.

                      an, Puerto Rico, a ~ de ~              de 2014.


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                         EXENTO DEL PAGO DE ARANCEL
                          LEY 47 DE4 DE JUNIO DE 1982
Case:17-03283-LTS
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                                    CUARTA ENMIENDA A PAGARE
                                           ("ALLONGE")


         $10,536,362.50                                         Vencimiento: 31 de enero de 2016

              El PAGARE por TREINTA Y TRES MILWNES NOVECIENTOS SESENTA
         MIL DQLARES ($33,960,000), suscrito el 6 de septiembre de 2012 por Ruben A.
         Hernandez Gregorat en capacidad de Director Ejecutivo de la Autoridad de Carreteras
         y Transportaci6n de Puerto Rico (la "AUTORIDAD") y Secretario de! Departamento de
         Transportaci6n y Obras Publicas de Puerto Rico, ante la Notaria Marla de Lourdes
         Rodriguez, testimonio numero 702B, y pagadero al Banco Gubemamental de Fomento
         para Puerto Rico (el "BANCO") o a su orden, segun enmeridado por (i) la PRIMERA
         ENMIENDA A PAGARE (" ALLONGE") suscrita el 13 de marzo de 2013 por Javier E.
         Ramos Hernandez en capacidad de Director Ejecutivo de la AUTORIDAD, ante la
         Notaria Marguilean Rivera Amill, testimonio numero 783, (ii) por la SEGUNDA
         ENMIENDA A PAGARE (" ALLONGE") suscrita el 10 de septiembre de 2013 por Javier
         E. Ramos Hernandez, ante la Notaria Marguilean Rivera Amill, testimonio m1mero 882,
         mediante la cual se redujo la cantidad maxima de principal a DIEZ MILLONES
         QUINIENTOS TREINTA Y SEIS MIL TRESCIENTOS SESENTA Y DOS DQLARES
         CON CINCUENTA CENTA VOS ($10,536,362.50), (iii) y por la TERCERA ENMIENDA
         A PAGARE (" ALLONGE") suscrita el 31 de enero de 2014 por Javier E. Ramos
         Hernllldez, ante la Notaria Marguilean Rivera Amill, testimonio nllmero 908, queda
         por la presente enmendado para extender su fecha de vencirniento hasta el 31 de enero
         de 2016.

               Los demas terminos y condiciones de! PAGARE, segun enmendado, no
         inconsistentes con esta CUARTA ENMIENDA A PAGARE, permaneceran inalterados y
         en pleno vigor.

               Esta modificaci6n se consigna en virtud de la CUARTA ENMIENDA A
         CONTRATO DE PRESTAMO que el BANCO y la AUTORIDAD han suscrito en el d!a
         de hoy.

                  En San Juan, Puerto Rico, a.to de mayo de 2015.

                                              AUTORIDAD DE CARRETERAS Y
                                              TRANSPORTACIQN DE PUERTO RICO


                                          Md.a&d&~
                                              Carmen A. Villar Prados
                                              Directora Ejecutiva

         Testimonio ~~

                  Reconocido y suscrito ante rnf par Carmen A. Villar Prados, Directora Ejecutiva,
         mayor de edad, casada y vecina de Guaynabo, Puerto Rico, en su cal'Acter como
         Directora Ejecutiva de la Autoridad de Carreteras y Transportaci6n de Puerto Rico, a
         quien conozco personalmente.

                  En San Juan, Puerto Rico, a k   de mayo de 2015.


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                                               PAGARE


    VALOR: $15,000,000                                      VENCIMIENTO: 30 de junio de 2015

         La AUTORIDAD DE CARRETERAS Y TRANSPORTACI6N DE PUERTO RICO
    (" AUTORIDAD"), una entidad juridica creada en virtud de la Ley Num. 74 de 23 de junio de
    1965, segun enmendada, reconoce adeudar y por valor recibido promete por la presente
    pagar al BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO RICO ("BANCO"),
    o a su orden, la suma principal de QUINCE MILLONES DE DOLARES ($15,000,000). Los
    desembolsos bajo la lfnea de credito evidenciada por este P AGARE devengaran intereses los
    cuales seran pagaderos al vencimiento, computados sobre la tasa de interes preferencial
    Prime Rate mas un diferencial de 1.50%, con un minimo de 6%, o cualquier otra tasa de
    interes que determine el Presidente del BANCO o su designado, de acuerdo con el mercado
    de tasas de interes. El BANCO podra revisai de tiempo en tiempo la base, margen y
    periodicidad de la tasa de interes, segun estime necesario y de acuerdo con el mercado de
    tasas de interes.

          El vencimiento de este PAGARE es el 30 de junio 2015. Si al vencimiento no ha sido
    satisfecha en su totalidad esta obligaci6n, desde el 1 de julio de 2015 se aplicara una tasa de
    interes igual a doscientos (200) puntos base sobre la tasa de interes aplicable vigente previo al
    vencimiento.

         Tanto el principal como los intereses sobre este P AGARE son pagaderos en cualquier
    moneda corriente de los Estados Unidos de America, queen las respectivas fechas de pago
    sea moneda de curso legal para el pago de deudas publicas y privadas.

         Este PAGARE esta relacionado en un CONTRATO DE PRESTAMO suscrito en esta
    misma fecha entre la AUTORIDAD y el BANCO, y su vencimiento puede ser acelerado
    conforme a los terminos del CONTRATO DE PRESTAMO.

          En el caso en que el tomador o tenedor de este PAGARE se vea precisado a recurrir a
    los tribunales de justicia para su cobro o tenga que intervenir en procedimientos bajo la Ley
    Federal de Quiebra, los suscribientes pagaran tambien una suma equivalente al DIEZ POR
    CIENTO (10%) del monto del principal de este PAGARE, como penalidad liquida y exigible
    sin necesidad de intervenci6n judicial, para costas, gastos y honorarios de abogados,
    penalidad que sera pagadera con la mera presentaci6n de la demanda en el tribunal.

         Expresamente relevamos al tomador o tenedor de este PAGARE de su obligaci6n de
    prestar fianza en el caso de acci6n judicial para el cobro de este PAGARE en caso de que el
    tomador o tenedor solicitara orden al tribunal para el aseguramiento de la efectividad de la
    sentencia de acuerdo con las leyes de Puerto Rico.

         El tomador o tenedor de este PAGARE puede acelerar su plazo y declarar el mismo
    vencido y pagadero antes de su vencimiento, de ocurrir cualquiera de los siguientes eventos:

                 a)    No se pague a su vencimiento cualquiera de los plazos para intereses o
                 cualquier adelanto relacionado con el financiamiento que evidencia este
                 PAGARE que haya sido realizado por el tomador o tenedor del mismo por
                 cuenta de los suscribientes;

                 b)    Embargo o ejecuci6n de cualquiera de las propiedades de los suscribientes
                 que sean susceptibles de ir a publica subasta, dadas en garantias;

                 c)     Insolvencia, sindicatura, disoluci6n, terminaci6n, liquidaci6n o quiebra de
                 los suscribientes o de cualquiera de ellos;




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                d)    Vencimiento o incumplimiento de cualquier otro pagare, deuda u
                obligaci6n de los suscribientes con el tomador o tenedor de este PAGARE;

                e)     Que se determine que cualquier informaci6n o representaci6n hecha por
                los suscribientes al tomador o tenedor de este PAGARE, en cualquier fecha en
                que la misma se hiciere, resultare falsa o incierta, en parte o totalmente;

                f)     Incumplimiento por los suscribientes de cualquiera de los terminos,
                clausulas y condiciones de este PAGARE ode! CONTRATO DE PRESTAMO,
                suscrito en esta misma fecha con el tomador o tenedor de este PAGARE.

        Los suscribientes por la presente renuncian a todo derecho de presentaci6n, falta de pago,
    protesto, demanda y aviso. Los suscribientes autorizan al tomador o tenedor de este
    P AGARE y le confieren poder, sin que se requiera notificaci6n alguna, para aplicar el
    derecho a compensaci6n (set-off) a las obligaciones que se originan de este P AGARE y para
    extender su fecha de pago antes o despues de su vencimiento, y de la misma forma antes o
    despues de su vencimiento extender tolerancia, dar indulgencia, realizar cualquier aplicaci6n
    de pagos de cualquier suma de dinero pertenecientes a los suscribientes o de cualquier otro
    pagare que se encuentre en poder del tomador o tenedor de este PAGARE y a modificar,
    cambiar o alterar la fo~ de pago de este PAGARE y a sustituir, cambiar o relevar de
    responsabilidad solidaria de cada suscribiente, quienes no obstante tal sustituci6n, cambio o
    relevo, continuaran siendo solidariamente responsables de su pago frente al tomador o
    tenedor de este P AGARE.

        El uso del singular en este P AGARE se entendera plural si mas de una persona
   suscribiere el mismo; el uso de! plural incluira el singular; y el uso de los pronombres de
   cualquier genero incluiran los otros; y en caso de mas de un suscribiente la responsabilidad
   de cada uno de ellos frente al tomador o tenedor de este P AGARE sera solidaria de todos los
   firmantes.

        En San Juan, Puerto Rico, a fJz. de enero de 2014,

                                                  AUTORIDAD DE CARRETERAS Y
                                                  TRANSPORTACION DE PUERTO RICO



                                                                      exidor
                                                  Director Ejecutivo uxiliar par
                                                  Administraci6n y Finanzas

   Testimonio fll=/-

   Reconocido y suscrito ante mi por Cesar M. Gandiaga Texidor, Director Ejecutivo Auxiliar
   para Administraci6n y Finanzas de la Autoridad de Carreteras y Transportaci6n, quien es
   mayor de edad, casado, contable y vecino de San Juan, Puerto Rico, a quien conozco
   personalmente. En San Juan, Puerto Rico, a if£__ de enero de 2014.


        En San Juan, Puerto Rico, al.}z_ de enero de 2014.




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                                             PAGARE


   VALOR: $33,189,996                                        VENCIMIENTO: 31 de enero 2014

        La AUTORIDAD DE CARRETERAS Y TRANSPORTACI6N DE PUERTO RICO
   (" AUTORIDAD"), una entidad juridica creada en virtud de la Ley Num. 74 de 23 de junio de
   1965, segun enmendada, reconoce adeudar y por valor recibido promete por la presente
   pagar al BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO RICO ("BANCO"),
   o a su orden, la suma principal de TREINTA Y TRES MILLONES CIENTO OCHENTA Y
   NUEVE MIL NOVECIENTOS NOVENTA Y SEIS DOLARES ($33,189,996). Los
   desembolsos bajo la linea de credito evidenciada por este PAGARE devengaran intereses
   pagaderos mensualmente, computados sobre la tasa de interes preferencial Prime Rate mas
   un diferencial de 1.50%, con un minima de 6%, o cualquier otra tasa de interes que determine
   el Presidente de! BANCO o su designado, de acuerdo con el mercado de tasas de interes. El
   BANCO podra revisar de tiempo en tiempo la base, margen y periodicidad de la tasa de
   interes, segun estime necesario y de acuerdo con el mercado de tasas de interes.

         El vencimiento de este PAGARE es el 31 de enero de 2014. Si al vencimiento no ha sido
   satisfecha en su totalidad esta obligaci6n, desde el 1 de febrero de 2014 se aplicara una tasa
   de interes igual a doscientos (200) puntos base sobre la tasa de interes aplicable vigente
   previo al vencimiento.

        Tanto el principal como los intereses sobre este P AGARE son pagaderos en cualquier
   moneda corriente de los Estados Unidos de America, que en las respectivas fechas de pago
   sea moneda de curso legal para el pago de deudas publicas y privadas.

        Este PAGARE esta relacionado en un CONTRATO DE PRESTAMO suscrito en esta
   misma fecha entre la AUTORIDAD y el BANCO, y su vencimiento puede ser acelerado
   conforme a los terminos de! CONTRATO DE PRESTAMO.

         En el caso en que el tomador o tenedor de este PAGARE se vea precisado a recurrir a
   los tribunales de justicia para su cobro o tenga que intervenir en procedimientos bajo la Ley
   Federal de Quiebra, los suscribientes pagaran tambien una suma equivalente al DIEZ POR
   CIENTO (10%) de! monto de! principal de este PAGARE, como penalidad lfquida y exigible
   sin necesidad de intervenci6n judicial, para costas, gastos y honorarios de abogados,
   penalidad que sera pagadera con la mera presentaci6n de la demanda en el tribunal.

        Expresamente relevamos al tomador o tenedor de este PAGARE de su obligaci6n de
   prestar fianza en el caso de acci6n judicial para el cobro de este PAGARE en caso de que el
   tomador o tenedor solicitara orden al tribunal para el aseguramiento de la efectividad de la
   sentencia de acuerdo con las !eyes de Puerto Rico.

        El tomador o tenedor de este P AGARE puede acelerar su plazo y declarar el mismo
   vencido y pagadero antes de su vencimiento, de ocurrir cualquiera de los siguientes eventos:

                a)    No se pague a su vencimiento cualquiera de los plazas para intereses o
                cualquier adelanto relacionado con el financiarniento que evidencia este
                PAGARE que haya sido realizado por el tomador o tenedor del mismo por
                cuenta de los suscribientes;

                b)    Embargo o ejecuci6n de cualquiera de las propiedades de los suscribientes
                que sean susceptibles de ir a publica subasta, dadas en garantfas;

                c)     Insolvencia, sindicatura, disoluci6n, terminaci6n, liquidaci6n o quiebra de
                los suscribientes o de cualquiera de ellos;




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               d)    Vencimiento o incumplimiento de cualquier otro pagare, deuda u
               obligaci6n de los suscribientes con el tomador o tenedor de este P AGARE;

               e)     Que se determine que cualquier informaci6n o representaci6n hecha por
               los suscribientes al tomador o tenedor de este P AGARE, en cualquier fecha en
               que la misma se hiciere, resultare falsa o incierta, en parte o totalmente;

               f)     Incumplimiento por los suscribientes de cualquiera de los terrninos,
               clausulas y condiciones de este PAGARE ode! CONTRATO DE PRESTAMO,
               suscrito en esta misma fecha con el tomador o tenedor de este P AGARE.

       Los suscribientes por la presente renuncian a todo derecho de presentaci6n, falta de pago,
   protesto, demanda y aviso. Los suscribientes autorizan al tomador o tenedor de este
   P AGARE y le confieren poder, sin que se requiera notificaci6n alguna, para aplicar el
   derecho a compensaci6n (set-off) a las obligaciones que se originan de este PAGARE y para
   extender su fecha de pago antes o despues de su vencimiento, y de la misma forma antes o
   despues de su vencimiento extender tolerancia, dar indulgencia, realizar cualquier aplicaci6n
   de pagos de cualquier suma de dinero pertenecientes a los suscribientes o de cualquier otro
   pagare que se encuentre en poder del tomador o tenedor de este P AGARE y a modificar,
   cambiar o alterar la forma de pago de este P AGARE y a sustituir, cambiar o relevar de
   responsabilidad solidaria de cada suscribiente, quienes no obstante tal sustituci6n, cambio o
   relevo, continuaran siendo solidariamente responsables de su pago frente al tomador o
   tenedor de este P AGARE.

        El uso de! singular en este P AGARE se entendera plural si mas de una persona
   suscribiere el mismo; el uso del plural incluira el singular; y el uso de los pronombres de
   cualquier genero incluiran los otros; y en caso de mas de un suscribiente la responsabilidad
   de cada uno de ellos frente al tomador o tenedor de este P AGARE sera solidaria de todos los
   firmantes.

        En San Juan, Puerto Rico, a 2.f de lebre ,a       de 2013.

                                                  AUTORIDAD DE CARRETERAS Y
                                                  TRANSPORTACION DE PUERTO RICO




                                                  Director Ejecutivo

   Testimonio-W..

        Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad, casado,
   ingeniero y vecino de Bayamon, Puerto Rico, en su caracter como Director Ejecutivo de la
   Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco personalmente.


        En San Juan, Puerto Rico, a;:2.fi d e ~ de 2013.
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                          PRIMERA ENMIENDA A PAGARE
                                 (" ALLONGE")


 $33,189,996                                           Vencimiento: 31 de enero de 2015

        El PAGARE por TREINTA Y TRES MILLONES CIENTO OCHENTA Y NUEVE
 MIL NOVECIENTOS NOVENTA Y SEIS DOLARES ($33,189,996), suscrito el 28 de
 febrero de 2013 por Javier E. Ramos Hernandez en su capacidad de Director Ejecutivo
 de la Autoridad de Carreteras y Transportaci6n de Puerto Rico ante la Notaria
 Marguilean Rivera Amill, Testimonio numero 779, queda por la presente enmendado
 para extender su fecha de vencimiento hasta el 31 de enero de 2015.

       Los demas terrninos y condiciones del P AGARE, segun enmendado, no
 inconsistentes con esta PRIMERA ENMIENDA A P AGARE, permaneceran inalterados
 yen pleno vigor.

       Esta modificaci6n se consigna en virtud de la PRIMERA ENMIENDA A
 CONTRATO DE PRESTAMO que el BANCO y la Autoridad de Carreteras y
 Transportaci6n de Puerto Rico han suscrito en el dfa de hoy.

        En San Juan, Puerto Rico, a 3 / de enero de 2014.

                                        AUTORIDAD DE CARRETERAS Y
                                        TRANSPORTACION DE PUERTO RICO



                                        avier E. Ramos Her , dez
                                        Director Ejecutivo

 Testimonio !l!!_

       Reconocido y suscrito ante mf por Javier E. Ramos Hernandez, mayor de edad,
 casado y vecino de Bayamon, Puerto Rico, en su caracter como Director Ejecutivo de la
 Autoridad de Carreteras y Transportaci6n de Puerto Rico, a quien conozco personalmente.

        En San Juan, Puerto Rico, a ~ de enero de 2014.




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               ~'~~                           EXENTO DEL PAGO DE ARANCEL
                                               LEY 47 DE 4 DE JUNIO DE 1982




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Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
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                                    SEGUNDA ENMIENDA A PAGARE
                                           ("ALLONGE")


          $33,189,996                                            Vencimiento: 31 de enero de 2016

                 El PAGARE por TREINTA Y TRES MILLONES CIENTO OCHENTA Y NUEVE
          MIL NOVECIENTOS NOVENTA Y SEIS D6LARES ($33,189,996), suscrito el 28 de
          febrero de 2013 por Javier E. Ramos Hernandez en capacidad de Director Ejecutivo de la
          Autoridad de Carreteras y Transportaci6n de Puerto Rico (Ia "AUTORIDAD") ante Ia
          Notaria Marguilean Rivera Amill, testimonio numero 779, segun enmendado por Ia
          PRIMERA ENMIENDA A PAGARE ("ALLONGE") suscrita el 31 de enero de 2014 por
          dicho funcionario ante la Notario Marguilean Rivera Amill, testimonio numero 911,
          queda por Ia presente enmendado para extender su fecha de vencimiento hasta el 31 de
          enero de 2016.

                 Los demas terminos y condiciones de! PAGARE, segun enmendado, no
          inconsistentes con esta SEGUNDA ENMIENDA A PAGARE, permaneceran inalterados
          y en pleno vigor.

                Esta modificaci6n se consigna en virtud de la SEGUNDA ENMIENDA A
          CONTRATO DE PRESTAMO que el BANCO y la AUTORIDAD han suscrito en el dia
          de hoy.

                  En San Juan, Puerto Rico, aJ.o de mayo de 2015.

                                              AUTORIDAD DE CARRETERAS Y
                                              TRANSPORTACI6N DE PUERTO RICO


                                           J&bftk@;.Y
                                              Carmen A. Villar Prados
                                              Directora Ejecutiva

          Testirnonio ~

                  Reconocido y suscrito ante mf por Carmen A. Villar Prados, Directora Ejecutiva,
          mayor de edad, casada y vecina de Guaynabo, Puerto Rico, en su cari:lcter coma
          Directora Ejecutiva de la Autoridad de Carreteras y Transportaci6n de Puerto Rico, a
          quien conozco personalmente.

                  En San Juan, J>uerto Rico, a ,2Q__ de mayo de 2015.


                                                                    #.J.~
                                                                        Not~

                                                  DEL PAGO DE ARANCEL
                                                  DE 4 DE JUNIO DE 1982




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Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
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                                   PROMISSORY NOTE

$61,830,000                                                                     February 28, 2014

       For value received, the PUERTO RlCO HIGHWAYS AND TRANSPORTATION
AUTHORITY (the "Authority "), a public corporatio n of the Commonw ealth of Puerto Rico,
hereby promises to pay, solely from the sources described in the Loan Agreemen t mentioned
herein, to the order of Governme nt Developm ent Bank for Puerto Rico (the "Lender"), on
February 28, 2014 (the "Maturity Date"), subject to optional prepaymen t as set forth below, the
principal sum of SIXTY ONE MILLION EIGHT HUNDRED THIRTY THOUSAN D DOLLARS
($61,830,000) (the "Loan"), borrowed by the Authority under a Loan Agreemen t dated August
28, 2013 executed between the Authority and the Lender (the "Loan Agreement "), together with
interest thereon as hereinafter provided.

       Such payment shall be made in any coin or currency of the United States of America
which at the time of payment is legal tender for the payment of public and private debts. The
Authority hereby agrees to repay the outstandin g aggregate principal amount of the Loan at the
principal office of the Lender in San Juan, Puerto Rico, with (a) the revenues allocated to it by
Act No. 30 and Act No. 31 approved by the Legislature of the Commonw ealth of Puerto Rico on
June 25, 2013; (b) the proceeds from future bond issuances; (c) the proceeds from public-priv ate
partnership s; and (d) revenues of the Authority.

      All capitalized terms used in this Note and not otherwise defined herein shall have the
meaning ascribed to them in the Loan Agreement .

       Each Drawing shall bear interest daily from the date such Drawing is funded until its
repayment at a variable rate of interest per annum equal to the Prime Rate plus one hundred
and fifty (150) basis points, as determined from time to time in good faith by the Lender, or,
upon written notice to the Borrower, at a variable rate of interest per annum, which interest rate
may be revised periodically, equal to the Lender's cost of funding for variable rate loan
transaction s or the cost of any other obligations or source of funds used to fund the Loan For
purposes of this Loan Agreement , such interest rate shall not exceed twelve (12) percent and
shall not be less than six (6) percent. Interest shall be calculated on the basis of a three hundred
and sixty (360) day year of twelve (12) actual day months. Interest for any period of less than
one (1) calendar month shall be calculated on the basis of the actual number of days elapsed
during that month. Interest shall be capitalized and payable on the Maturity Date.

       The President of the Bank or the duly authorized Executive Vice President of the Bank
 may modify the interest rate at any time at their full discretion, depending on the interest rate
 market.

         If on the Maturity Date, or such other date if extended as provided in the Loan
 Agreement , the Loan is not repaid in full the Borrower hereby agrees to pay a default interest
 rate equal to two hundred (200) basis points over the otherwise applicable interest rate
 calculated on the outstandin g principal amount.

         The Authority may prepay the Loan at any time without penalty or premium. This Note
 is issued pursuant to the Loan Agreemen t and all payments under the Loan Agreemen t and this
 Note shall be junior, inferior and subordinat e to outstandin g bonds of the Borrower issued
 pursuant to the Bond Resolutions.

       The Authority waives the requiremen t of demand, presentmen t, protest, notice of
 dishonor, and, in general, any other legal formality.

        If the Authority defaults in making any payment when due under this Note, the Lender
 may declare this Note to be immediate ly due and payable, provided, however, that all
 repayment s shall be on a basis junior, inferior and subordinat e in all respects to the bonds
 issued under the provisions of the Bond Resolutions.

         In case of recourse to the courts by the Lender in order to collect the whole or any
  portion of the principal or interest due under this Note, the Authority agrees to pay liquidated
  damages in a sum equal to ten percent (10%) of the principal sum of this Note to cover expenses
  of such proceeding s, court costs, disbursem ents and attorney's fees, which amount will become
  immediate ly due and payable upon the filing of such judicial proceeding s.
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Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
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       All acts, conditions and tltings required by the Puerto Rican Federal Relations Act and
the Constitution and Laws of the Commonwealth of Puerto Rico to happen, exist, and be
performed precedent to and in the issuance of this Note have happened, exist and have been
performed as so required. This Note shall be construed in accordance with the laws of the
Commonwealth of Puerto Rico.

        IN WITNESS WHEREOF, PUERTO RICO HIGHWAYS AND TRANSPORTATION
AUTHORITY has caused this note to be signed by its Executive Director and its corporate seal
to be affixed hereto, in San Juan, Puerto Rico, this 28th day of August, 2013.



                                                        PUERTO RICO HIGHWAYS AND
                                                        TRANSPORTATION AUTHORITY



                                                             Javier E. Ramos emandez
                                                          xecutive Director of the Puerto Rico
                                                        Highway and Transportation Authority

Affidavit No. Jb'f

       Recognized and subscribed before me by Javier E. Ramos Hernandez as Executive
Director of the Puerto Rico Highway and Transportation Authority, of legal age, married,
engineer and resident of Bayamon, Puerto Rico, who is personally known to me.

         In San Juan, Puerto Rico, on Augusta.   't, 2013.


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                        FIRST AMENDMENT TO PROMISSORY NOTE
                                            (ALLONGE)
$61,830,000                                                                 January 31, 2015

      The terms of the Promissory Note executed on August 28, 2013, by Javier E. Ramos
Hernandez in his capacity as Executive Director of the Puerto Rico Highways and
Transportation Authority (the "Authority"), for the principal amount of SIXTY ONE
MILLION EIGHT HUNDRED THIRTY THOUSAND DOLLARS ($61,830,000) and to the
order of the Government Development Bank for Puerto Rico (the "Bank"), before
Notary Public Marguilean Rivera Amill, affidavit number 867 (the "Note"), is hereby
amended to extend the Maturity Date to January 31, 2015.

       This First Amendment to Promissory Note (Allonge) is executed in connection with
the First Amendment to Loan Agreement between the Authority and the Bank, executed by
the parties as of the date hereof. All other provisions of the Note not inconsistent with this
First Amendment to the Promissory Note (Allonge) shall remain in full force and effect.

     All capitalized terms used, but not otherwise defined herein, shall have the
meanings given to them in the Loan Agreement, as amended, and the Note.

        IN WITNESS WHEREOF, the Puerto Rico Highways and Transportation Authority
has caused this First Amendment to Promissory Note (Allonge) to be signed by its
Executive Director, in San Juan, Puerto Rico, this 3/ day of January, 2014.


                                                        PUERTO RICO HIGHWAYS AND
                                                        TRANSPORTATION AUTHORITY




                                                        Executive Director of the Puerto Rico
                                                        Highways and Transportation
                                                        Authority


Affidavit No. q 11
      Recognized and subscribed before me by Javier E. Ramos Hernandez as
Executive Director of the Puerto Rico Highways and Transportation Authority, of legal
age, married, engineer and resident of Bayamon, Puerto Rico, personally known to me.


        In San Juan, Puerto Rico, on January 3/ 2014.




                                                                      ry Public



                                        ~~ENTO DEL PAGO DE ARANCEL
                                           y 47 DE 4 DE JUNIO DE 1982


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Case:17-03283-LTS
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                                    SECOND AMENDMENT TO PROMISSORY NOTE
                                                     (ALLONGE)
         $61,830,000                                                                January 31, 2016

                The terms of the Promissory Note executed on August 28, 2013, by Javier E. Ramos
         Hernandez in his capacity as Executive Director of the Puerto Rico Highways and
         Transportation Authority (the "Authority"), for the principal amount of SIXTY ONE
         MILLION EIGHT HUNDRED THIRTY THOUSAND DOLLARS ($61,830,000) and to the
         order of the Government Development Bank for Puerto Rico (the "Bank"), before
         Notary Public Marguilean Rivera Amill, affidavit number 867 (the "Note"), as amended by
         the First Amendment to Promissory Note (Allonge) executed on January 31, 2014 by Javier E.
         Ramos Hernandez, before Notary Marguilean Rivera Amill, affidavit number 914, is hereby
         amended to extend the Maturity Date to January 31, 2016.

                 This Second Amendment to Promissory Note (Allonge) is executed in connection
         with the Second Amendment to Loan Agreement between the Authority and the Bank,
         executed by the parties as of the date hereof. All other provisions of the Note not
         inconsistent with this Second Amendment to the Promissory Note (Allonge) shall remain in
         full force and effect.

               All capitalized terms used, but not otherwise defined herein, shall have the
          meanings given to them in the Loan Agreement and the Note, as amended,

                IN WITNESS WHEREOF, the Puerto Rico Highways and Transportation Authority
          has caused this Second Amendment to Promissory Note (Allonge) to be signed by its
          Executive Director, in San Juan, Puerto Rico, this ;i.o day of May, 2015.


                                                                PUERTO RICO HIGHWAYS AND
                                                                TRANSPORTATION AUTHORITY



                                                          By:A~q~
                                                                CarmenAVilarPrados
                                                                Executive Director of the Puerto Rico
                                                                Highways and Transportation
                                                                Authority


          Affidavit No, "I-:!, 'r

                Recognized and subscribed before me by Carmen A Villar Prados as
          Executive Director of the Puerto Rico Highways and Transportation Authority, of legal
          age, married and !'esident of Guaynabo, Puerto Rico, personally known to me.


                  In San Juan, Puerto Rico, on May !:E, 2015.




                                                                      /   Notary Public

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                                                4 DE JUNIO DE 1982




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                                                PROMISSORY NOTE


          $63,000,000
                                                                                                   Aug ust3 0,20 12
                    PUERTORICO HIGHWAY AN
                                                                  D TRANSPORTATION AUTHO
           (hereinafter called the "Au thor                                                                   RITY
                                                       ity" ), a pub lic corp orat ion and
           inst rum enta lity of the Com mon wea                                                      auto nom ous
                                                            lth of Pue rto Rico, for value rece
           prom ises to pay , solely from the sour                                                     ived here by
                                                          ces described in the Loa n Agr eem
          herein, to the ord er of Gov ernm                                                         ent men tion ed
                                                          ent Dev elop men t Bank for Pue
          ''Le nde r''), at its prin cipa l office in                                               rto Rico (the
                                                      San Juan, Pue rto Rico, on Aug ust
          to prep aym ent as set fort h below,                                                  30, 2012, subject
                                                         the principal sum of SlXTY. THR
          DOLLARS ($63,000,000), (the "Lo                                                           EE MIL UO N
                                                     an''), to the extent that such amo unt
          ther eof has bee n borr owe d by the                                                      or any port ion
                                                      Aut hori ty llitd er the Loan Agreem
          13, 2Ql0, betw een the Aut hpri ty and                                                  ent, date d July
                                                          the Len der and remains unp aid. Suc
         shal l be mad e in any ccoin or curr                                                           h pay men t
                                                     ency of the Uni ted States of Americ
         time of pay men t is lega l tend er for                                                   a wltl ch at the
                                                          the pay men t of public and priv ate
         Aut hori ty here by agre es to repa y                                                         debts. The
                                                     the outs tand ing aggregate principa
         Loa n at the prin cipa l office of the                                                 l amo unt of the
                                                    Lender in San Juan, Pue rto Rico, from
         mon eys of the Aut hori ty. Capitali                                                       any available
                                                       zed term s used· in this Note and
         defi ned shall hav e the mea ning ascr                                                    not otherwise
                                                      ibed to them in the Loan Agreement.
                  Each Dra w\n g shal l bea r inte rest
                                                               daily from the date such Dra win g
         unti l its i:epayment at a vari able rate                                                        is mad e
                                                          of inte rest per ann um equ al to Prim
        150 basis points, as dete rmi ned from                                                        e Rate plus
                                                            time to time in good faith by the
        upo n writ ten notice to the Borrow                                                           Len der, or,
                                                    er, at a variable rate of inte rest per
        inte rest rate may be revi sed peri                                                      ann um, wltlch
                                                   odk aily , equal to the Len der' s cost
        vari able rate loan transactions or                                                      of.f und ing for
                                                   the cost of any othe r obligations    or
        used to fund the Loan. Suc h inte rest                                                 source of fund s
                                                           rate shall not exceed twelve (12)
        shall not be less than six (6) percent.                                                      perc ent and
                                                        inte rest shal l be calculated-on the basi
        day- yea r of twe lve 30-d ay mon ths.                                                         s of a 360-
                                                      inte rest for any peri od of less than
       mon th shall be calculated on the                                                            one cale nda r
                                                   basis of the actu al num ber of days
       that mon th. If the line of cred it com                                               _ elap sed duri ng
                                                      es due and payable, 'the Borrower
       to pay a defa ult inte rest rate on the                                                   here by agrees
                                                      principal outstandnig)g_tbi,p.t._calc
       basis of Prim e Rate plus four hun                                                         ulated on the
                                                  dred (400) basi s poiu ts. Th e~l pen
       or the duly auth oriz ed Executive                                                          t of the Bank
                                                  Vice Pres iden t of ~--& z,k: may m~
       rate at any time at thei r full discretio                                              ify the inte rest
             .                                      n, dep end ing on the infe\'es!.tatejma
                                                                                                  rket.
                                                                              '           ,·
                Inte rest shal l be pay able mon thly
                                                              in arre ars not late r than the tent h
      Day following rece ipt from the                                                                   Banking
                                                  Len der of the stat eme nt referred
      sentence of this para grap h, from amo                                                  to in the n_ext
      Aut hori ty. Each mon th the Bank
                                                      unts available from       any available mon eys of the
                                                  shal l furn ish to the Aut hori ty _a writ
    · show ing. the amo unt of inte rest due                                                    ten stat eme nt
                                                    and pay able by the Aut hori ty on the
      prec edin g mon th. The Aut hori ty                                                          Loa n for the
                                                 may prep ay the Line of Cre dit at any
     pen alty or prem ium . This Not e is                                                        time with out
                                                 issu ed pur sua nt to a Loa n Agreem
     Aut hori ty and the Len der subscrib                                                    ent betw een the
                                                  ed on this sam e date.
           The Authority waives the requ
                                                  irement of demand, presentment,
    notice of dish ono r, and , in general                                        protest,
                                           , any othe r legal formality.
          If the Aut hori ty defa ults in mak ing
                                                  any pay men t whe n due und er tltls
    the Len der may declare this Not e                                                 Not e,
                                        to be immediately .due and payable.
           In case of reco urse to the courts by
                                                  the Len der in orde r to collect the who
   any port ion of the principal or                                                         le or
                                        inte rest due und er this Note, the
   agre es to pay a liqui'ilated sum equ                                        Adm inis trati on
                                           al to 10% of the principal sum of
   cov er expenses of such proceedings,                                            this Note to
                                            cou rt costs, disbursements and atto
                                                                                    rney 's fees,


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                                     ill be co m e im m
               ju di ci al proceedi                     ed ia te ly du e an
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              exist, an d be pe rf                                                 w ea lth of Pu er to          Relations
                                     or m ed pr ec ed en                                                Rko to happen,
              ex is t an d ha ve                           t to an d in the iss
                                   be en pe rf or m ed                          uance. of this N ot
              accordance w ith                             as so re qu ire d.                         e ha ve ha pp en ed
                                   th e Jaws 'of th e Co                         ·This N ot e shaJJ                       ,
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                                                                                 Pu er to Rico.
                       IN WITNESS
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                                    ON A U IH O R! TY                    ERTO · RICO
             di re ct or an d its co                         ha s ca us ed this no              HIGHWAY AN
                                    rporal<! se al to be                            te to be si gn ed by               D
             day of July, 2010.                               affixed he re to , in                        its executive
                                                                                     SaI\ Juan, Pu er to
                                                                                                          Rico, th is 13· ·


                                                                        PUERTO RICO
                                                                                           HIGHWAY A N D
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                                                                                          IO N AUTHORI
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                                                                                                    z G re go ra t
                                                                          Se cr et ar y of Tr an
                                                                                                 sp or ta tio n an d
                                                                          Public W or ks
                                                                          Executive Director
        Affidavit No:-2W                                                                     PRHTA
                                -
                  Re co gn iz ed an d
      . Se cr et ar y of Tr             su bs cr ib ed be fo re
                              an sp or ta tio n an                 m e by Rub~n A.
                                                     d Public W or ks                  H er na nd ez Grego
       Pu er to Rico H ig                                                    an d Executive                 rat, as
                              hw ay an d Tr an                                                  Di.rector _of the
       re si de nt of G ua yn                       sp or ta tio n A ut ho
                               ab o, Pu er to Rico                         rit y, of !~ al ag
                                                     , who is pe rs on al                     e, m ar rie d and
                                                                            ly kn ow n to me.                     a
                In San Ju an , Pu er
                                      to Rico, on July 13
                                                                , 2010.




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Case:17-03283-LTS Doc#:16276-16
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                              FIRST AMENDMENT TO PROMISSORY NOTE
                                                    (ALLONGE)

               The terms of the Promissory Note executed by Ruben A. Hernandez Gregorat, as
          Secretary of Transportation and Public Works and Executive Director of the Puerto
          Rico Highway and Transportation Authority, for the principal sum of SIXTY THREE
          MILLION DOLLARS ($63,000,000), to the order of the Government Development Bank
          for Puerto Rico on July 13, 2010 (the" Promissory Note"), before notary public Zoraya
          Betancourt Calzada, is hereby amended to: (i) increase the aggregate principal amount
          to SIXTY SEVEN MILLION ONE HUNDRED NINETEEN THOUSAND FIVE
          HUNDRED NINETY FOUR DOLLARS AND FORTY CENTS ($67,119,594.40), (ii)
          extend the maturity date to January 31, 2013, and (iii) provide that interest shall be
          payable at maturity.

                In addition, to provide that if Borrower fails to pay the principal amount of the
          Loan when it becomes due and payable, or does not pay interest when due, the Lender
          may, at its sole option, without notice to Borrower and to the fullest extent allowed by
          law, set off and apply against the Loan any other available moneys (including deposits
          of any kind) of the Borrower held by the Lender against any such unpaid principal
          amount or unpaid accrued interest.

               All capitalized terms used but not otherwise defined herein have the meanings
          given them in the First Amendment to Loan Agreement..

                 This First Amendment to Promissory Note (Allonge) is executed in connection
          with the First Amendment to Loan Agreement between the Puerto Rico Highway and
          Transportation Authority and Government Development Bank for Puerto Rico,
          executed by the parties on this same date. All other provisions of the Note not
          inconsistent with this First Amendment to Promissory Note (Allonge), shall remain in
          full force and effect.

                IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
          Authority has caused this First Amendment to Promissory Note (Allonge) to be signed
          by its Executive Director, in San Juan, Puerto Rico, this 6th day of July, 2012.

                                                     PUERTO RICO HIGHWAY AND
                                                     TRANSPORTATION AUTHORITY



                                              By:
                                                     RufulA. Hernandez Gregorat
                                                     Secretary of Transportation and Public Works
                                                     Executive Director PRHTA

           Affidavit No. 3 SCQ

                Recognized and subscribed before me by RuMn A. Hernandez Gregorat, as
           Secretary of Transportation and Public Works and Executive Director of the
           Puerto Rico Highway and Transportation Authority, 0£ legal age, married, executive
           and a resident of Guaynabo, Puerto Rico, who is personally known to me.

                  In San Juan, Puerto Rico, on July 6, 2012.




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                  SECOND AMENDMENT TO PROMISSORY NOTE
                               (ALLONGE)


 $67,119,594.40                                              Due Date: January 31, 2014

      The Promissory Note executed by Ruben A. Hernandez Gregorat, as Secretary of
 Transportation and Public Works and Executive Director of the Puerto Rico Highway
 and Transportation Authority, to the order of the Government Development Bank for
 Puerto Rico on July 13, 2010 (the " Promissory Note"), before notary public Zoraya
 Betancourt Calzada, as amended by a First Amendment to Promissory Note executed by
 Ruben A. Hernandez Gregorat, as Secretary of Transportation and Public Works and
 Executive Director of the Puerto Rico Highway and Transportation Authority to the
 order of the Government Development Bank for Puerto Rico on July 6, 2012 before
 notary public Belen Fomaris Alfaro is hereby amended to extend the maturity date to
 January 31, 2014.

      This Second Amendment to Promissory Note (Allonge) is executed in connection
 with the Second Amendment to Loan Agreement between the Puerto Rico Highway
 and Transportation Authority and Government Development Bank for Puerto Rico,
 executed by the parties on this same date. All other provisions of the Promissory Note,
 as amended, not inconsistent with this Second Amendment to Promissory Note
 (Allonge ), shall remain in full force and effect.

      IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
 Authority has caused this Second Amendment to Promissory Note (Allonge) to be
 signed by its Executive Director, in San Juan, Puerto Rico, this _ii._ day of May, 2013.

                                        PUERTO RICO HIGHWAY AND
                                        TRANSPORTATION AUTHORITY

                                             = Gd-
                                        Executive Director


AffidavitNo. /./18

      Recognized and subscribed before me by Javier E. Ramos Hernandez, as Executive
Director of Puerto Rico Highway and Transportation Authority, of legal age, married, engineer
and resident of Bayamon, Puerto Rico, who is personally known to me.

      In San Juan, Puerto Rico, on May (,p     2013.




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                   THIRD AMENDMENT TO PROMISSORY NOTE
                                       (ALLONGE)


  $67,119,594.40                                             Due Date: January 31, 2015

        The Promissory Note executed by Ruben A. Hernandez Gregorat, as Secretary of
  Transportation and Public Works and Executive Director of the Puerto Rico Highway
  and Transportation Authority, to the order of the Government Development Bank for
  Puerto Rico on July 13, 2010 (the " Promissory Note"), before notary public Zoraya
  Betancourt Calzada, as amended by a First Amendment to Promissory Note executed by
  Ruben A. Hernandez Gregorat, as Secretary of Transportation and Public Works and
  Executive Director of the Puerto Rico Highway and Transportation Authority to the
  order of the Government Development Bank for Puerto Rico on July 6, 2012 before
  notary public Belen Fornaris Alfaro, as amended by a Second Amendment to
  Promissory Note executed by Javier E. Ramos Hernandez, as Executive Director of the
  Puerto Rico Highway and Transportation Authority on May 6, 2013 before notary
  public Belen Fornaris Alfaro, is hereby amended to extend the maturity date to January
  31, 2015.

        This Third Amendment to Promissory Note (Allonge) is executed in connection
  with the Third Amendment to Loan Agreement between the Puerto Rico Highway and
  Transportation Authority and Government Development Bank for Puerto Rico,
  executed by the parties on this same date. All other provisions of the Promissory Note,
  as amended, not inconsistent with this Third Amendment to Promissory Note
  (Allonge), shall remain in full force and effect.

        IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
  Authority has caused this Third Amendment to Promissory Note (Allonge) to be
  signed by its Executive Director, in San Juan, Puerto Rico, this 3/ day of January,
  2014.

                                        PUERTO RICO HIGHWAY AND
                                        TRANSPORTATION AUTHORITY



                                        Executive Director


 Affidavit No. 5e, (

       Recognized and subscribed before me by Javier E. Ramos Hernandez, as Executive
 Director of Puerto Rico Highway and Transportation Authority, of legal age, married, engineer
 and resident of Bayamon, Puerto Rico, who is personally known to me.

        In San Juan, Puerto Rico, on January~ 2014.




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                           FOURTH AMENDMENT TO PROMISSORY NOTE
                                               (ALLONGE)


          $67,119,594.40                                            Due Date: January 31, 2016

               The Promissory Note executed by Ruben A. Hernandez Gregorat, as Secretary of
          Transportation and Public Works and Executive Director of the Puerto Rico Highway
          and Transportation Authority, to the order of the Government Development Bank for
          Puerto Rico on July 13, 2010 (the " Promissory Note"), before notary public Zoraya
          Betancourt Calzada, as amended by a First Amendment to Promissory Nole executed by
          Rubfa A. Hernandez Gregorat, as Secretary of Transportation and Public Works and
          Executive Director of the Puerto Rico Highway and Transportation Authority to the
          order of the Government Development Bank for Puerto Rico on July 6, 2012 before
          notary public Belen Fornaris Alfaro, as amended by a Second Amendment to
          Promissory Note executed by Javier E. Ramos Hernandez, as Executive Director of the
          Puerto Rico Highway and Transportation Authority on May 6, 2013 before notary
          public Belen Fomaris Alfaro, as amended by a Third Amendment to Promissory Note
          executed by Javier E. Ramos Hernfuldez, as Executive Director of the Puerto Rico
          Highway and Transportation Authority on January 31, 2014 before notary public Belen
          Fornaris Alfaro, is hereby amendecj to extend the maturity date to January 31, 2016.

               This Fourth Amendment to Promissory Note (Allonge) is executed in connection
          with the Fourth Amendment to Loan Agreement between the Puerto Rico Highway
          and Transportation Authority and Government Development Bank for Puerto Rico,
          executed by the parties on this same date. All other provisions of the Promissory Note,
          as amended, not inconsistent with this Fourth Amendment to Promissory Note
          (Allonge), shall remain in full force and effect.

               IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
          Authority has caused this Fourth Amendment to Promissory Note (Allonge) to be
          signed by its Executive Director, in San Juan, Puerto Rico, this.la._ day of May, 2015.

                                                       PUERTO RICO HIGHWAY AND
                                                       TRANSPORTATION AUTHORITY



                                                    fi~@~
                                                       Carmen A. Villar-Prados
                                                       Executive Director


         Affidavit N o . ~

               Recognized and subscribed before me by Carmen A. Villar-Prados, as Executive
         Director of Puerto Rico Highway and Transportation Authority, of legal age, married, engineer
         and resident of Guaynabo, Puerto Rico, who is personally known to me.

               In San Juan, Puerto Rico, on May~ 2015.




                                                              }'Notary Public
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                                       PROMISSORY NOTE

 $45,000,000                                                          Due date:      August 27, 2011

        The PUERTO RICO IDGHWAY AND TRANSPORTATION AUTHORITY
 (hereinafter called the "Authority"), a public corporation and autonomous instrumentality of the
 Commonwealth of Puerto Rico, for value received hereby promises to pay, solely from the
 sources described in the Loan Agreement mentioned herein, to the order of Government
 Development Bank for Puerto Rico (the "Lender") at its principal office in San Juan, Puerto
 Rico, on August 27, 2011, subject to prepayment as set forth below, the principal sum of
 FORTY FIVE MILLION DOLLARS ($45,000,000) to the extent that such amount or any
 portion thereof disbursed under the Loan Agreement executed on this same date remains unpaid.
 Such payment shall be made in any coin or currency of the United States of America which at
 the time of payment is legal tender for the payment of public and private debts. The Authority
 hereby agrees to repay the outstanding aggregate principal amount of the Loan at .the principal
 office of the Lender in San Juan, Puerto Rico, from proceeds of bonds to be issued by the
 Authority pursuant to the provisions of the respective sections of the Resolutions or from any
 available moneys of the Authority.

         Each Advance shall bear interest daily from the date of disbursement until paid in full at a
 fluctuating annual rate of interest equal to one and one half percent (1.5%) over and above the
 Prime Rate, as determined from time to time in good faith by the Lender, or, upon written notice
 to the Authority, at a variable rate of interest, which interest rate may be revised quarterly, per
 annum equal to the Lender's cost of funding for variable rate loan transactions or the cost of any
 other obligations or source of funds used to fun<fthe Advance. For purposes of the preceding
 sentence, the cost of funding shall mean the applicable cost of any source of funds used to fund
 the Loan, plus in either case, a required margin cost. Initially, this required margin cost will be
 equal to 150 basis points. The required margin cost may be revised from time to time by the
 Lender to such an extent that when added to the applicable cost of funds, the interest rate so
 determined and applicable to an Advance will provide for a total coverage of what the Lender
 determines to be its "all-inclusive" funding costs. For purposes of this Note, the applicable
 interest rate shall not exceed twelve (12) percent and shall not be less than six (6) percent.

          Anything hereunder to the contrary notwithstanding, and without prejudice to any
. remedies of the Lender provided hereunder or at law or in equity, tla(ii;rt~e applicable to
  the outstanding principal amount of each Advance during any p~1'<\r:.'Wnen ai.(E~t of Default
  ~hall have occurred and be continuing shall be four percent (4.0f?~1ter     ~-0the~Sf       applicable
  mterest rate (the "Default Rate").                              \ ' \ "; , , _ ;.,. : ::: J
                                                                                        1l~Y
         Interest shall be payable monthly in arrears not later than ~e 'tel!:th°lrutl4ng    following
 receipt from the Lender of the statement referred to below, from'cllllf·availabl<;-•fuoneys of the
 Authority. Each month the Lender shall furnish to the Authority a ~tten state~ent showing the
 amount of interest due and payable by the Authority on all outstanding Advances for the preceding
 month. The Loan shall be junior and subordinate to outstanding bonds of the Authority and shall be
 subject to certain other terms and conditions, as set forth in the Loan Agreement (as defined below).
 Payment of principal and interest on the Loan shall be made in any coin or currency of the
 United States of America, which at the time of payment shall be legal tender for the payment of
 public and private debts.

        This Note is under and pursuant to the Loan Agreement dated as of August 27, 2010 (as
 modified and supplemented and in effect from time to time, the "Loan Agreement") between the
 Borrower and Government Development Bank for Puerto Rico, as Lender and evidences the
 Advances made by the Lender thereunder, and is subject to the terms thereof. Terms used but not
 defined in this Note have the respective meanings assigned to them in the Loan Agreement.

        The Authority waives the requirement of demand, presentment, protest, notice of
 dishonor, and, in general, any other legal formality.

       If the Authority defaults in ma.king any payment when due under this Note, the Lender
 may declare this Note to be immediately due and payable.




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          In case of recourse to the courts by the Lender in order to collect the whole or any portion
  of the principal or interest due under this Note, the Administration agrees to pay a liquidated sum
  equal to 10% of the principal sum of this Note to cover expenses of such proceedings, court
  costs, disbursements and attorney's fees, which amount will become immediately due and
  payable upon the filing of such judicial proceedings.

         All acts, conditions and things required by the Puerto Rico Federal Relations Act and the
  Constitution ai:J.d Laws of the Commonwealth of Puerto Rico to happen, exist, and be performed
  precedent to and in the issuance of this Note have happened, exist and have been performed as so
  required. This Note shall be construed in accordance with the laws of the Commonwealth of
  Puerto Rico.

         IN WITNESS WHEREOF, the Authority has caused this note to be signed by its
  Executive Director and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this
  27th day of August, 2010.

                                  PUERTO RICO IDGHWAYS AND TRANSPORTATION
                                  AUTHO



                                           uben A. Hernandez Gregorat
                                          Secretary of Transportation and Public Works
                                          and Executive Director

  Affidavit No. 112...,

       Acknowledged and subscribed before me in San Juan, Puerto Rico, on this 27th day of
 August, 2010, by the following person who is personally known to me: Ruben A. Hernandez
 Gregorat, of legal age, married, executive and resident of Guaynabo, Puerto Rico, as Secretary of
 Transportation and Public Works and Executive Director of the Puerto Rico Highway and
 Transportation Authority.



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                        FIRST ALLONGE TO PROMISSORY NOTE


       The Promissory Note titled United States of America, Commonwealth of Puerto
Rico, Puerto Rico Highway and Transportation Authority, executed by Ruben A.
Hernandez Gregorat, for the amount of FORTY FIVE MILLION DOLLARS ($45,000,000),
before notary public Zoraya Betancourt Calzada, on August 27, 2010, is hereby amended
to extend the maturity date to January 31, 2013; and to increase the principal amount of
the Loan in a sum of $32,011,799.88 for a total amount not to exceed $77,011,799.88, in
order to cover the payment of additional collateral as a result of a continuous volatility in
the market, the payment of accrued interests in the Loan until its maturity, and the
payment of financial services fee payable to the Lender.
       This First Allonge to Promissory Note is executed in connection with the
First Amendment to Loan Agreement between the Puerto Rico Highway and
Transportation Authority and the Government Development Bank for Puerto Rico,
executed by these parties on this same date.         All other proyisions of the referenced
Promissory Note not inconsistent with this First Allonge to Promissory Note, shall remain
in full force and effect.
       IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation Authority
has caused this First Amendment to Promissory Note to be signed by its Executive

Director, in San Juan, Puerto Rico, this 2'!f day of August, 2011.


                                              PUERTO RICO HIGHWAY AND
                                              TRANSPORT ION AUTHORITY




                                        By:
                                               Ruben A. Hernandez Gregorat
                                               Secretary of Transportation and
                                                Public Works and Executive
                                                Director of the Puerto Rico
                                                Highway and Transportation Authority


Affidavit No. '5fA

       Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
Secretary of Transportation and Public Works and Executive Director of the Puerto Rico
Highway and Transportation Authority, of legal age, married and a resident of Guaynabo,
Puerto Rico, who is personally known to me.

       In San Juan, Puerto Rico, on August 25-1'. 2011 .

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                               SECOND ALLONGE TO PROMISSORY NOTE


                 The l'Iomissory Note titled United States of America, Commonwealth of
         Puerto Rico, Puerto Rico Highway and Transportation Authority, executed by Rubtm A.
         Hernandez Gregorat, for the amount of FORTY FIVE MILLION DOLLARS ($45,000,000),
          before notary public Zoraya Betancourt Calzada, on August 27, 2010, as amended by First
         Allonge to Promissory Note, executed on August 25, 2011, to increase the principal
         amount of the Loan to $77,011,799.88, extend the maturity date to January 31, 2013, and
         include payment of accrued interests in the Loan until its maturity, and the payment of
         financial services fee payable to the Lender, is hereby further amended to convert the
         Loan from a non revolving Loan to a revolving Loan.
                 This Second Allonge to Promissory Note is executed in connection with the
         Second Amendment to Loan Agreement between the Puerto Rico Highway and
         Transportation Authority and the Government Development Bank for Puerto Rico,
         executed by these parties on this same date.         All other provisions of the referenced
         l'Iomissory Note, as amend~d, not inconsistent with this Second Allonge to l'Iomissory
          Note, shall remain in full force and effect.
                 IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation Authority
         has caused this Second Amendment to Promissory Note to be signed by its Executive
         Director, in San Juan, Puerto Rico, this l.7 day of September, 2011.


                                                         PUERTO RICO HIGHWAY AND
                                                         TRANSPORTATION AUIBORITY




                                                   By:

                                                          Secretary of Transportation and
                                                           Public Works and Executive
                                                           Director of the Puerto Rico
                                                           Highway and Transportation Authority


         Testimony No.d3J

                Recognized and subscribed before me by Ru~n A. Hernandez Gregorat, as
         Secretary of Transportation and Public Works and Executive Director of the Puerto Rico
         Highway and Transportation Authority, of legal age, married and a resident of Guaynabo,
         Puerto Rico, who is personally known to me.

                 In San uan Puerto Rico, on September.21, 2011.



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                                THIRD ALLON GE TO PROMISSORY NOTE


              The Promissory Note titled United States of America, Commonwealth of
        Puerto Rico, Puerto Rico Highway and Transportation Authority, executed by Ruben A.
        Hernandez Gregorat, for the amount of FORTY FIVE MILLION DOLLARS ($45,000,000),
       before notary public Zoraya Betancourt Calzada, on August 27, 2010, as amended by First
        Allonge to Promissory Note, executed on August 25, 2011, to increase the principal
        amount of the Loan to $77,011,799.88, extend the maturity date to January 31, 2013, and
       include payment of accrued interests in the Loan until its maturity, and the payment of
       financial services fee payable to the Lender, and as amended by Second Allonge
       Promissory Note, executed on September 21, 2011, to convert the Loan from a non
       revolving Loan to a revolving Loan, is hereby further amended to increase the principal
       amount of the Loan to $107,011,799.88.
              This Third Allonge to Promissory Note is executed in connection with the
       Third Amendment to Loan Agreement between the Puerto Rico Highway and
       Transportation Authority and the Government Development Bank for Puerto Rico,
       effective as of Dec~mber 30, 2011. All other provisions of the referenced Promissory Note,
       as amended, not inconsistent with this Third Allonge to Promissory Note, shall remain in
       full force and effect.
              IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation Authority
       has caused this Third Amendment to Promissory Note to be signed by its Executive
       Director, in San Juan, Puerto Rico, this .:30._ day of December, 2011.

                                                     PUERTO RICO HIGHWAY AND
                                                     TRANSPOR TION AUTHORITY



                                               By:
                                                           n A. Hernandez Gregorat
                                                      Secretary of Transportation and
                                                       Public Works and Executive
                                                       Director of the Puerto Rico
                                                       Highway and Transportation Authority

       Testimony No:5~&, -

              Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
       Secretary of Transportation and Public Works and Executive Director of the Puerto Rico
       Highway and Transportation Authority, of legal age, married and a resident of Guaynabo,
       Puerto Rico, who is personally known to me,
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                               FIFfH ALLONGE TO PROMISSORY NOTE

                The Promissory Note titled United States of America, Commonwealth of
          Puerto Rico, Puerto Rico Highway and Transportation Authority, e::<ecuted on
          August 27, 2010, by Ruben A. Hernandez Gregorat in his capacity of Secretary of
          Transportation and Public Works and Executive Director of the Puerto Rico Highway and
          Transportation Authority, for the amount of FORTY FIVE MILLION DOLLARS
          ($45,000,000), before notary public Zoraya Betancourt Calzada, as amended by: (1) First
          Allonge to Promissory Note, executed on August 25, 2011, to increase the principal
          amount of the Loan to $77,011,799.88, extend the maturity date to January 31, 2013, and
          include payment of accrued interests in the Loan until its maturity, and the payment of
          financial services fee payable to the Lender; (2) Second Allonge to Promissory Note,
          executed on September 27, 2011, to convert the Loan from a non revolving Loan to a
          revolving Loan; (3) Third Allonge to Promissory Note, executed on December 30, 2011 to
          increase the principal amount of the Loan to $107,011,799.88; and (4) Fourth Allonge to
          Promissory Note, executed on December 28, 2012, to increase the principal amount of the
          Loan to $147,011,799.88, is hereby further amended to extend the maturity date to
          January 31, 2014.
                This Fifth Allonge to Promissory Note is executed in connection with the Fifth
          Amendment to Loan Agreement between the Puerto Rico Highway and Transportation
          Authority and the Government Development Bank for Puerto Rico executed on this same
          date. All other provisions of the referenced Promissory Note, as amended, not
          inconsistent with this Fifth Allonge to Promissory Note, shall· remain in full force and
          effect.
                  IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation Authority
          has caused this Fifth Amendment to Promissory Note to be signed by the Acting Secretary
          of Transportation and Public Works of Puerto Rico, in San Juan, Puerto Rico, this
          J_ fh day of February, 2013.

                                                     PUERTO RICO IDGHWAY AND
                                                     TRANSPORTATION AUTHORITY


                                               By:
                                                     avier E. Ramos
                                                  Executive Director of the Puerto Rico Highway
                                                  and Transportation Authority
                                             ENTO DEL PAGO DE ARANCEL
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                 Acknowledged and subscribed before me by Javier E. Ramos Hernandez as
         Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
         age, married, engineer and resident of Bayam6n, Puerto Rico, personally known to me.


                  In San Juan, Puerto Rico, on February _i_, 2013.




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                                  SIXTH ALLONGE TO PROMISSORY NOTE

                The Promissory ~ote titled United States of America, Commonw ealth of Puerto Rico,
         Puerto Rico Highway and Transportation Authority, executed on August 27, 2010, by Ruben
         A. Hernandez Gregorat in his capacity of Secretary of Transportation and Public Works and
         Executive Director of the Puerto Rico Highway and Transportation Authority, for the amount
         of FORTY FIVE MILLION DOLLARS ($45,000,000), before notary public Zoraya Betancourt
         Calzada, as amended by: (1) First Allonge to Promissory Note, executed on August 25, 2011,
         to increase the principal amount of the Loan to $77,011,799.88, extend the maturity date to
         January 31, 2013, and include payment of accrued interests in the Loan until its maturity, and
         the payment of financial services fee payable to the Lender; (2) Second Allonge to Promissory
         Note, executed on September 27, 2011, to convert the Loan from a non revolving Loan to a
         revolving Loan; (3) Third Allonge to Promissory Note, executed on December 30, 2011 to
         increase the principal amount of the Loan to $107,011,799.88; (4) Fourth Allonge to Promissory
         Note, executed on December 28, 2012, to increase the principal amount of the Loan to
         $147,011,799.88, and (5) Fifth Allonge to Promissory Note, executed on February 8, 2013, to
         extend the maturity date to January 31, 2014, is hereby further amended to extend the
         maturity date to January 31, 2015.

                This Sixth Allonge to Promissory Note is executed in connection with the Sixth
         Amendmen t to Loan Agreement between the Puerto Rico Highway and Transportation
         Authority and the Government Developme nt Bank for Puerto Rico executed· on this same
         date. All other provisions of the referenced Promissory Note, as amended, not inconsistent
         with this Sixth Allonge to Promissory Note, shall remain in full force and effect.

               IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation Authority has
         caused this Sixth Allonge to Promissory Note to be signed by the Executive Director of the
         Puerto Rico Highways and Transportation Authority, in San Juan, Puerto Rico, this 31st day of
         January, 2014.


                                                      PUERTO RICO HIGHWAY AND
                                                      mANSPOR TATION AUTHORITY



                                                      J vier E. Ramos Herm\nd z
                                                        xecutive Director of the Puerto Rico Highway
                                                      and Transportation Authority
         Testimony No. S::,.5

                  Acknowledged and subscribed before me by Javier E. Ramos Herm\ndez as
         Executive Director of the Puerto Rico Highway and Transportation Authority, of legal age,
         married, engineer and resident of Bayam6n, Puerto Rico, personally known to me.


                  In San Juan, Puerto Rico, on January .!..!_, 2014.




           EXENTO DEL PAG
            LEY47 DE4 DEJ                                              /   Notary Public
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
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                         Exhibit A-16
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                             SEVENTH ALLONGE TO PROMISSORY NOTE

                The Promissory Note titled United States of America, Commonwealth of
         Puerto Rico, Puerto Rico Highway and Transportation Authority, executed on
         August 27, 2010, by Ruben A. Hernandez Gregorat in his capacity of Secretary of
         Transportation and Public Works and Executive Director of the Puerto Rico Highway and
         Transportation Authority, for the amount of FORTY FIVE MILLION DOLLARS
         ($45,000,000), before notary public Zoraya Betancourt Calzada, as amended by: (1) First
         Allonge to Promissory Note, executed on August 25, 2011, to increase the principal
         amount of the Loan to $77,011,799.88, extend the maturity date to January 31, 2013, and
         include payment of accrued interests in the Loan until its maturity, and the payment of
         financial services fee payable to the Lender; (2) Second Allonge to Promissory Note,
         executed on September 27, 2011, to convert the Loan from a non revolving Loan to a
         revolving Loan; (3) Third Allonge to Promissory Note, executed on December 30, 2011 to
         increase the principal amount of the Loan to $107,011,799.88; (4) Fourth Allonge to
         Promissory Note, executed on December 28, 2012, to increase the principal amount of the
         Loan to $147,011,799.88, (5) Fifth Allonge to Promissory Note, executed on February 8,
         2013, to extend the maturity date to January 31, 2014, and (6) Sixth Allonge to Promissory
         Note, executed on January 31, 2014, to extend the maturity date to January 31, 2015, is
         hereby further amended to extend the maturity date to January 31, 2016.

                 This Seventh Allonge to Promissory Note is executed in connection with the Ninth
         Amendment to Loan Agreement between the Puerto Rico Highway and Transportation
         Authority and the Government Development Bank for Puerto Rico executed on tlus same
         date. All other provisions of the referenced Promissory Note, as amended, not
         inconsistent with this Seventh Allonge to Promissory Note, shall remain in full force and
         effect.

                IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation Authority
         has caused this Seventh Allonge to Promissory Note to be signed by the Executive
         Director of the Puerto Rico Highways and Transportation Authority, in San Juan, Puerto
         Rico, this ..J£2. day of May, 2015.


                                                      PUERTO RICO HIGHWAY AND
                                                      TRANSPORTATION AUTHORITY


                                                By:   A.L«;t/h&dtJ4-!
                                                      Carmen A. Villar-Prados
                                                      Executive Director

         Testimony No, :J-30

               Acknowledged and subscribed before me by Carmen A. Villar-Prados, as Executive
         Director of the Puerto Rico Highway and Transportation Authority, of legal age, married,
         engineer and resident of Guaynabo, Puerto Rico, personally known to me.


                In San Juan, Puerto Rico, on May l}:Q_, 2015.




                                                                    /NotaryPublic

                                          TO DEL PAGO DE ARANCEL
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 Case:17-03283-LTS
 Case:17-03283-LTS Doc#:16276-16   Filed:03/31/21 Entered:10/27/21
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                                          PROMISSORY NOTE

    $148,900,000.00                                                        Due date: August 30, 2011

            The PUERTORICO IDGHWAY AND TRANSPORTATION AUTHORITY
    (hereinafter called the "Authority"), a public corporation and autonomous instrumentality of the
    Commonwealth of Puerto Rico, for value received hereby promises to pay, solely from the
    sources described in the Loan Agreement mentioned herein, to the order of Government
    Development Bank for Puerto Rico (the "Lender") at its principal office in San Juan, Puerto
    Rico, on August 30, 2011, subject to prepayment as set forth below, the principal sum of ONE
    HUNDRED FORTY EIGHT MILLION NINE HUNDRED THOUSAND DOLLARS
    ($148,900,000) to the extent that such amount or any portion thereof disbursed under the Loan
    Agreement executed on this same date remains unpaid. Such payment shall be made in any coin
    or currency of the United States of America which at the time of payment is legal tender for the
    payment of public and private debts. The Authority hereby agrees to repay the outstanding
    aggregate principal amount of the Loan at the principal office of the Lender in San Juan, Puerto
    Rico, from proceeds of bonds to be issued by the Authority pursuant to the provisions of the
    respective sections of the Resolutions or from any available moneys of the Authority.

           This Note is under and pursuant to the Loan Agreement dated as of November 9, 2009
    (as modified and supplemented and in effect from time to time, the "Loan Agreement") between
    the Borrower and Government Development Bank for Puerto Rico, as Lender and evidences the
    Advances made by the Lender thereunder, and is subject to the terms thereof. Terms used but not
    defined in this Note have the respective meanings assigned to them in the Loan Agreement.

            The Authority waives the requirement of demand, presentment, protest, notice of
     dishonor, and, in general, any other legal formality.

             If the Authority defaults in making any payment when due under this Note, the Lender
      may declare this Note to be immediately due and payable.

             In case of recourse to the courts by the Lender in order to collect the whole or any portion
     of the principal or interest due under this Note, the Administration agrees to pay a liquidated sum
     equal to I 0% of the principal sum of this Note to cover expenses of such proceedings, court
     costs, disbursements and attorney's fees, which amount will become immediately due and
     payable upon the filing of such judicial proceedings.

             All acts, conditions and things required by the Puerto Rico Federal Relations Act and the
      Constitution and Laws of the Commonwealth of Puerto Rico to happen, exist, and be performed
      precedent to and in the issuance of this Note have happened, exist and have been performed as so
      required. This Note shall be construed in accordance with the laws of the Commonwealth of
      Puerto Rico.

             IN WITNESS WHEREOF, the Authority has caused this note to be signed by its
      Executive Director and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this .
      9th day of November, 2009.

                                     PUERTO RICO IDGHWAYS AND TRANSPORTATION
                                     AUTHO



                                             u en . emandez Gregorat
                                     Title: Executive Director

     Affidavit No ..1.!:i3_

          Acknowledged and subscribed before me in San Juan, Puerto Rico, on this 9th day of
     November, 2009, by the following person who is personally known to me: Ruben A. Hernandez
     ~J~ age;..iparried, executive and resident of Guaynabo, Puerto Rico, as Executive
    ~ector ofthe·~o Rico Highway and Transportation Authority.


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I. lVl · · Jl' %
               •                                   ~~~A!          Notary Public
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Case:17-03283-LTS Doc#:16276-16
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                                        FIRST ALLONGE TO PROMISSORY NOTE


                 The Promissory Note titled United States of America, Commonwealth of Puerto Rico,
         Puerto Rico Highway and Transportation Authority, executed by Ruben A. Hernandez
         Gregorat, for the amount of ONE HUNDRED FORTY EIGHT MILLION NINE
         HUNDRED THOUSAND DOLLARS ($148,900,000), before notary public Marla Cristina
         Figueroa Rivero, on November 9, 2009, is hereby amended to extend the maturity date of
         the Loan from to January 31, 2013 and to increase the principal amount of the Loan by
         $24,028,442.74 for a total amount not to exceed $172,928,442.74. The increase in the Loan
         shall be to the _sole purpose of cover accrued interests on the Loan until its maturity and
         payment corresponding to financial services fee payable to the Lender, subject to certain
         terms and conditions.
                This First Allonge to Promissory Note is executed in connection with the
         First Amendment to Loan Agreement between the Puerto Rico Highway and
         Transportation Authority and the Government Development Bank for Puerto Rico,
         executed by these parties on this same date.         All other provisions of the referenced
         promissory note not inconsistent with this First Allonge to Promissory Note, shall remain in
         full force and effect.
                IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation Authority
         has caused this First Amendment to Promissory Note to be signed by its Executive Director,
         in San Juan, Puerto Rico, this 1_ day of September, 2011.

                                                            PUERTO RICO HIGHWAY AND
                                                            TRANSPORTATION AUTHORITY




                                                      By:

                                                            ~
                                                            Secretary of"     -'
                                                                        Transportation and Public
                                                            Works and Executive Director of the
                                                            Puerto Rico Highway and Transportation
                                                            Authority

         Affidavit No.-3'1'1-

                Recognized and subscribed before me by Ruben A. Hernandez ~regorat, as Secretary
         of Transportation and Public Works and Executive Director of the Puerto Rico Highway and
         Transportation Authority, of legal age, married and a resident of Guaynabo, Puerto Rico,
         who is personally known to me.

                In San Juan, Puerto Rico, on September 2-., 2011.


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Case:17-03283-LTS Doc#:16276-16
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                        SECOND ALLONGE TO PROMISSORY NOTE


         The Promissory Note titled United States of America, Commonwealth of Puerto Rico,
  Puerto Rico Highway and Transportation Authority, executed by Ruben A. Hernandez
  Gregorat, for the amount of $148,900,000, before notary public Maria Cristina Figueroa
  Rivero, on November 9, 2009, as amended by First Allonge to Promissory Note executed by
  Ruben A. Hernandez Gregorat, to extend the maturity date of the Loan to January 31, 2013
  and to increase the principal amount of the Loan by $24,028,442.74 for a total amount not to
  exceed $172,928,442.74, subject to certain terms and conditions, before notary public Zoraya
  Betancourt Calzada, on September 2, 2011, is hereby amended to extend the maturity date
  of the Loan to January 31, 2014, subject to certain terms and conditions.
         This Second Allonge to Promissory Note is executed in connection with the
  Second Amendment to Loan Agreement between the Puerto Rico Highway and
  Transportation Authority and the Government Development Bank for Puerto Rico,
  executed by these parties on this same date.        All other provisions of the referenced
  promissory note not inconsistent with this Second Allonge to Promissory Note, shall
  remain in full force and effect.
         IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation Authority
                                                                              f:-t.w.rlivt- Dirtf.,-lt,,-   H
  has caused this Second Allonge to Promissory Note to be signed by the Seeretary of the '"!~ ·
  Puerto Rico D~~~.~of Transportation a ~ ) k V/orks, in San Juan, Puerto Rico, this
  14th day of February, 2013.


                                                    PUERTO RICO HIGHWAY AND
                                                    TRANSPORTATION AUTHORITY




                                                    Executive Director

  Testimony No. 'ftdl

         Recognized and subscribed before me by Javier E. Ramos Hernandez, as Executive
  Director of the Puerto Rico Highway and Transportation Authority, of legal age, married,
  executive and resident of Bayamon, Puerto Rico, personally known to me.

         In San Juan, Puerto Rico, on February It/ 2013.




                                                                   ~




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                              THIRD ALLONGE TO PROMISSORY NOTE


  $172,928,442.74                                             Maturity date: January 31, 2015


          The Promi,ssory Note titled United States of America, Commonwealth of Puerto Rico,
  Puerto Rico Highway and Transportation Authority, executed by Ruben A. Hernandez
  Gregorat, for the amount of $148,900,000, before notary public Maria Cristina Figueroa
  Rivero, on November 9, 2009, as amended by First Allonge to Promissory Note executed by
  Ruben A. Hernandez Gregorat, before notary public Zoraya Betancourt Calzada, on
  September 2, 2011, and as amended by Second Allonge to Promissory Note executed by
  Javier E. Ramos Hernandez, before notary public Belen Fornaris, on February, 14, 2013, is
  hereby further amended to extend the maturity date of the Loan to January 31, 2015.
          This Third Allonge to Promissory Note is executed in connection with the
  Third Amendment to Loan Agreement between the Puerto Rico Highway and
  Transportation Authority and the Government Development Bank for Puerto Rico,
  executed by these parties on this same date.         All other provisions of the referenced
  Promissory Note not inconsistent with this Third Allonge to Promissory Note, shall remain
  in full force and effect.
         IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation Authority
 has caused this Third Allonge to Promissory Note to be signed by the Executive Director of
  the Puerto Rico Highway and Transportation Authorityrks, in San Juan, Puerto Rico, on
 February ,f- 2014.


                                                     PUERTO RICO IDGHWAY AND
                                                     TRANSPORTATION AUTHORITY




 Testimony No. 7'6 I

        Recognized and subscribed before me by Javier E. Ramos Hernandez, as Executive
 Director of the Puerto Rico Highway and Transportation Authority, of legal age, married,
 executive and resident of Bayamon, Puerto Rico, personally known to me.

         In San Juan, Puerto Rico, on February   !J_, 2014.
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Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
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                       FOURTH ALLONGE TO PROMISSORY NOTE


  $172,928,442.74                                            Maturity date: January 31, 2016


         The Promissory Note titled United States of America, Commonwealth of
  Puerto Rico, Puerto Rico Highway and Transportation Authority, executed by Ruben A.
  Hernandez Gregorat for the amount of $148,900,000 before notary public Maria Cristina
  Figueroa Rivero on November 9, 2009, as amended by First Allonge to Promissory Note
  executed by Ruben A. Hernandez Gregorat before notary public Zoraya Betancourt
  Calzada on September 2, 2011, as amended by Second Allonge to Promissory Note
  executed by Javier E. Ramos Hernandez before notary public Belen Fornaris Alfaro on
  February, 14, 2013, and as amended by Third Allonge to Promissory Note executed by
  Javier E. Ramos Hernandez before notary public Maria de Lourdes Rodriguez on
  February 4, 2014, is hereby further amended to extend the maturity date of the Loan to
  January 31, 2016.
         This Fourth Allonge to Promissory Note is executed in connection with the
  Fourth Amendment to Loan Agreement between the Puerto Rico Highway and
  Transportation Authority and the Government Development Bank for Puerto Rico,
  executed by these parties on this same date. All other provisions of the referenced
  Promissory Note, as amended, not inconsistent with this Fourth Allonge to Promissory
  Note, shall remain in full force and effect.
         IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
  Authority has caused this Fourth Allonge to Promissory Note to be signed by the
  Executive Director of the Puerto Rico Highway and Transportation Authority, in
  San Juan, Puerto Rico, on May go 2015.

                                                       PUERTO RICO HIGHWAY AND
                                                       TRANSPORTATION AUTHORITY



                                                 By:
                                                          Carmen A. Viilar Prados
                                                           Executive Director

  Testimony No. -Jj93-

        Recognized and subscribed before me by Carmen A. Villar Prados, as Executive
  Director of the Puerto Rico Highway and Transportation Authority, of legal age,
  married, engineer and resident of Guaynabo, Puerto Rico, personally known to me.

         In San Juan, Puerto Rico, on May '2,D 2015.




                 f~E
                 ~£                                               Notary Public

                               El PAGO DE ARANCEL
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                                                                                agosto de 2013
VALOR: $59,722,346
                                                               BAN CO GUBERNAMENTAL
       POR VALOR REOBIDO, paga re a la orde n del
                                                       de curs o legal de los Esta dos Unid os
DE FOMENTO PARA PUERTO RICO en mon eda
                                                      , Puer to Rico, la sum a prin cipa l de
de America en su oficina prin cipa l en Santurce
                                                         ENTOS VEINTE Y DOS MIL
CINCUENTA Y NUEVE MILLONES SETECI
                                                     ARES ($59,722,346), mas inte rese s
TRESCIENTOS CUARENTA Y SEIS DOL
                                                        r sum a ya paga da. Este P AG.ARE
capitalizados, en igua l mon eda, men os cual quie
                                                          sum a prin cipa l hast a la fecha de su
acum ular a intereses sobr e el bala nce inso luto de la
                                                       un min imo de 6%, o aque lla tasa de
pago total, a base del Prime Rate mas 1.50%, con
                                                         idente Ejecutivo desi gnad o por este
inter es que el Pres iden te del BANCO o el Vicepres
                                                            es. Los intereses sera capitalizados
disp onga , depe ndie ndo del mer cado de tasas de inter
                                                        d del CONTRATO DE PRESTAMO
al vencimiento. Este PAGARE se otor ga en virtu
otor gado en esta mism a fecha.
                                                                  RE se vea precisado a recurrir
        En el caso en que el toma dor o tene dor de este P AG.A
                                                          inter veni r en procedimientos bajo la
a los tribunales de justicia para su cobro o teng a que
                                                             ien una sum a equivalente al DIEZ
Ley de Quie bra Federal, los suscribientes paga ran tamb
                                                          P AG.ARE, como pena lidad liqu ida y
POR OEN TO (10%) del mon to del principal de este
                                                               costas, gastos y honorarios de
exigible sin necesidad de intervenci6n judicial, para
                                                        mer a radicaci6n en el tribunal de la
abogados y cuya pena lidad sera paga dera con la
dem anda .
                                                                 este PAG.ARE de su obligaci6n
         Expresamente relevamos al toma dor o tene dor de
                                                           el cobro de este P AG.ARE si dicho
 de pres tar fianza en el caso de acci6n judicial para
                                                        el aseguramiento de la efectividad de
 toma dor o tene dor solicitara orde n al tribunal para
                                                        .
 la sentencia de acue rdo con las Leyes de Puer to Rico
                                                              rar su plaz o y declarar el
         El toma dor o tene dor de este P AG.ARE pued e acele
                                                    nto, de ocur rir cualquiera de los
  mism o vencido y paga dero antes de su vencimie
  siguientes eventos:
                                                                     plazos para intereses y
         a)     No se pagu e a su vencimiento cualquiera de los
                                                          tamo que evidencia este P AG.ARE
  principal o cualquier adelanto relacionado con el pres
                                                            o a favor del suscribiente;
  que ha sido realizado por el toma dor o tene dor del mism
                                                                            des del suscribiente
         b)     Embargo o ejecuci6n de cualquiera de las prop ieda
  dada s en garantia;
                                                                         daci6n o quie bra del
         c)     Insolvencia, sindicatura, disoluci6n, terminaci6n, liqui
  suscribiente o de cualquiera de ellos y sus sucesores;
                                                                             ntla o representaci6n
         d)      Que se dete rmin e que cualquier informaci6n, gara
                                                               P AG.ARE en cualquier fecha en que
   hecha por el suscribiente al toma dor o tene dor de este
   la mism a se hiciere resultare falsa o incierta, en part
                                                            e o totalmente; y el

                                                                     los terminos, clausulas
         e)      Incumplimiento por el suscribiente de cualquiera de
                                                           DE PRESTAMO suscrito en esta
   y condiciones de este PAGARE o del CONTRATO
                                                         RE.
   mism a fecha con el toma dor o tene dor de este P AG.A
                                                                cho de presentaci6n, falta de
         El suscribiente por la pres ente renu ncia a todo dere
                                                           riza al tom ador o tene dor de este
   pago, protesto, demanda y aviso. El suscribiente auto
                                                         notificaci6n algu na, para aplicar el
   P AG.ARE y le confiere pode r, sin que se requ iera
                                                         que se orig inan de este P AG.ARE y
   derecho a compensaci6n "set-off' a las obligaciones


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                               PRIMERA ENMIENDA A PAGARE ("ALLONGE")


         VALOR: $185,281,724.19                             VENCIMIENTO: 31 de agosto de 2013

                  El PAGARE por la suma de CINCUENTA Y NUEVE MILLONES SETECINTOS

         VEINTE Y DOS MIL TRECIENTOS CUARENTA Y SEIS D6LARES ($59,722,346) suscrito

         el 27 de octubre de 2011 por Ruben Hernandez Gregorat, en su capacidad de Director

         Ejecutivo de la Autoridad de Carreteras y Transportaci6n y Secretario del Departamento

         de Transportaci6n y Obras Publicas; ante la notario publico Marfa de Lourdes Rodriguez,

         pagadero a la orden del Banco Gubernamental de Fomento para Puerto Rico, queda por

         la presente enmendado para incrementar la cuantia a CIENTO OCHENTA Y CINCO

         MILLONES DOSCIENTOS OCHENTA YUN MIL SETECINTOS VEINTE Y CUATRO

         D6LARES CON DIEZ Y NUEVE CENTAVOS ($185,281,724.19). Este incremento de

         cuantia se consigna en virtud de la PRIMERA ENMIENDA A CONTRATO DE

         PRESTAMO que la Autoridad de Carreteras y Transportaci6n y el Banco Gubernamental

         de Fomento han suscrito en el dfa de hoy ya tenor con la Resoluci6n Num. 9719 aprobada

         por la Junta de Directores del Banco el 22 de febrero de 2012.

                  En San Juan, Puerto Rico, a   5 de marzo de 2012.

                                                        AUTORIDAD DE C RRETERAS Y
                                                        TR:~1SP1DRTACI6N




                                                            en Hernandez Gregorat
                                                        Director Ejecutivo y
                                                        Secretario, Departamento de Transportaci6n
                                                        y Obras Publicas de Puerto Rico

         Testimonio Num.        ,,1 _.
               Reconocido y suscrito ante mi por Ruben Hernandez Gregorat, mayor de edad,
         casado y vecino de Guaynabo, Puerto Rico, en su capacidad de Director Ejecutivo de la
         Autoridad de Carreteras y Transportaci6n de Puerto Rico, y Secretario del
         Departamento de Transportaci6n y Obras Publicas de Puerto Rico, a quien doy fe de
         conocer ersonalmente.

 /..,~
     QYT
       D€                ~
                                                5
                                 Puerto Rico, a _ de marzo de 2012.

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                     PRIMERA ENMIENDA A PAGARE ("ALLONGE")


VALOR: $185,281,724.19                               VENCIMIENTO: 31 de agosto de 2014

      El PAGA.RE por la suma de CINCUENTA Y NUEVE :MILLONES SETECIENTOS
VEINTID6s :MIL TRESCIENTOS CUARENTA Y SEIS D6LARES ($59,722,346) suscrito el
27 de octubre de 2011 por Ruben Hernandez Gregorat, en su entonces capacidad como
Director Ejecutivo de la Autoridad de Carreteras y Transportaci6n y Secretario del
Departamento de Transportaci6n y Obras Publicas, ante la notario publico Maria de
Lourdes Rodriguez, Testimonio Num. 626, y pagadero a la orden del Banco
Gubemamental de Fomento para Puerto Rico (el "BANCO"), segun enmendado por la
Primera Enmienda a Pagare (" Allonge") suscrita el 5 de marzo de 2012 por el mencionado
funcionario y ante la notario publico Maria de Lourdes Rodriguez, Testimonio Num. 661,
queda por la presente enmendado para extender la fecha de vencimiento hasta el 31 de
agosto de 2014.

        Esta enmienda se consigna en virtud de la TERCERA EN:MIENDA A CONTRATO
DE PRESTAMO que la Autoridad de Carreteras y Transportaci6n y el BANCO han
suscrito en el dia de hoy.

      Los demas terminos y condiciones del PAGARE, segun enmendado, no
inconsistentes con esta SEGUND A EN:MIEND A A PAGARE, permaneceran inalterados
yen pleno vigor.


        En San Juan, Puerto Rico, a -z..-<i de agosto de 2013.

                                             AUTORIDAD DE CARRETERAS Y
                                             TRANSPORTACION




Testimonio 2, f'-1

       Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad, casado
y vecino de Bayamon, Puerto Rico, en su caracter como Director Ejecutivo de la Autoridad de
Carreteras y Transportaci6n de Puerto Rico, a quien conozco personalmente.


        EnSanJ-Pu&roRlro,.,;z,&' de ,go,to d e ~


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                              EXENTO DEL PAGO DE ARANCf.L
                               LEY 47 DE 4 DE JUNIO DE 1982




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                    TERCERA ENMIENDA A PAGARE ("ALLON GE")


VALOR: $185,281,724.19                              VENCIMIENTO: 31 de agosto de 2015

         El PAGARE por la suma de ONCUENTA Y NUEVE MILLONES SETECIENTOS
 VEINTIDOS MIL TRESCIENTOS CUARENTA Y SEIS D6LARES ($59,722,346) suscrito el
 27 de octubre de 2011 por Ruben Hernandez Gregorat, en su entonces capacidad como
 Director Ejecutivo de la Autoridad de Carreteras y Transportaci6n (la "AUTORIDAD") y
 Secretario de! Departamento de Transportaci6n y Obras Pliblicas, ante la Notario Publico
 Maria de Lourdes Rodriguez, Testimonio Num. 626, y pagadero a la orden de! Banco
 Gubernamental de Fomento para Puerto Rico (el "BANCO"), segun enmendado por la
 Primera Enmienda a Pagare (" Allonge") suscrita el 5 de marzo de 2012 por el mencionado
 funcionario y ante la Notario Publico Maria de Lourdes Rodriguez, Testimonio Num. 661,
 para incrementar su cuantfa a CIENTO OCHENTA Y ONCO MILLONES DOSCIENTOS
 OCHENTA YUN MIL SETECIENTOS VEINTICUATRO D6LARES CON DIECINUEVE
 CENTAVOS ($185,281,724.19), y la Primera Enmienda a Pagare (" Allonge") (la cual debi6
 titularse "Segunda Enmienda a Pagare (" Allonge")) suscrita el 28 de agosto de 2013 por
 Javier E. Ramos Hernandez en su capacidad como Director Ejecutivo de la AUTORIDAD,
 ante la Notario Publico Marguilean Rivera Amill, Testimonio Num. 874, para extender su
 fecha de vencimiento, queda por la presente enmendado para extender nuevamente la
 fecha de vencimiento hasta el 31 de agosto de 2015.

       Esta enmienda se consigna en virtud de la CUARTA ENMIENDA A CONTRATO
 DE PRESTAMO que la AUTORIDAD y el BANCO han suscrito en el dia de hoy.

       Los demas terminos y condiciones de! P AGARE, segun enmendado, no
 inconsistentes con esta TERCERA ENMIENDA A PAGARE (ALLONGE),
 permaneceran inalterados yen pleno vigor.


         En San Juan, Puerto Rico, a   L de diciembre de 2014.
                                             AUTORIDAD DE CARRETERAS Y
                                             TRANSPORTACION



                                             avier E. Ramos Hernan   z
                                             Director Ejecutivo



 Testimonio L.Qri

        Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad, casado
 y vecino de Bayamon, Puerto Rico, en su caracter como Director Ejecutivo de la Autoridad de
 Carreteras y Transportaci6n de Puerto Rico, a quien conozco personalmente.


         En San Juan, Puerto Rico, a _!J__ de diciembre de 2014.




                          EXENTO DEL PAGO DE ARANCEL
                           LEY 47 DE 4 DE JUN10 DE 1982

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                                            GARE

                                                   VENCIMIENTO: 31 de agosto de 2013
                                                                                          L
       POR VALOR REOB IOO, pagare a la orden del BANC O GUBERNAMENTA
                                                                        los Estado s Unido s
DE FO:MENTO PARA PUERTO RICO en moned a de curso legal de
                                                                                  de ONCE
de Ameri ca en su oficina princi pal en Santurce, Puerto Rico, la suma princi pal
                                                                              CUARENTA
MILLONES TRESCIENTOS NOVE NTA Y SIETE MIL DOSC IENTO S
                                                                            moned  a, menos
Y TRES DOLARES ($11,397,243), mas intere ses capita lizado s, en igual
                                                                                 el balanc e
cualqu ier suma ya pagad a. Este P AG.ARE acumu lara interes es sobre
                                                                                   Rate mas
insolu to de la suma princi pal hasta la fecha de su pago total, a base del Prime
                                                                                  BANCO o
1.50%, con un minim o de 6%, o aquell a tasa de interes que el Presid ente del
                                                                                merca do de
el Vicepresidente Ejecutivo design ado por este dispon ga, depen diendo del
                                                                               RE  se otorga
tasas de interes. Los intereses sera_capitalizados al vencimiento. Este FAG.A
en virtud del CONTRATO DE PRESTAMO otorga do en esta misma fecha.
                                                                                             r
        En el caso en que el tomad or o tenedo r de este P AG.ARE se vea precisado a recurri
                                                                                   os bajo la
a los tribunales de justicia para su cobro o tenga que interve nir en procedimient
                                                                               lente al DIEZ
Ley de Quieb ra Federal, los suscribientes pagara n tambie n una suma equiva
                                                                               dad liquida y
POR CIENTO (10%) del monto del principal de este P AG.ARE, como penali
                                                                                     rios de
exigible sin necesidad de intervenci6n judicial, para costas, gastos y honora
                                                                                     al de la
abogad os y cuya penali dad sera pagad era con la mera radicaci6n en el tribun
deman da.
                                                                                           ci6n
       Expresamente relevamos al tomad or o tenedo r de este P AG.ARE de su obliga
                                                                                  RE  si  dicho
de presta r fianza en .el caso de acci6n judicial para el cobro de este FAG.A
                                                                                        idad de
tomad or o tenedo r solicitara orden al tribun al para el asegur amien to de la efectiv
la sentencia de acuerd o con las Leyes de Puerto Rico.
                                                                                ar el
        El tomad or o tenedo r de este PAG.ARE puede acelerar su plazo y declar
                                                                        iera de los
 mismo vencid o y pagad ero antes de su vencimiento, de ocurri r cualqu
 siguientes eventos:

        a)     No se pague a su vencimiento cualquiera de los plazos para intereses y
                                                                                    PAG.ARE
 principal o cualquier adelan to relacionado con el presta mo que evidencia este
                                                                                iente;
 que ha sido realizado por el tomad or o tenedo r del mismo a favor del suscrib

       b)     Embar go o ejecuci6n de cualquiera de las propie dades del suscribiente
 dadas en garantia;

        c)     Insolvencia, sindicatura, disoluci6n, terminaci6n, liquidaci6n o quiebr a del
 suscribiente o de cualquiera de ellos y sus sucesores;

       d)      Que se determ ine que cualqu ier informaci6n, garant ia o representaci6n
                                                                                fecha en que
 hecha por el suscribiente al tomad or o tenedo r de este P AG.ARE en cualquier
 la misma se hiciere resulta re falsa o incierta, en parte o totalmente; y el

        e)     Incumplimiento por el suscribiente de cualquiera de los ten:ninos, clausulas
                                                                                 o en esta
  y condiciones de este PAGA.RE o del CONTRATO DE PRESTAMO suscrit
  misma fecha con el tomad or o tenedo r de este P AG.ARE.
                                                                                             de
         El suscribiente por la presen te renunc ia a todo derech o de presentaci6n, falta
                                                                              tenedo   r de este
  pago, protesto, deman da y aviso. El suscribiente autori za al tomad or o
                                                                                     aplicar el
  PAGA.RE y le confiere poder, sin que se requie ra notificaci6n alguna , para
                                                                                  P AG.AR   Ey
  derech o a compensaci6n "set-off' a las obligaciones que se origin an de este
                                                                                misma forma
  para extend er su fecha de pago antes o despue s de su vencimiento, y de la
                                                                                    r cualqu ier
  antes o despue s de su vencimiento extend er tolerancia, dar indulgencia, realiza


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                   PRIMERA ENMIENDA A PAGARE (" ALLONGE")


 VALOR: $12,440,090.81                         VENCIMIENTO: 31 de agosto de 2013

        El PAGARE por la suma de ONCE MILLONES TRECIENTOS NOVENTA Y

 SIETE MIL DOSCIENTOS CUARENTA Y TRES D6LARES ($11,397,243) suscrito el 27 de

 octubre de 2011 por Ruben Hernandez Gregorat, en su capacidad de Director Ejecutivo de

 la Autoridad de Carreteras y Transportaci6n y Secretario del Departamento de

. Transportaci6n y Obras Publicas, ante la notario publico Marfa de Lourdes Rodriguez,

 pagadero a la orden del Banco Gubernamental de Fomento para Puerto Rico, queda por

 la presente enmendado para incrementar la cuantfa               a DOCE MILLONES

 CUATROCIENTOS CUARENTA MIL NOVENTA D6LARES CON OCHENTA YUN

 CENTAVOS ($12,440,090.81). Este incremento de cuantfa se consigna en virtud de la

 PRIMERA ENMIENDA A CONTRATO DE PRESTAMO que la Autoridad de Carreteras

 y Transportaci6n y el Banco Gubernamental de Fomento han suscrito en el dfa de hoy y a

 tenor con la Resoluci6n Num. 9719 aprobada por la Junta de Directores del Banco el

 22 de febrero de 2012.

        En San Juan, Puerto Rico, a 5_ de marzo de 2012.

                                                              CARRETERAS Y
                                                             I6N



                                                n Hernandez Gregorat
                                           Director Ejecutivo y
                                           Secretario, Departamento de Transportaci6n
                                           y Obras Publicas de Puerto Rico


 Testimonio Num. fL__f_() --

       Reconocido y suscrito ante mi por Ruben Hernandez Gregorat, mayor de edad,
 casado y vecino de Guaynabo, Puerto Rico, en su capacidad de Director Ejecutivo de la
 Autoridad de Carreteras y Transportaci6n de Puerto Rico, y Secretario del
 Departamento de Transportaci6n y Obras Publicas de Puerto Rico, a quien doy fe de
 conocer personalmente.

                          rto Rico, a .5 de marzo de 2012.
Case:17-03283-LTS
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                  Doc#:18815-9 Filed:10/27/21     Entered:03/31/2109:09:47
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                    SEGUNDA ENMIENDA A PAGARE ("ALLONGE")


 VALOR: $12,440,090.81                             VENCIMIENTO: 31 de agosto de 2014


        El PAGARE por la cantidad de ONCE MlLLONES TRESCIENTOS NOVENTA Y
 SIETE MlL DOSOENTOS CUARENTA Y TRES D6LARES ($11,397,243) suscrito el 27 de
 octubre de 2011 por Ruben Hernandez Gregorat, en su entonces capacidad como Director
 Ejecutivo de la Autoridad de Carreteras y Transportaci6n y Secretario del Departamento
 de Transportaci6n y Obras Publicas, ante la notario publico Maria de Lourdes Rodriguez,
 Testimonio Num. 625, y pagadero a la orden del Banco Gubernamental de Fomento para
 Puerto Rico (el "BANCO"), segtin enmendado por la Primera Enmienda a Pagare
 (" Allonge") suscrita el 5 de marzo de 2012 por el mencionado funcionario y ante la notario
 publico Maria de Lourdes Rodriguez, Testimonio Num. 660, queda por la presente
 enmendado para extender la fecha de vencimiento hasta el 31 de agosto de 2014.

         Esta enmienda se consigna en virtud de la TERCERA ENMlENDA A CONTRATO
 DE PRESTAMO que la Autoridad de Carreteras y Transportaci6n y el BANCO han
 suscrito en el dia de hoy.

        Los demas terminos y condiciones del P AGARE, segun enmendado, no
 inconsistentes con esta SEGUNDA ENMlENDA APAGARE, permaneceran inalterados
 y en pleno vigor.


         En San Juan, Puerto Rico, a2? de agosto de 2013.

                                           AUTORIDAD DE CARRETERAS Y
                                           TRANSPORTACION




 Testimonio f(9'j

        Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad, casado
 y vecino de Bayamon, Puerto Rico, en su caracter como Director Ejecutivo de la Autoridad de
 Carreteras y Transportaci6n de Puerto Rico, a quien conoz:co personalmente.


         En San Juan, Puerto Rico, a ~ de agosto de 2013.




                                           EXENTO DEL PAGO DE ARANCEL
                                           . LEY 47 DE 4 DE JUNIO OE 1982


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                  TERCERA ENMIENDA A PAGARE ("ALLON GE")


VALOR: $12,440,090.81                             VENCIMIENTO: 31 de agosto de 2015


       El PAGARE por la cantidad de ONCE MILLONES TRESCIENTOS NOVENTA Y
SIETE MIL DOSCIENTOS CUARENTA Y TRES D6LARES ($11,397,243) suscrito el 27 de
octubre de 2011 por Ruben Hernandez Gregorat, en su entonces capacidad como Director
Ejecutivo de la Autoridad de Carreteras y Transportaci6n (la" AUTORIDAD") y Secretario
de! Departamento de Transportaci6n y Obras Publicas, ante la Notario Publico Marfa de
Lourdes Rodriguez, Testimonio Num. 625, y pagadero a la orden de! Banco
Gubernamental de Fomento para Puerto Rico (el "BANCO"), segun enmendado por la
Primera Enmienda a Pagare (" Allonge") suscrita el 5 de marzo de 2012 por el mencionado
funcionario y ante la Notario Publico Maria de Lourdes Rodriguez, Testimonio Num. 660,
para aumentar su cuantia a DOCE MILLONES CUATROCIENTOS CUARENTA MIL
NOVENTA D6LARES CON OCHENTA YUN CENTAVOS ($12,440,090.81), y por la
Segunda Enmienda a Pagare (" Allonge") suscrita el 28 de agosto de 2013 por Javier E.
Ramos Hernandez en su capacidad como Director Ejecutivo de la AUTORIDAD, ante la
Notario Publico Marguilean Rivera Amill, Testimonio Num. 873, para extender su fecha
de vencimiento, queda por la presente enmendado para extender nuevamente la fecha de
vencimiento hasta el 31 de agosto de 2015.

       Esta enmienda se consigna en virtud de la CUARTA ENMIENDA A CONTRATO
 DE PRESTAMO que la AUTORIDAD y el BANCO han suscrito en el dia de hoy.

      Los demas terminos y condiciones de! P AGARE, segun enmendado, no
inconsistentes con esta TERCERA ENMIENDA A P AGARE (ALLONGE),
permaneceran inalterados yen pleno vigor.


       En San Juan, Puerto Rico, a   'l de diciembre de 2014.
                                          AUTORIDAD DE CARRETERAS Y
                                          TRANSPORTACION



                                           vier E. Ramos Hernand
                                          Director Ejecutivo



Testimonio J&a

       Reconocido y suscrito ante mi por Javier E. Ramos Hernandez, mayor de edad, casado
y vecino de Bayam6n, Puerto Rico, en su caracter como Director Ejecutivo de la Autoridad de
Carreteras y Transportaci6n de Puerto Rico, a quien conozco personalmente.


      En San Juan, Puerto Rico, a_!J__ de diciembre de 2014.




                        EXENTO DEL PAGO DE ARANCEL
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                                                PROMISSORY NOTE

          $47,362,350.75                                                          Due date: August 27, 2013

                 The PUERTORICO HIGHWAY AND TRANSPORTATION AUTHORITY
          (hereinafter c~led the "Authority"), a public corporation and autonomous instrumentality of the
          Commonwealth of Puerto Rico, for value received hereby promises to pay, solely from the
          sources described . in the Loan Agreement mentioned herein, to the Qrder of Government
          Development Bank for Puerto Rico (the <'Lender'') at its principal office in San.Juan, Puerto
          Rico, on August 27, 2011, subject to prepayment as set forth below, the principal sum of
          FORTY ·SEVEN MILLION THREE HUNDRED SIXTY TWO THOUSAND THREE
          HUNDRED FIFTY DOLLARS WITH SEVENTY FIVE CENTS ($47,362,350,75) to the
          extent that such amount or any portion thereof disbursed under the Loan Agreement executed on
          this· same date remains unpaid. Such payment shall be made in any coin or currency of the
          United States of America which at the time of payment is legal tender for the payment of public
          and private debts. The Authority hereby agrees .to repay the ·outstanding aggregate principal
          amount of the Loan at the principal office of the Lender in San Juan, Puerto Rico, from proceeds
          of bonds to be issued by the Authority·pursuant to the provisions of the respective sections of the
          Resolutions or from any available moneys of the Authority,

                   Each Advance shall bear interest daily from the date of disbursement until paid in full at a
          fluctuating aunual rate of interest equal to one and one half percent (LS%) over and above the
          Prime Rate, as determined from time to time in good.faith by the Lender, or, upon written noti~
          to the Authority, at a variable rate of interest, which. interest rate may be revised quarterly, per
          annum equal to the Lender's.cost of funding for variable rate loan transactions or the cost of any
          other obligations or source of funds used to fund the Advance. For purposes of the preceding
          sentence, the cost of funding shall mean the applicable cost of any source of funds used to fund
          the Loan, plus in either case, a required margin cost. lnitially, this required· margin cost will be
          equal. to. 150 basis points. The required margin cost may be revised from time to time by the
          Lender to such an extent that when added to the applicable cost of funds, the interest rate so
          detennined and applicable to an Advance will provide for a total coverage of what the. Lender
          determines to be its "all-inclusive" funding costs. For purposes of this Note, the applicable
          interest rate shall not exceed twelve (12) percent and shall not be less than six (6) percent. ·

                  Anything hereunder to the. contrary notwithstanding, and        • QUI Jl · dice to any
          remedies of the Lender provided hereunder or at law or in equity, ~,Jlit~;:fl'~'      ,,r~licable to
          the outstanding principal amount of each Advance during any pe ,i¥vhen,._an.Ev •$ f Default
          shall have occurred and be continuing shall be four percent (4.0'¾ Bter 11,\e ~thei:wi 6' pplicable
          interest rate (the "Default Rate").                                 ' ~~      "  ._.' /
                                                                               \ \~/.
                  hrterest shall be payable monthly in arrears not later than the~                  y following
          receipt from the Lender of the statement referred to below, from any                  moneys of the
          Authority. Each month the Lender shall furnish to the Authority a written· statement showing the
          amount of interest due and payable by the Authority on all outstanding Advances for the preceding
          month. The Loan shall be junior and subordinate to outstanding bonds of the Authority and shall be
          subject to certain other terms and conditions, as set forth in the Loan Agreement (as defined below).
          Payment of principal and interest on the Loan shall be made in any coin or currency. of the
          United States of America, which at the time of payment shall be legal t.ender for the payment of
          public and private debts.

                 This Note is under and pursuant to the Loan Agreement dated as of August 27, 2010 (as
          modified and supplemented and in effect from time to time, the "Loan Agreement"') between the
          Borrower and Government Development Bank for Puerto Rico, as Lender and evidences the
          Adyances made by the Lender thereunder, and is subject to the tenns thereof. Tenns used but not
          defined in this Note have the respective meanings assigned to them in the Loan Agreement.

                 The Authority waives the requirement of demand, presentment, protest, notice of
          dishonor, and, in general, any other legal formality.

                If the Authority defaults in making any payment when due under this Note, the Lender
          may declare this Note to be immediately due and payable.
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                   In case of recourse to the courts by the Lep.der ~ order tO collect tlie Whole or any portion
           of the principal or interest due under this Note, the Administration agrees to pay a liquidated sum
           equal to I 0% of the priucipal swn of this Note to cover expenses of such proceedings, court
           costs, disbursements and attorney's fees, which amount will become immediately due and
           payable upon the filing of such judicial proceedings.

                  All acts, conditions and things requirecl by the Puerto Rico Federal Relations Act and the
           Constitution and Laws of the Commonwealth of Puerto Rico to happen, exist, and be performed
           precedent to and in the issuance of this Note have happened, exist and have been performed as so
           required. This Note shall be construed in accordance with the laws of the Commonwealth of
           Poerto Rico.

                  IN WITNESS WHEREOF, the Autho.rity has caused this note to be· signed by its
           Executive Director and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this
           27th day of August, 2010.

                                           PUERTO RICO lilGHWAYS AND TRANSPORTATION

                                           AUTIIiilRI
                                                   . .          J
                                           By:_ _ , _ , . _ _ , ' - ' - - - - - - - - - -
                                           Name:Rlibe.Hemandez Gregorat
                                           Title: Secretary of Transportation and Public Works
                                                  and Executive Director

           AffidavitNo. MS

                  Acknowledged and subscribed before me in San Juan, Puerto Rico, on this 27th day of
           August, 2010, by the following person who is personally known to me: Ruben A. Hernandez
           Gregorat, of legal age, married, executive and resident of Guaynabo, Puerto Rico, as Secretary of
           Transportation and Public Works and Executive Director of the Puerto Rico Highway and
           Transportation Authority.
         Case:17-03283-LTS
         Case:17-03283-LTS Doc#:16276-16
                           Doc#:18815-9 Filed:10/27/21
                                           Filed:03/31/21 Entered:10/27/21
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                                                            of 167
 I
.,                                                          FI.RST AMENDMENT TO PROMISSORY NOTE
                                                                         (ALLONGE)




 I                                  $105,059,245.75                                                              Due:     August 27, 2013

                                            The terms of the PROMISSORY NOTE in the principal amount of FORTY

 I                                   SEVEN MILLION THREE HUNDRED AND SIXTY TWO THOUSAND THREE
                                     HUNDRED FIFTY DOLLARS AND SEVENTY FIVE CENTS ($47,362,350.75)
                                     executed by Ruben A. Hernandez Gregorat, in his capacity as Executive President of
                                     the PUERTO RICO HIGHWAY AND TRANSPORTATION AUTI-IORITY, to the
 l                                   order of the GOVERNMENT DEVELOPMENT BANK, on August 27, 2010, before
                                     Notary Public Marfa de los Angeles Irizany Lalo, are hereby amended and
                                     modified as of the date hereof to increase the principal amount to ONE HUNDRED

 l                                   FIVE MILLION FIFTY NINE THOUSAND TWO HUNDRED AND FORTY FIVE
                                     DOLLARS AND SEVENTY FIVE CENTS ($105,059,245.75), and (ii) prnvide that if
                                     Borrower fails .to pay the principal amount of the Loan, or any prut thereof, on the
                                     date of maturity of the Loan, the interest rate applicable to any such outstanding
                                   · principal amount, shall be as set forth in the Loan Agreement, as amended on the
                                   date hereof.

                                          ·Tllis Allonge reflects the execution on the date hereof of the First Amendment
                                   lo Loan Agreement, by arid between Borrower and Lender. Except as expressly
                                   amended hereby, all other terms and conditions of the referenced PROMISSORY
                                   NOTE, shall remain unchanged and in full force and effect; and this Allonge shall not
                                   affect any of the existing obligations of the Borrower under the PROMISSORY NOTE.

                                          Execut~d in San Juan, Puerto Rico, on November                     fi_, 2010.
 I                                                                                PUERTO RICO IUGHWAYS AND ·
                                                                                  TRANSPORTATION AUTHORITY


                                                                                  By:~·
                                                                                  Name:JaierH emiudez Scimeca, CPA
                                                                                  Title: Acting Executive Subdirector


                                   Testimony No. 53:'> ...--


                                          Acknowledged and subscribed before me by Javier Hemfodez Scimeca, as Actb1g
                                   Execu.tive Subdirector of the Puerto ~ h w a y and Tran~portation Authority, of
     j                             legal age, mal'ried and a resident of:JJJ3   ··y/uerto Rico, who is personally known
                                   to me.                          .     'M--1R -w-.S

     I                                    h1 S
                                                              URO
                                                                             · o Rico, on November _8__, 2010.



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Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
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                             SECOND AMEND MENT TO PROMISSORY NOTE
                                          (ALLONGE)

           $139,969,930.75                                                   Due:       August 27, 2013
                The terms of the Promissory Note in the principal amount of FORTY SEVEN
           MILLION THREE HUNDR ED AND SIXTY TWO THOUSA ND THREE HUNDR
                                                                                     ED
           FIFTY DOLLARS AND SEVENTY FIVE CENTS ($47,362,350.75) executed by Ruben
          A. Hernand ez Gregorat, in his capacity as Executive Director of the PUERTO RICO
          HIGHWAY AND TRANSPORTATION AUTHORITY, to the order of the
          GOVERNMENT DE~OP MENT BANK, on August 27, 2010, before Notary Public
          Marfa de Ios Angeles Irizarry Lalo, as amended by a First Amendm ent to Loan
          Agreement on November 8, 2010 to: (i) increase the principal amount to ONE
          HUNDRED FIVE MILLION FIFTY NINE THOUSAND TWO HUNDRED AND FORTY
          FIVE DOLLARS AND SEVENTY FIVE CENTS ($105,059,245.75), and (ii) provide the
          interest rate applicable if Borrower fails to pay the principal amount of the Loan, or any
          part thereof, on the date of maturity of the Loan as set forth in the Loan Agreement, as
          amended, are hereby modified and amended as of the date hereof to: (i) increase the
          principal amount to ONE HUNDR ED THIRTY NINE MILLION NINE HUNDR ED
          SIXTY NINE THOUSA ND NINE HUNDR ED THIRTY DOLLARS AND SEVENT
                                                                                              Y
          FIVE CENTS ($139,969,930.75) (ii) reinstate the second paragraph of clause number 5
                                                                                              of
          the Loan Agreement, as amended, as stipulated originally in the Loan Agreement dated as
          of August 27, 2010, and (iii) to incorporate a set off clause if an Event of Default occurs (as
          defined in the Loan Agreement) to apply any available moneys of the Authority against
          the Loan, in accordance with the Loan Agreement.

                This Second Amendm ent to Promissory Note is executed in c0nnection with the
          Second Amendment to Loan Agreement between the Authority and the Bank, executed
          on this same date. All other provisions of the referenced Promissory Note not
          inconsistent with this Second Amendment to Promissory Note, shall remain unchanged,
          binding and in full force and effect.

                IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
          Authority have caused this Second Amendment to Promissory Note to be signed by its
          Acting Executive Subdirector, in San Juan, Puerto Rico, this_ day of February, 2011.

                                                     PUERTO RICO HIGHWAYS AND
                                                     : ~ ~ N AUTHORITY

                                                     N a m e ~ d e z Scimeca, CPA
                                                     Titl'.:J ~ Executive Subdirector
         Testimony No:-31'5-

                Acknowledged and subscribed before me by Javier HemAndez Scimeca, as Acting
         Executive Subdirector of the Puerto Rico Highway and Transportation Authority, of legal
         age, married and a resident of San Juan, Puerto Rico, who is personally known to me. In
         San Juan, Puerto Rico, on February 111-" 2011.




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Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
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                          THIRD AMENDMENT TO PROMISSORY NOTE
                                      (ALLONGE)

        $206,213,756.75                                                     Due:          August 27, 2013

             The terms of the Promissory Note in the principal amount of FORTY SEVEN
        MILLION THREE HUNDRED AND SIXTY TWO THOUSAND THREE HUNDRED
        FIFTY DOLLARS AND SEVENTY FIVE CENTS ($47,362,350.75) executed by Ruben A.
        Hernandez Gregorat, in hjs capacity as Executive Director of the PUERTO RICO
        HIGHWAY AND TRANSPORTATION AUlHORITY, to the order of the
        GOVERNMENT DEVELOPMENT BANK, on August 27, 2010, before Notary Public
        Marla de los Angeles Irizarry Lalo, as amended by a First Amendment to Promissory
        Note (Allonge) executed by the AUlHORITY on November 8, 2010 before Notary
        Public Marla de Lourdes Rodriguez; and as amended by a Second Amendment to
        Promissory Note (Allonge) executed by the AUfHORITY on February 14, 2011 before
        Notary Public Zoraya Betancourt Calzada; is hereby further amended on the date hereof
        to increase the maximum amount to TWO HUNDRED SIX MILLION TWO HUNDRED
        THIRTEEN THOUSAND SEVEN HUNDRED FIFTY SIX DOLLARS AND SEVENTY
        FIVE CENTS ($206,213,756.75).

               This Third Amendment to Promissory N,;,te is executed in connection with the
        Fourth Amendment to Loan Agreement between the Authority and the Bank, executed
        on this same date. All other provisions of the referenced Promissory Note, as amended,
        not inconsistent with this Third .. Amendment to Promissory Note, shall remain
        unchanged, binding and in full force and effect.

              IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
        Authority have caused this Third Amendment to Promissory Note to be signed by its
        Acting Executive Subdirector, in San Juan, Puerto Rico, this fl day of May ,,,C:::::::., 2011.

                                                   PUERTO RICO HIGHWAYS AND
                                                   T~AUTHORITY
                                                   By:
                                                   Rube~~n"st-~.2 e~r=nan=-d~e~z-G~r_e_g-or_a_t_ __
                                                   Secretary of Transportation and Public Works
                                                    and ·jlxecutive Director of the Puerto Rico
                                                    Highway and Transportation Authority


        Testimony No. 51(,, -

               Acknowledged· and subscribed before me by Ruben A. Hernandez Gregorat, as
        Secretary of Transportation and Public Works and Executive Director of the Puerto Rico
        Highway and Transportation Authority, of legal age, married and a resident of Guaynabo,
        Puerto Rico, personally known to me.                               ·

               In San Juan, Puerto Rico, on May   ll 2011.

                                                  1tlw arl~ ~~          Notary Public
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
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                           FOURTH AMENDMENT TO PROMISSORY NOTE
                                       (ALLONGE)

         $206,213,756.75                                             Due:         August 31, 2014

              The terms of the Promissory Note in the principal amount of FORTY SEVEN
         MILLION THREE HUNDRED SIXTY TWO THOUSAND THREE HUNDRED FIFTY
         DOLLARS AND SEVENTY FIVE CENTS "($47,362,350.75) executed by Rubfo A.
         Hernandez Gregorat, in his capacity as. Executive Director of the PUERTO RICO
         HIGHWAY AND TRANSPORTATION AUTHORITY (the "AUTHORITY"), to the
         order of the GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the
         "BANK"), on August 27, 2010, before Notary Public Marla de los Angeles Irizarry Lado,
         as amended by a First Amendment to Promissory Note (Allonge) executed by Javier
         Hernandez Scimeca, · in his capacity as Acting Executive Subdirector of the
         AUTHORITY on November 8, 2010, before Notary Public Marla de Lourdes Rodriguez;
         as amended by a Second Amendment to Promissory Note (Allonge) executed by Javier
         Hernandez Scimeca, in his capacity as Executive Subdirector of the AUTHORITY on
         February 14, 2011, before Notary Public Zoraya Betancourt Calzada; and as amended by
         a Third Amendment to Promissory Note (Allonge) executed by Ruben A. Hernandez
         Gregorat, in his capacity as Executive Director of the AUTI-IORITY on May 17, 2011 to
         increase the maximum amount to TWO HUNDRED SIX MILLION TWO HUNDRED
         THIRTEEN THOUSAND SEVEN HUNDRED FIFTY SIX DOLLARS AND SEVENTY
         FIVE CENTS ($206,213,756.75), before Notary Public Marfa de Lourdes Rodriguez; is
         hereby further amended to extend the maturity date to August 31, 2014.

               This Fourth Amendment to Promissory Note is executed in connection with the
         Seventh Amendment to Loan Agreement between the AUTI-IORITY and the BANK,
         executed on this same date. All other provisions of the referenced Promissory Note, as
         amended, not inconsistent with this Fourth Amendment to Promissory Note, shall
         remain unchanged, binding and in full force and effect.

               IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
         Authority have caused this Fourth Amendment to Promissory Note to be signed by its
         Executive Director, in San Juan, Puerto Rico, this .;1. g- day of August, 2013.

                                                 PUERTO RICO HIGHWAYS AND
                                                 TRANSPORTATION AUTHORITY




                                                      Executive Director


         Testimony No. 5 L/5

               Recognized and subscribed before me by Javier E. Ramos Hernandez, as
          Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
          age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
          known tome.

               In Sanjuan, Puerto Rico, onAugust;lil' 2013.



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                                                   &-~     /Notary Public
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16   Filed:03/31/21 Entered:10/27/21
                  Doc#:18815-9 Filed:10/27/21     Entered:03/31/2109:09:47
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                   FIFTH AMENDMENT TO PROMISSORY NOTE
                               (ALLON GE)

 $206,213,756.75                                                               Due:               August 31, 2015

       The terms of the Promissory Note in the principal amount of FORTY SEVEN
MILLION THREE HUNDRED SIXTY TWO THOUSAND THREE HUNDRED FIFTY
DOLLARS AND SEVENTY FIVE CENTS ($47,362,350.75) executed by
Ruben A. Hernandez Gregorat, in his capacity as Executive Director of the PUERTO
RICO HIGHWAY AND TRANSPORTATION AUTHORITY (the" AUTHORITY"), to
the order of the GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the
"BANK"), on August 27, 2010, before Notary Public Maria de los Angeles Irizarry Lado;
as amended by a First Amendment to Promissory Note (Allonge) executed by
Javier Hernandez Scimeca, in his capacity as Acting Executive Subdirector of the
AUTHORITY on November 8, 2010, before Notary Public Marfa de Lourdes Rodriguez;
as amended by a Second Amendment to Promissory Note (Allonge) executed by
Javier Hernandez Scimeca, in his capacity as Executive Subdirector of the AUTHORITY
on February 14, 2011, before Notary Public Zoraya Betancourt Calzada; as amended by a
Third Amendment to Promissory Note (Allonge) executed by Ruben A. Hernandez
Gregorat, in his capacity as Executive Director of the AUTHORITY on May 17, 2011 to
increase the maximum amount to TWO HUNDRED SIX MILLION TWO HUNDRED
THIRTEEN THOUSAND SEVEN HUNDRED FIFTY SIX DOLLARS AND SEVENTY
FIVE CENTS ($206,213,756.75), before Notary Public Maria de Lourdes Rodriguez; as
amended by a Fourth Amendment to Promissory Note (Allonge) executed by
Javier E Ramos Hernandez in his capacity as Executive Director of the AUTHORITY on
August 28, 2013, before Notary Public Belen Fornaris Alfaro; is hereby further amended to
extend the maturity date to August 31, 2015.

       This Fifth Amendment to Promissory Note is executed in connection with the
 Ninth Amendment to Loan Agreement between the AUTHORITY and the BANK,
 executed on this same date. All other provisions of the referenced Promissory Note, as
 amended, not inconsistent with this Fifth Amendment to Promissory Note, shall remain
 unchanged, binding and in full force and effect.

       IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
 Authority have caused this Fifth Amendment to Promissory Note to be signed by its
 Executive Director, in San Juan, Puerto Rico, this _J_ day of December, 2014.

                                         PUERTO RICO HIGHWAYS AND
                                         TRANSPORTATION AUTHORITY



                                         By:-=:=::;z~CZ::'.::'.«::::::"=---..:::CA--:::::.:__=--···-+-·:_·_
                                                    avier E. Ramos Hernandez
                                                    Executive Director
 Testimony No./,DfJf]

       Recognized and subscribed before me by Javier E. Ramos Hernandez, as
  Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
  age, married, engineer and resident of Bayamon, Puerto Rico, who is personally
  known tome.

                   , Puerto Rico, on December _J__, 2014.




                    EXENTO DEL PAGO DE ARANCEL
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Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
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                                                 PROMISSORY NOTE

           $70,937,649.25                                                          Due date: August 27, 2013
                   The PUERTOR ICO HIGHWAY AND TRANSPORTATION AUTHORITY
           (hereinafter called the "Authority"), a public corporation and autonomous instrumentality of the
           Commonwealth of Puerto Rico, for value received hereby promises to pay, solely from the
           sources described in the Loan Agreement . mentioned herein, to the_ order of Government
           Development Bank for Puerto ~co (the "Lender") at its principal office in San Juan, Puerto
           Rico, on August 27, 201 l, subject to prepaymel)t as set forth below, the principal sum of
           SEVENTY MILLION NINE HUNDRED THIRTY SEVEN THOUSAND SIX HUNDRED
           FORTY NINE DOLLARS WITH TWJ,;NTY FIVE CE_NTS ($70,937,649,25) to the extent
           that such amount or any portion thereof disbursed under the Loan Agreement executed on this
           same date remains unpaid. Such payment shall be made in any coin or currency of the United
           States of America which at the time of payment is legal tender for the .payment of public and
           private debts. The Authority hereby agrees to repay the outstanding aggregate principal amount
           of the Loan at the principal office of the Lender in San Juan, Puerto Rico, from proceeds of
           bonds to be issued by the Authority pursuant to the provisions _of the respective sections of the
           Resolutions or from any available moneys of the Authority.·

                    Each Advance shall b"ear interest daily from the date of disbursement until paid in full at a
           fluctuating annual rate of interest equal to one and one half percent (1.5%) over and above the
           Prime Rate, as determined from time IQ time in good faith by the Lender, or, upon written notice
           to the Authority,. at a variable rate of interest, which interest rate may be revised quarterly, per
           annum equal to the Lender's cost of funding for variable rate loan transactions or the cost of any
           other obligations or source of funds used to fund the Advance. For purposes of the preceding
           sentence, the cost of funding shall mean the applicable cost of any source of funds used to fund
           the Loan, plus in either case, a required margin cost. Initially, this required margin cost will be
           equal to 150 basis points. The required margin cost may be revised from time to time by the
           Lender to such an extent that when added to the applicable cost of funds, the interest rate so
           determined· and applicable to an Advance will provide for a total coverage of what the Lender
           determines to be its "all-inclusive" funding costs. For purposes of this Note, the applicable
           interest rate shall not exceed twelve (12) percent and shall not be less than six (6) percent.

                  Anything hereunder to the contrary notwithstanding, and 'tl\tiuiti\~ dice to any
          remedies_ofthe Lender provided hereunder or at law or in equity,     ,;_i\feresf"i:i!~J\w!icable to
          the outstanding principal amount of each Advance during any pe · ..?,whe11.-&1.Ev~!l,,;f Default
          shall have occurred and_ be continuing shall be four percent (4.0% <Mr
          interest rate (the "Default Rate").
                                                                                      tlJ'?
                                                                                      oih·e-·rwi~ '. plicable
                                                                              \ '" ·,, ,.,. /           _
                  Interest shall be payable monthly in  ~        not later than the t~tb,~ ~~ following
          receipt from the Lender of the statement referred to below, from any'iivai!hl;le-'fuoneys of the
          Authority. Each month the Lender shall furnish to the Authority a written staiement showing the
          amount of interest due and payable by the Autl)ority on all outstanding Advances for the preceding
          month. The Loan shall be junior and subordinate to outstanding bonds of the Authority and shall be
          subject to certain other terms and conditions, as set forth in the Loan Agreement (as defined below).
          Payment of principal and interest on the Loan shall be made in any coin or currency of the
          United States of America, which at the time of payment shall be legal tender for the payment of
          public and private debts.

                 This Note is under and pursuant to the Loan Agreement dated as of_August 27, 2010 (as
          modified and supplemented and in effect from time to time, the "Loan Agreement") between the
          Borrower and Government Development Bank for Puerto Rico, as Lender and evidences the
          Advances made by the Lender thereunder, and is subject to the terms thereof. Terms used but not
          defined in this Note have the respective meanings assigned to them in the Loan Agreement.

                 The Authority waives the requirement of demand, presentment, protest, notice of
          dishonor, and, in general, any other legal formality.

                If the Authority defaults in making any payment when due under this Note, the Lender
          may declare this Note to be immediately due and payable.
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
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                    In case of recourse to the courts by the Lender in order to collect the whole or any portion
            of the principal or interest due under this Note, the Administration agrees to·pay a·Jiquidated sum
            equal to I 0% of the principal sum of this Note to cover expenses of such proceedings, court
            costs, disbursements and attorney's fees, which amount will become immediately due and
            payable upon the filing of such judicial proceedings. ·

                   All acts, conditions and things required by the Puerto Rico Federal Relations Act and the
            Constitution and Laws of the Commonwealth of Puerto Rico to happen, exist, and be performed
            precedent to and in the issuance of this Note have happened, exist and have been performed as so
            required. 1bis Note shall be construed in accordance with the laws of the Commonwealth of
            Puerto Rico.

                   IN WITNESS WHEREOF, the Authority has caused this note to be signed by its
            Executive Director and· its corporate seal to be affixed hereto, in San. Juan, Puerto Rico, this
            27th day of August, 2010.                ·                      ·




                                            Name:      en A. Hernandez Gregorat
                                            Title: Secretary of Transportation and Public Works
                                                    and Executive Director · ·

           Affidavit No.l1::\_

                  · Acknowledged and subscribed before me in San Juan, Puerto Rico, on this 27th day of
          . Augtlst, 2010, by tbe following person who is personally known to me: Ruben A_. Hemmdez
            Gregorat, of legal age, married, executive and resident of Gtiaynabo, Puerto Rico, as Secretary of
            Transportation and Public· Works and Executive Director of tbe Puerto Rico Highway and
            Transportation Authority. ·
    Case:17-03283-LTS
    Case:17-03283-LTS Doc#:16276-16
                      Doc#:18815-9 Filed:10/27/21
                                      Filed:03/31/21 Entered:10/27/21
                                                      Entered:03/31/2109:09:47
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I
                                                FIRST AMEND MENT TO PROMIS SORY NOTE

l                             $89,752,969.25
                                                             (ALLON GE)

                                                                                         Due:       August 27, 2013

I                                    The terms of the PROMISSORY NOTE in the principal amount of SEVENTY
                              MILLIO N NINE HUNDRED THIRTY SEVEN THOUSA ND SIX HUNDR ED
                              FORTY NINE DOLLARS AND SEVENTY FIVE CENTS ($70,937,649,75) executed

l                             by Ruben A. Hermmdez Gregorat, in his capacity as Executive Director of the
                              PUERTO _RICO HIG,HWAY AND TRANSPORTATION AUTHORITY, to the order of
                              the GOVERNMENT DEVEW PMENT BANK on August 27, 2010, before Notary
                              Public Marla de las Angeles Irizarry Lalo, are hereby amended and modified as of
I                             the date hereof to: (i) increase the principal amount to EIGHTY NINE MILLION
                              SEVEN HUNDR ED FIFTY TWO THOUSA ND NINE HUNDR ED SIXTY NINE
                              DOLLAR S AND TWENTY FIVE CENTS ($89,752,969.25), and (ii) provide that if

l                             Borrower fails to pay th€ principal amount of the Loan, or ~ny part thereof, on the
                              date of niaturity of the Loan, the interest rate applicable to any such outstandi ng
                              principal amount, shall be as set forth in the Loan Agreement, as amended on the

I                             date hereof.

                                       This Allonge reflects ihe execution on the date hereof of the First Amendm ent
                             . to Loan Agreement, by and between Borrower. and Lender. Except as expressly

l                              amended hereby, all other terms and conditions of the referenced PROMISSORY
                               NOTE, shall remain unchange d and in full force and effect, and this Allonge shall not
                               affect any of the existing obligations of the Borrower under the PROMISSORY NOTE.

I                                   Executed in San Juan, Puerto Rico,· On Novembe1·   _a, 2010.
                                                           PUERTO RICO HIGHWAYS AND
                                                          TRANSPORTATION AUTHORITY


                                                          By:__::= i:c,g~_: __ _ _ _ _ __
                                                          Name: ) a ier HemAndez Scimeca, CPA
                                                          Title: Acting Executive Subdirector

                             Testimony No. 52   '1-
                                    Acknowledged and subscribed before_ me by Javier Hernandez Scimeca, as Acting

I                            Executive Subdirector of the Puerto ~~ghw ay and Transportation ~uthority, of
                             legal.age, 1narried and a resident of
                             to me.
                                                                            , Puel'to Rico, who is persOnally known
                                                                   ?v.-Ht_ --jli-S.

I                           -~, ,
                                    In San Juan, Puerto Rico, on Novembe r iL_, 2010.



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Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
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                            SECOND AMENDMENT TO PROMISSORY NOTE
                                        (ALLONGE)

          $124,592,410.25                                                  Due:       August 27, 2013

                 The terms of the Promissory Note in the principal amount of SEVENTY ·
          MILLION NINE HUNDRED THIRTY SEVEN THOUSAND SIX HUNDRED FORTY
          NINE DOLLARS AND SEVENTY FIVE CENTS ($70,937,649.75) executed by Ruben
          A. Hernandez Gregorat, in his capacity as Executive Director of the PUERTO RICO
          HIGHWAY AND TRANSPORTATION AUTHORITY, to the order of the
          GOVERNMENT DEVELOPMENT BANK on August 27, 2010, before Notary Public
          Marfa de los Angeles Irizarry Lalo, as amended by a First Amendment to Loan
          Agreement on November 8, 2010 to: (i) increase the principal amount to BIGHTY NINE
          MILLlON SEVEN HUNDRED FIFTY TWO THOUSAND NINE HUNDRED SDCTY
          NINE DOLLARS AND TWENTY FIVE CENTS ($89,752,969.25), and (ii) provide the
          interest rate applicable jf Borrower fails to pay the principal amount of the Loan, or any
          part thereof, on the date of maturity of the Loan, as set forth in the Loan Agreement, as
          amended, are hereby modified and amended as of the date hereof to: (i) increase the
          principal amount to ONE HUNDRED TWENTY FOUR MILLION FIVE HUNDRED
          NINETY 1WO THOUSAND FOUR HUNDRED TEN DOLLARS AND TWENTY
          FIVE CENTS ($124,592,410.25), (ii) reinstate the second paragraph of clause number 5 of
          the Loan Agreement, as amended, as stipulated originally in the Loan Agreement dated as
          of August 27, 2010, and (iii) to incorporate a set off clause jf an Event of Default occurs (as
          defined in the Loan Agreement) to apply any available moneys of the Authority agairu.1
          the Loan, in accordance with the Loan Agreement.

                This Second Amendment to Promissory Note is executed in connection with the
          Second Amendment to Loan Agreement between the Authority and the Bank, executed
          on this same date. All other provisions of the referenced Promissory Note not
          inconsistent with this Second Amendment to Promissory Note, shall remain unchanged,
          binding and. in full force and effect.

                IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
          Authority have caused this Second Amendment to Promissory Note to be signed by its
          Acting Executive Subdirector, in San Juan, Puerto Rico, this~ day of February, 2011.

                                                    PUERTO RICO HIGHWAYS AND
                                                    TRANSPORTATION AUTHORITY

                                                    By:~O.
                                                    Name~rnfuldez Scimeca, CPA
                                                    Title: ~ Executive Subdirector
          Testimony No.-31'!-

                 Acknowledged and subscribed before me by Javier Hernrndez Scimeca, as A,ei'i,lf •
          Executive Subdirector of the Puerto Rico Highway and Transportation Authority, of legal
          age, married and a resident of San Juan, Puerto Rico, who is personally known to me. In
          SanJuan,PuertoRico,onFebruary 14"' 2011.




          270'9
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
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                          THffiD AMENDMENT TO PROMISSORY NOTE
                                       (ALLONGE)

        $127,714,461;25                                                     Due: August 27, 2013

               The terms of the 'Promissory Note in the principal amount of SEVENTY
        MILLION NINE HUNDRED THIRTY SEVEN THOUSAND SIX HUNDRED FORTY .
        NINE DOLLARS AND SEVENTY FIVE CENTS ($70,937,649:75) executed by Ruben
        A. Hernandez Gregorat,. in his capacity as Executive Director of the PUERTO RICO
        HIGHWAY AND TRANSPORTATION AU1HORITY, · to the order of the
        GOVERNMENT DEVELOPMENT BANK on August 27, 2010, before Notary Public
        Marla de los Angeles Irizarry Lalo, as amended by a First Amendment to Promissory
        Note (Alionge) executed by the AUTHORITY on November 8, 2010 before Notary
        Public Maria de Lourdes Rodriguez; and as amended by a Second Amendment to
        Promissory Note (Allonge) e)lecuted by the AU1HORITY on February 14,2011 before
        Notary Public Zoraya Betancourt Calzada; is hereby further amended on the date-hereof
        to increase the maximum amount to ONE HUNDRED TWENTY SEVEr-/ MILLION
        SEVEN HUNDRED FOURTEEN THOUSAND FOUR HUNDRED SIXTY ONE
        DOLLARS AND TWENTY FIVE CENTS ($127,714,461.25).

                 This Third Amendment to Promissory Note is ex~cuted in connection with the
          Fourth Amendment to Loan Agreement between the Authority and the Bank, executed
          on this same date. Ali other provisions of the referenced Promissory Note, as amended,
       . not inconsistent with this Third Amendment to Promissory Note, shall remain
         ·unchanged, binding and in full force and effect.

              IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
        Authority have caused this Third Amendment to Promissory Note to be signed by its
        Executive Director, in San Juan, Puerto Rico, this /2..
                                                           day of May, 2011.      ·

                                                                  CO HIGHWAYS AND
                                                                      ON AUTIIORITY

                                                   By::+.!¼~==-c--::-:-----
                                                   Rube     . ernandez Gregorat
                                                   Secretary of Transportation and Public Works
                                                    and Executive Director of the Puerto Rico
                                                    Highway and Transportation Authority


        Testimony No ...515 .-/

              Acknowledged and subscribed before me by. Rubiln A. He.rnmdez Gregorat, as
         Secretary of Transportation and Public Works and Executive Director of the Puerto
         Rico Highway and Transportation Authority, of legal age, married and a resident of
         Guaynabo, Puerto Rico, personally known to me.

               In San Juan, Puerto Rico, on May   Jl, 2011.
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
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                           FOURTH AMENDMENT TO PROMISSORY NOTE
                                       (ALLONGE)

         $127,714,461.25                                                 Due: August 31, 2014


                The terms of the Promissory Note in the principal amount of SEVENTY
         MILLION NINE HUNDRED THIRTY SEVEN THOUSAND SIX HUNDRED FORTY
         NINE DOLLARS AND SEVENTY FIVE CENTS ($70,937,649.75) executed by Rub~n
         A. Hernandez Gregorat, in his capacity as Executive Director of the PUERTO RICO
         HIGHWAY AND TRANSPORTATION AUTHORITY (the "AUTHORITY"), to the
         order of the GOVERNMENT DEVELOPMENT BANK FOR PUERTO. RICO (the
         "BANK") on August 27, i010, before Notary Public Marla de los Angeles Irizarry Lado,
         as amended by a First Amendment to Promissory Note (Allonge) executed by Javier
         Hernandez Scimeca, in his capacity as Acting Executive Subdirector of the
         AUTHORITY on November 8, 2010, before Notary Public Marla de Lourdes Rodriguez;
         as amended by a Second Amendment to Promissory Note (Allonge) executed by Javier
         Hernandez Scimeca, in his capacity as Executive Subdirector of the AUTHORITY on
         February 14, 2011, before Notary Public Zoraya Betancourt Calzada; and as amended by
         a Third Amendment to Promissory Note (Allonge) executed by Ruben A. Hernandez
         Gregorat, in his capacity as Executive Director of the AUTHORITY on May 17, 2011 to
         increase the maximum amount to ONE HUNDRED TWENTY SEVEN MILLION
         SEVEN HUNDRED FOURTEEN THOUSAND FOUR HUNDRED SIXTY ONE
         DOLLARS AND TWENTY F1VE CENTS ($127,714,461.25), before Notary Public Marla
         de Lourdes Rodriguez; is hereby further amended to extend the maturity date to August
         31, 2014.

               This Fourth Amendment to Promissory Note is executed in connection with the
         Seventh Amendment to Loan Agreement between the AUTHORITY and the BANK,
         executed on this same date. All other provisions of the referenced Promissory Note, as
         amended, not inconsistent with this Fourth Amendment to Promissory Note, shall
         remain unchanged, binding and in full force and effect.

               IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
         Authority have caused this Fourth Amendment to Promissory Note to be signed by its
         Executive Director, in San Juan, Puerto Rico, this~ day of August, 2013.

                                                PUERTO RICO HIGHWAYS AND
                                                TRANSPORTATION AUTHORITY




         Testimony No. 5-ltf

               Recognized and subscribed before me by Javier E. Ramos Hernandez, as
          Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
          age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
          known tome.

                InSanJuan                    ugust   2Jr 2013.

     EXENTO DEL PAGO E
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                    FIFTH AMENDMENT TO PROMISSORY NOTE
                                (ALLON GE)

$127,714,461.25                                                   Due: August 31, 2015


       The terms of the Promissory Note in the principal amount of SEVENTY
MILLION NINE HUNDRED THIRTY SEVEN THOUSAND SIX HUNDRED FORTY
NINE DOLLARS AND SEVENTY FIVE CENTS ($70,937,649.75) executed by
Ruben A. Hernandez Gregorat, in his capacity as Executive Director of the PUERTO
RICO HIGHWAY AND TRANSPORTATION AUTHORITY (the "AUTHORITY"), to
the order of the GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the
"BANK") on August 27, 2010, before Notary Public Marfa de los Angeles Irizarry Lado,
as amended by a First Amendment to Promissory Note (Allonge) executed by
Javier Hernandez Scimeca, in his capacity as Acting Executive Subdirector of the
AUTHORITY on November 8, 2010, before Notary Public Marfa de Lourdes Rodriguez;
as amended by a Second Amendment to Promissory Note (Allonge) executed by
Javier Hernandez Scimeca, in his capacity as Executive Subdirector of the AUTHORITY
on February 14, 2011, before Notary Public Zoraya Betancourt Calzada; as amended by a
Third Amendment to Promissory Note (Allonge) executed by Ruben A. Hernandez
Gregorat, in his capacity as Executive Director of the AUTHORITY on May 17, 2011 to
increase the maximum amount to ONE HUNDRED TWENTY SEVEN MILLION
SEVEN HUNDRED FOURTEEN THOUSAND FOUR HUNDRED SIXTY ONE
DOLLARS AND TWENTY FIVE CENTS ($127,714,461.25), before Notary Public
Marfa de Lourdes Rodriguez; as amended by a Fourth Amendment to Promissory Note
(Allonge) executed by Javier E. Ramos Hernandez in his capacity as Executive Director of
the AUTHORITY on August 28, 2013, before Notary Public Belen Fornaris Alfaro; is
hereby further amended to extend the maturity date to August 31, 2015.

       This Fifth Amendment to Promissory Note is executed in connection with the
 Ninth Amendment to Loan Agreement between the AUTHORITY and the BANK,
 executed on this same date. All other provisions of the referenced Promissory Note, as
 amended, not inconsistent with this Fifth Amendment to Promissory Note, shall remain
 unchanged, binding and in full force and effect.

       IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
 Authority have caused this Fifth Amendment to Promissory Note to be signed by its
 Executive Director, in San Juan, Puerto Rico, this ..:l___ day of December, 2014.

                                          PUERTO RICO HIGHWAYS AND
                                          TRANSPORTATION AUTHORITY



                                          ~--A= CA-/
                                                Javier E. Ramos Heu(andez
                                                Executive Director
 Testimony No./, DOS'

      Recognized and subscribed before me by Javier E. Ramos Hernandez, as
 Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
 age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
 known tome.

                  an, Puerto Rico, on December .!j-, 2014.




                                          ~
                    EXENTO DEL PAGO DE ARANCEL
                     LEY 47 DE 4 DE JUNIO DE 198Z.
     Case:17-03283-LTS
     Case:17-03283-LTS Doc#:16276-16
                       Doc#:18815-9 Filed:10/27/21
                                       Filed:03/31/21 Entered:10/27/21
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l
                                                                      PROMISSORY NOTE

l                                $7,350,000                                                     Due date: August 27, 2013
                                         The PUERTO RICO HIGHWAY AND TRANSPOR TATION AUTHORITY
                                 (hereinafter called the "Authority"), a public . corporation and autonomous
                                 instrumentality of the Commonwea lth of Puerto Rico, for value received hereby
                                 promi~es to pay, solely from the sources described in the Loan Agreement mentioned

l                                hereil), to the order of Government Developmen t Bank for Puerto Rico (the "Lender")
                                 at its prineipal office in San Juan, Puerto Ric_o, on August 27, 2011, subject to
                                 prepayment as set forth below, the principal sum of SEVEN MILLION THREE
                               . HUNDERED FIFTY DOLLARS ($7,350,000) to the extent that such amount or any

l                               portion thereof disbursed under the Loan Ag,_'eement executed on this same date
                                remains Unpciid. Such payment _shall be made in any coin or currency of the United
                                 States of America which at the time of payment is legal tender for the payment of
                                . public and private debts .. The Authority hereby agrees to repay the outstanding
                                  aggregate .principal amount of the Loan at the principal office of the Lender in
                                 San Juan, -Pu.erto Rita, _as set forth in the Loan Agreen1ent 1nentioned herein.

l                                       Each Advance shall bear interest daily from the date of disbursemen t until
                                paid in full at a fluctuating annu~l rate of interest· equal to one and one half percent
                                · (1.5%) oyer and above the Prime Rate, as determined from time to time in good faith
                                  by the Lender, or, -upon written.notic e to the Authority, at a variable rate of interest,
                                which interest rate may Pe revised quaiterly, per annum equal to the Lender's <;ost of
                                f1:,1ncling for variaQle rate loan transactions or the cost of any other obligations or
                                source of funds used to fund. the Advance. For purposes of the preceding seritence,
                                the cost of funding shall mean the applicable cost of any source of funds used to fund
                                the Loan, plus in either case, a required margin cost. Initially, this requi_red margin
                                cost will be equal to 150 basis points. The required margin cost may ~ revised from
                                time to time by the Lender to such an extent that when added to the applicable cost
                                of funds, the interest rate so determined and applicable to an Advance will provide
                                for a total coverage ofwhat the Lender determines to be its."all-inclusive" funding
                                costs. For purposes of this Note, the applicable interest rate shall not exceed twelve
                                (12) j,erce11t ·and shall not be less than six (6) percent.

                                       Anything hereunder to the contrary notwithstand ing, arid without p1·ejudice
                                to any remedies of the Lender p1·ovided hereunder or at law or in equity, if Borrower
                                fails to pay the principal amount of the Loan, or any part thereof on the date of
                                  maturity of the Loan, the interest rate applicable to any snch outstanding principal
                      .------....am , r,t shall be as set forth in the Loan Agreement.
                                         .      .                 .
                                             terest shall be payable monthly in arrears not later than the tenth Banking Day
                                               receipt from the Lender of the· statement refen·ed to 1:?elow, from any
                                              moneys of the Authority. Each month the Lender shall furnish to the
                                         ya written statement showing the am.aunt of interest due and payable by the
                                         y on all outstanding Advances for the preceding month. The Loan shall be
                                         d subordinate to outstanding bonds of the Authority and shall be subject to
                                         ther terms and conditions, as set forth in the Loan Agreement (as defined
                                       . PayJ?.lent of principal and interest on the Loan shall be made in any coin or
                                currency of the 'United States of America, which at the time qf payment shall be legal
                                tender for the payment of public and private debts.
·1
                                       This Note is under and pursuant to the J:..oan Agreement dated as of
                                August 7, 2010, as amended on the date hereof, (as modifie&a_nd supple_mented and
                                in effect from time to time, the "Loan Agreement") between the Borrower and the
                                Government Developmen t Bank for Puerto Rico, as Lender and evidences the
                                Advances made by the Lender thereunder, and is subject to the terms thereof. Terms




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                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
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                            FIRST AMENDMENT TO PROMISSORY NOTE
                                          (ALLONGE)

          $7,350,000                                                 Due:       August 31, 2014


                The tenns of the Promissory Note in the principal amount of SEVEN MILLION
          THREE HUNDRED FIFTY THOUSAND DOLLARS ($7,350,000) executed by Javier
          Hernandez Scimeca, in his capacity as Acting Executive Subdirector of the PUERTO
          RICO HIGHWAY AND TRANSPORTATION AUTHORITY (the "AUTHORITY"), to
          the order of the GOVERNMENT DEVELOPMENT .BANK FOR PUERTO RICO (the
          "BANK"), on November 8, 2010, before Notary Public Maria de Lourdes Rodriguez, is
          hereby am~nded to extend the maturity date to August 31, 2014.

                This First Amendment to Promissory Note is executed in connection with the
          Seventh Amendment to Loan Agreement between the AUTHORITY and the BANK,
          executed on this same date. All other provisions of the referenced Promissory Note, as
          amended, not inconsistent with this First Amendment to Promissory Note, shall remain
          unchanged, binding and in full force and effect.

                IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
          Authority have caused this First Amendment to Promissory Note to be signed by its
          Executive Director, in San Juan, Puerto Rico, this ilf.. day of August, 2013.

                                                  PlJERTO RICO HIGHWAYS AND
                                                  TRANSPORTATION AUTIIORITY




                                                                              dez



          Testimony No. 5 L/<€

                Recognized and subscribed before me by Javier E. Ramos Hernandez, as
           Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
           age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
           known tome.

                In San Juan, Puerto Rico, on August .2.1?' 2013.




                                                               ~blic


       · EXENTO DEL P/!l
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    Case:17-03283-LTS
    Case:17-03283-LTS Doc#:16276-16   Filed:03/31/21 Entered:10/27/21
                      Doc#:18815-9 Filed:10/27/21     Entered:03/31/2109:09:47
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                     SECOND AMENDMENT TO PROMISSORY NOTE
                                   (ALLON GE)

     $7,350,000                                                 Due:       August 31, 2015


            The terms of the Promissory Note in the principal amount of SEVEN MILLION
     THREE HUNDRED FIFTY THOUSAND DOLLARS ($7,350,000) executed by
     Javier Hernandez Scimeca, in his capacity as Acting Executive Subdirector of the
     PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY (the
     "AUTHORITY"), to the order of the GOVERNMENT DEVELOPMENT BANK FOR
     PUERTO RICO (the "BANK") on November 8, 2010, before Notary Public Marfa de
     Lourdes Rodriguez; as amended by a First Amendment to Promissory Note (Allonge)
     executed by Javier E. Ramos Hernandez in his capacity as Executive Director of the
     AUTHORITY on August 28, 2013, before Notary Public Belen Fornaris Alfaro; is hereby
     amended to extend the maturity date to August 31, 2015.

           This Second Amendment to Promissory Note is executed in connection with the
     Ninth Amendment to Loan Agreement between the AUTHORITY and the BANK,
     executed on this same date. All other provisions of the referenced Promissory Note, as
     amended, not inconsistent with this Second First Amendment to Promissory Note, shall
     remain unchanged, binding and in full force and effect.

           IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation



r
     Authority have caused this Second Amendment to Promissory Note to be signed by its
     Executive Director, in San Juan, Puerto Rico, this 'l day of December, 2014.

                                            PUERTO RICO HIGHWAYS AND
                                            TRANSPORTATION AUTHORITY




                                                  Javier E. Ramos Herl)' dez
                                                  Executive Director


     Testimony No.1 1D01-

           Recognized and subscribed before me by Javier E. Ramos Hernandez, as
      Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
      age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
      known tome.

           In San Juan, Puerto Rico, on December _j_, 2014.




                                           ~             NotaryPubiic



                                  EXENTO DEL PAGO DE ARANCEL
                                   ' EY 47 DE 4 DE JUNIO DE 1982
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
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                                          PROMISSORY NOTE



        $24,000,000                                                Due date: Augµst 27, 2013


                    FOR    VALUE      REClllVED,      POERTO RlCO          HIGHWAY          ANO
        TRANSPORTATION AU'l'HORITY (hereinafter called the "Authority"),
        AUTHORITY, a public corporation and governmental instrumentality of the
        Commonwealth o( Puerto Rico (the "Borrower"}, hereby promises to pay to
        Government Development Bank for Puerfo Rico (the "Lender"), for account o.f its
        applicable lending office provided .for by the Third Amendment to Loan Agreement
        r~ened to below, at. the offices of Government Development Bank for Puerto Rico,
        SanJu1;1n, Puerto Rico, \he principal sum of TWENTY FOUR MILLION DOLLARS
        ($24,000,000) (or such less¢< amount as shall equal the aggregate unpaid prindpal
        amount of the Advance.s made by the Lender to the llorrower under the Third
        Amendment to Loan.Agreemeitt), In lawful money of the UIJ,ited States of America and
         in itxmtecliate!y available funds,. on the date and in \he prii:,cipal amqunts provided in
         the Third Mnendment to Loan Agreement, and to pay il:tterest on. the unpaid prhwipal
         amount of each Advance, at such offices, in like money and funds, for the period
         comrnenctng on the date of such Advance until such Advance shall be paid in full, at
         the rates per annum and on the elates provided in the Third Amendment to Loan
         Agreement,

               This Note is under and pursuant to the Third Amendment to Loan Agreement
         execu\¢d on.this same date l,etween the Borrower and Government Development Bank
         for Puerto Rico, .as Lender and eyidences Advances rnade by the Lender thereunder,
         and is subject to the terms thereof. Terms, .used but not defined in this Note have the
         respective meanings assigned to them in the.Third Amendment to Loan Agreement.

               This Note shall be governed by, and construed in accordance with, the Jaws of
         the Commonwealth ofPuerto Rico.

                    IN WITNESS W}l;EREOF, th" AUTHORITY has caused this note to be signed by
         its Exec11tive P\rector and its corporate seal to be affixed hereto, in San Juan,
         Puerto Rico, on April~ 2011.

                                      PUERTO RICO l:lIGJlWAY AND TRANSPORTATION
                     AUTl:lORITY


                                             ,,oo,.._
                                                 Secretary of Transportation and Public Works
                                                 and Executive Director of PREITA

          Testimony No,.8'15
           Recognlz~d and subscribed before me by Ruben A. Hernandez Gregorat, as Secretary
           of Transportation and Public Works and Executive Director of the Puerto Rico
           Highway and Transportation Authority, of legal age, married, and resident of
           Gu8.ynabo, Puerto Rico, personally known to me.

                     In San Juan, Puerto Rico, on April ±, 2011.




           27,224
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
                                                  Entered:03/31/2109:09:47
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                      Monolines
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                           FIRST AMENDMENT TO PROMISSORY NOTE
                                       (ALLON GE)

         $24,000,000                                                     Due: August 31, 2014

              The terms of the Promissory Note in the principal amount of TWENTY FOUR
         MILLION DOLLARS ($24,000,000) executed by Ruben A. Hernandez Gregorat, in his
         capacity as Executive Director of the PUERTO RICO HIGHWAY AND
         TRANSPORTATION AUTHORITY (the "AUTHORITY") to the order of the
         GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the "BANK") on April
         28, 2011, before Notary Public Zoraya Betancourt Calzada, is hereby amended to extend
         the maturity date to August 31, 2014.

               This First Amendment to Promissory Note is executed in connection with the
         Seventh Amendment to Loan Agreement between the AUTHORITY and the BANK,
         executed on this same date. All other provisions of the referenced Promissory Note, as
         amended, not inconsistent with this First Amendment to Promissory Note, shall remain
         unchanged, binding and in full force and effect.

               IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
         Authority have caused this First Amendment to Promissory Note to be signed by its
         Executive Director, in San Juan, Puerto Rico, this~ day of August, 2013.

                                                PUERTO RICO HIGHWAYS AND
                                                TRANSPORTATION AUTHORITY




                                                                        emandez



         Testimony No..fil%

               Recognized and subscribed before me by Javier E. Ramos Hernandez, as
          Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
          age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
          known tome.

               In San Juan, Puerto Rico, on August~ 2013.




    EXENTO Dl!L PAGO
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Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
                                                  Entered:03/31/2109:09:47
                                                                  22:38:21 Desc:
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                      Monolines
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                           SECOND AMEND MENT TO PROMISSORY NOTE
                                        (ALLONGE)

          $26,852,836                                                        Due: August 31, 2014
                 The terms of the Promissory Note in the principal amount of TWENTY FOUR
          MILLION DOLLARS ($24,000,000) executed by RuMn A. Hernand ez Gregorat in
                                                                                               his
          capacity as Executive Director of the PUERTO RICO HIGHWAY AND
          TRANSPORTATION AUTHORITY (the "AUTHORITY") to the order of the
          GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the "BANK" ) on April
          28, 2011 before Notary Public Zoraya Betancourt Calzada, as amended by a First
          Amendm ent to Promissory Note (Allonge) executed by Javier E. Ramos Hernandez, in his
          capacity as Executive Director of the AUTHORITY on August 28, 2013 to extend the
          maturity date to August 31, 2014, before notary public Belen Fornaris Alfaro, is hereby
          further amended to increase the maximum amount to TWENTY SIX MILLION EIGHT
          HUNDR ED FIFTY 1WO THOUSA ND EIGHT HUNDRE D TIIIRTY SIX DOLLAR
                                                                        S
          ($26,852,836).

                This Second Amendm ent to Promissory Note is executed in connection with the
          Eighth Amendm ent to Loan Agreement between the AUTHORITY and the BANK,
          executed on this same date. All other provisions of the referenced Promissory Note, as
          amended , not inconsistent with this Second Amendm ent to Promissory Note, shall
          remain unchanged, binding and in full force and effect.

                IN WITNES~ WHEREOF, the Puerto Rico Highway and Transportation
          Authority have caused this Second Amendm ent to Promissory Note to be signed by its
          Executive Director, in San Juan, Puerto Rico, this 11 day of October, 2013.

                                                  PUERTO RICO HIGHWAYS AND
                                                  TRANSPORTATION AUTHORITY



                                                 By:

                                                       Executive Director




         Testimony No. 5j'f'

               Recognized and subscribed before me by Javier E. Ramos Hernand ez, as
          Executive Director of the Puerto Rico Highway and Transpor tation Authority, of legal
          age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
          known tome.

               In San Juan, Puerto Rico, on October f!:_, 2013.




                                                             ~otary Public

                                         DEL PAGO DE ARANCEL
                                          E 4 DE JUNIO DE 1982
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16   Filed:03/31/21 Entered:10/27/21
                  Doc#:18815-9 Filed:10/27/21     Entered:03/31/2109:09:47
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                         Exhibit A-16
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                                         Page84110
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                   THIRD AMENDMENT TO PROMISSORY NOTE
                               (ALLON GE)

$26,852,836                                                         Due: August 31, 2015

        The terms of the Promissory Note in the principal amount of TWENTY FOUR
 MILLION DOLLARS ($24,000,000) executed by Ruben A. Hernandez Gregorat in his
 capacity as Executive Director of the PUERTO RICO HIGHWAY AND
 TRANSPORTATION AUTHORITY (the "AUTHORITY") to the order of the
 GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the "BANK") on
 April 28, 2011 before Notary Public Zoraya Betancourt Calzada, as amended by a (i) First
 Amendment to Promissory Note (Allonge) executed on August 28, 2013 by
 Javier E. Ramos Hernandez, in his capacity as Executive Director of the AUTHORITY,
 before Notary Public Belen Fomaris Alfaro, to extend the maturity date to
 August 31, 2014, and by a (ii) Second Amendment to Promissory Note (Allonge) executed
 on October 17, 2013 by Javier E. Ramos Hernandez, in his capacity as Executive Director of
 the AUTHORITY, before Notary Public Belen Fomaris Alfaro, to increase the maximum
 amount to TWENTY SIX MILLION EIGHT HUNDRED FIFTY TWO THOUSAND
 EIGHT HUNDRED THIRTY SIX DOLLARS ($26,852,836), is hereby further amended to
 extend its maturity date to August 31, 2015.

       This Third Amendment to Promissory Note is executed in connection with the
 Ninth Amendment to Loan Agreement between the AUTHORITY and the BANK,
 executed on this same date. All other provisions of the referenced Promissory Note, as
 amended, not inconsistent with this Third Amendment to Promissory Note, shall
 remain unchanged, binding and in full force and effect.

       IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
 Authority have caused this Third Amendment to Promissory Note to be signed by its
 Executive Director, in San Juan, Puerto Rico, this _2__ day of December, 2014.

                                          PUERTO RICO HIGHWAYS AND
                                          TRANSPORTATION AUTHORITY




                                                avier E. Ramos He~dez
                                                Executive Director




 Testimony No. I, Dllt

       Recognized and subscribed before me by Javier E. Ramos Hernandez, as
  Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
  age, married, engineer and resident of Bayamon, Puerto Rico, who is personally
  known tome.

        In San Juan, Puerto Rico, on December    1 ,2014.


                                         c¥d2,~        Notary Public


                                EXENTO DEL PAGO DE ARANCEL
                                 I EY 47 DE 4 DE JUNIO DE 1982
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
                                                  Entered:03/31/2109:09:47
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                         Exhibit A-16
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                                         Page85111
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                                                    of 167
                                                 PROMISSORY NOTE



      $4,700;000                                                            Due date: August 27, 2013


              FOR       VALl.JE      RECEIVED,       PUERTORICO         HlGHWAY            AND
       TRAfl/SPORTATION           AOTHO)UTY        (hereinafter called    the "Authority"),
       AUTFrORITY, a public corporation a.nd governmental instrumentality of the
       Commonwealth of :Puerto Rko (the "Borrower"), hei:eby promises to pay to
       Govei;nment Development B;mk for Puerto Rico (the "Lender"), for account of.its
       applicable lending office provided fqr by the Third Amem;lment to Loan Agreement
       re£erre.dto below, at the offices of Government Development Bank for Puerto Rko, San
       Juan, Puerto Rico, the principal sum of FOUR MILLlON SEVEN HONORED
       THOUSAND DOLLARS ($4,700,000) (or such lesser amount as shall equal the
       aggregate unpaid principal amount of the Advances made by the Lender to the
       Borrower under the Third Amendment to Loan Agreement), in lawful money of the
       United State.s of America and in immediately available funds, on the date and in the
       principal amounts provided in the Third Amendme.nt to Loan Agreement, and to pay
       inter.est on the unpaid principal amount of each Advance, at such offices, in like mo»ey
       and. funds, for the period commendng on the date of sw;h Advance until such Advance
       shall be paid in full, at the rates per annum and on the dates provided in the Third
        Amendment to Loan Agreement.

              This Note is. under and pursuant to the Third Amendment to Loan Agreement
       ex~uted on this same date between the Borrower and Government Development Bank
       for Puer-tQ Rico, as Lender and evidences Advances made by the Lender there-qp.der,
       and is subj~t to the terms thereat Terms used but· nc;it defined in this. Note have the
       respective·meanings assigned to them in the Third Amend,nent \o Loan Agreement.

              This Note shall be governed by, anct construed in accord.ance with, the laws of
        the commonwealth of Puer.to Rico.

              IN WITNESS. WHEll)lOF, the AUTHORITY has caused this note to be signed by
        its Executive· Director ahd its corporate seal ta be affixed heret6, in San Juan,
        Puerto Rico, .On April~ 2011.

                                                          PUERTO RICO HIGHWAY AND
                                                          TRA PO ·• . !'.ON AUTHORITY


                                                    By:~~~·~·~=:::_·--::-------
                                                         ~                Gregorat,
                                                     Secretary of Transportation and Public Works
                                                      and Executive Director of PRHTA


        Testimony No .•M'I
         R~ccgn:i._z¢d artd -,uQ:scribed before me by Rul,en A, HernanQ..ez Gregorat, a$ Secretary
         of Transportation and Public .Works anct Executive Director of the Puerto Rico
         Highway an({ Transportation Authority, of legal age, married, and resident of
         ou:aynabo, Puerto Rico, personally known to me.

               In Sa ·            .        to Rico, on April   £, 2011.

                   ,..~                                                         ··-=-·----
                                                                               =·
                                                           --'~:=::i::.:c..+--=-~.>1g.·
                      _-IJ~,,,,•. i~\\.~                                     Notary P\lblic
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
                                                  Entered:03/31/2109:09:47
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                         Exhibit A-16
                                 Ex. 51Page
                                         Page86112
                                                of 114
                                                    of 167

                          FIRST AMENDMENT TO.PROMISSORY NOTE
                                      (ALLONGE)

        $16,252,489                                                       Due: August 27, 2013

             The terms of the Promissory Note in the principal amount of FOUR MILLION
        SEVEN HUNDRED THOUSAND DOLLARS ($4,700,000) executed by Ruben A.
        Hernandez Gregorat in "ins capacity as Executive Director of the PUERTO RICO
        HIGHWAY AND TRANSPORTATION AUTHORITY to the order of the
        GOVERNMENT DEVELOPMENT BANK on April 28, 2011 before Notary Public
        Zoraya Betancourt Calzada, is hereby amended on the date hereof to increase the
        maximum amount to SIXTEEN Mll,LION 1WO HUNDRED FIF1'Y 1WO THOUSAND
        FOUR HUNDRED EIGHTY NINE DOLLARS ($16,252,489).

              This First Amendment to Promissory Note is executed in connection with the
        Fourth Amendment to Loan Agreement between the Authority and the Bank, executed
        on this same date. All other provisions of ·the referenced Promissory Note not
        inconsistent with this First Amendment to Promissory Note, shall remain unchanged,
        binding and in full force and effect.

              IN WITNESS WHEREOF, . the Puerto Rico Highway and Transportation
        Authority have caused this First Amendment to,,P,p}missory Note to be signed by its
        Executive Director, in San Juan, Puerto Rico, this 1.../day of May, 2011.




                                                By:
                                                Rubbie~n~~iGiianct;;;i;e~z~G~r;e~go~r;att--'--
                                                Secretary of Transportation and.Public Works
                                                 and Executive Director of the Puerto Rico
                                                 Highway and Transportation Authority




        TeslimonyNo . .51] -

              Acknowledged and subscribed before me by Ruben A. Hernandez Gregorat, as
         Secretary of Transportation and Public Works and Executive Director of the Puerto Rico
         Highway and Transportation Authority, of legal age, married and a resident of Guaynabo,
         Puerto Rico,.personally known to me.

               In San Juan, Puerto Rico, on May f l 2011.
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
                                                   Entered:03/31/2109:09:47
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                   SECOND  AMENDMENT
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                         Exhibit A-16    TO
                                 Ex. 51Page PROMISSORY
                                          Page87113
                                                 of 114   NOTE
                                                     of 167
                                              (ALLONGE)

          $16,252,489                                                      Due: August 31, 2014

                 The terms of the Promissory Note in the principal amount of FOUR MILLION
         SEVEN HUNDRED THOUSAND DOLLARS ($4,700,000) executed by RuMn A.
         Hernmdez Gregorat, in his capacity as Executive Director of the PUERTO RICO
         HIGHWAY AND TRANSPORTATION AUTHORITY (the" AUTHORITY") to the order
         of the GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the "BANK") on
         April 28, 2011, before Notary Public Zoraya Betancourt Calzada, as amended by a First
         Amendment to Promissory Note (Allonge) executed by RuMn A. Hernmdez Gregorat,
         in his capacity as Executive Director of the AUTHORITY on May 17, 2011 to increase the
         maximum amount to SIXTEEN MILLION 1WO HUNDRED FIFTY 1WO THOUSAND
         FOUR HUNDRED EIGHTY NINE DOLLARS ($16,252,489), before Notary Public Marla
         de Lourdes Rodriguez, is hereby further amended to extend the maturity date to August
         31, 2014.

               This Second Amendment to Promissory Note is executed in connection with the
         Seventh Amendment to Loan Agreement between the AUTHORITY and the BANK,
         executed on this same date. All other provisions of the referenced Promissory Note, as
         amended, not inconsistent with this Second Amendment to Promissory Note, shall
         remain unchanged, binding and in full force and effect.

               IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
         Authority have caused this Second Amendment to Promissory Note to be signed by its
                                                        U
         Executive Director, in San Juan, Puerto Rico, this day of August, 2013.

                                                PUERTO RICO HIGHWAYS AND
                                                TRANSPORTATION AUTHORITY



                                                By:

                                                      Executive Director


         Testimony No. 5'ff-

               Recognized and subscribed before me by Javier E. Ramos Hernmdez, as
          Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
          age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
          known tome.

                In San Juan, Puerto Rico, on August Jfr 2013.




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    Case:17-03283-LTS
    Case:17-03283-LTS Doc#:16276-16   Filed:03/31/21 Entered:10/27/21
                      Doc#:18815-9 Filed:10/27/21     Entered:03/31/2109:09:47
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                             Exhibit A-16
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                                                        of 167
                      THIRD AMENDMENT TO PROMISSORY NOTE
                                  (ALLON GE)

     $16,252,489                                                      Due: August 31, 2015

            The terms of the Promissory Note in the principal amount of FOUR MILLION
     SEVEN HUNDRED THOUSAND DOLLARS                           ($4,700,000) executed by
     Ruben A. Hernandez Gregorat, in his capacity as Executive Director of the PUERTO
     RICO HIGHWAY AND TRANSPORTATION AUTHORITY (the" AUTHORITY") to the
     order of the GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the
     "BANK") on April 28, 2011, before Notary Public Zoraya Betancourt Calzada; as
     amended by a First Amendment to Promissory Note (Allonge) executed by Ruben A.
     Hernandez Gregorat, in his capacity as Executive Director of the AUTHORITY on May
     17, 2011 to increase the maximum amount to SIXTEEN MILLION TWO HUNDRED
     FIFTY TWO THOUSAND FOUR HUNDRED EIGHTY NINE DOLLARS ($16,252,489),
     before Notary Public Marfa de Lourdes Rodriguez; as amended by a Second Amendment
     to Promissory Note (Allonge) executed by Javier E. Ramos Hernandez in his capacity as
     Executive Director of the AUTHORITY on August 28, 2013, before Notary Public Belen
     Fornaris Alfaro, is hereby further amended to extend the maturity date to August 31,
     2015.

           This Third Amendment to Promissory Note is executed in connection with the
     Ninth Amendment to Loan Agreement between the AUTHORITY and the BANK,
     executed on this same date. All other provisions of the referenced Promissory Note, as
     amended, not inconsistent with this Third Amendment to Promissory Note, shall
     remain unchanged, binding and in full force and effect.


t          IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
     Authority have caused this Third Amendment to Promissory Note to be signed by its
     Executive Director, in San Juan, Puerto Rico, this _f_ day of December, 2014.

                                             PUERTO RICO HIGHWAYS AND
                                             TRANSPORTATION AUTHORITY



                                             B~~:=:'.'::_.:::::U"--~
                                                                _ _,..-L___
                                                    avier E. Ramos Hernandez
                                                   Executive Director


    Testimony No. /, DD~

          Recognized and subscribed before me by Javier E. Ramos Hernandez, as
     Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
     age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
     known tome.

           In San Juan, Puerto Rico, on December __j__, 2014.




                           EXENTO DEL PAGO DE ARANCEL
                            LEY 47 DE 4 DE JUNIO DE 1982
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
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                         Exhibit A-16
                                 Ex. 51Page
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                                                of 114
                                                    of 167
                                         PROMISSORY NOTE

        $21,791,245                                                Due date: August 27, 2013


              FOR      VALUE       RECEIVED,        PUERTO       RICO.     HIGHWAY         AND
        TRANSPORTATION Al,JTHORITY (hereinafter called the "Authority"),
        AUTHORITY, a public corporation and governmental instrumentality of the
        Commonwealth of Puerto Rico (the "Borrower"), hereby promises to pay to
        Goverrunent Development Bank for Puerto Rico (the "Lender"), for account of its
        applicable lending office provided for by the Fourth Amendment to Loan Agreement
        referred to below, at the offices of Government Development Bank for Puerto Rico, San
        Juan, Puerto Rico, the principal sum of TWENTY ONE MILLION SEVEN HUNDRED
        NINETY ONE THOUSAND TWO HUNDRED FORTY FIVE DOLLARS ($21,791,245)
        (or such lesser amount as shall equal the aggregate unpaid principal amount -of the
        Advances made by the Lender to the Borrower under the Fourth Amendment to Loan
        Agreement), in lawful money of the United States of America and in immediately
        available funds, on the date and in the principal amounts provided in the Fourth
        Amendment to Loan Agreement, and to pay interest on the unpaid principal amount of
        each Advance, at such offices, in like money and funds, for the period commencing on
        the date of such Advance until such Advance shall be paid in full, at the rates per
        annum and on the dates provided in the Fourth Amendment to Loan Agreement.

               This Note is under and pursuant to the Fourth Amendment to Loan Agreement
        ·executed on this same date between the Borrower and Government Development Bank
        for Puerto Rico, as Lender and evidences Advances made by the Lender thereunder,
        and is subject to the terms thereof, as it may be amended from time to time. Terms used
        but not defined in this Note have the respective meanings assigned to them in the Third
         Amendment to Loah Agreement.

              This Note shall be governed by, and construed in accordance·with, the laws of
        the Commonwealth of Puerto Rico ..

                IN WITNESS WHEREOF, the AUTIIORITY _has caused~ note to be signed by

        ~m~a~.
       . its Executive Director and its corporate seal to be affixed hereto, in San "Juan, Puerto
                                                                                                    .
                                                PUERTO RICO HIGHWAY AND
                                                TRAN P . TATION AUTHORITY



                                          By: ±-;+,-~'::::,.L-:---:c----,------
                                              .-~.,,"'"'~. ernandez Gregorat,
                                              Secretary of Transportation and Public Works
                                                and Executive Director of the Puerto Rico
                                                Highway and Transportation Authority

        Testimony No. SJ'?

               Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
        Secretary of Transportation and Public Works and Executive Director.of the Puerto Rico
        Highway and Transportation Authority, of legal age, married, and resident of
        Gu         Puerto Rico, personally known to me.
             ES
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16
                  Doc#:18815-9 Filed:10/27/21
                                  Filed:03/31/21 Entered:10/27/21
                                                  Entered:03/31/2109:09:47
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                      Monolines
                         Exhibit A-16
                                 Ex. 51Page
                                         Page90116
                                                of 114
                                                    of 167
                            FIRST AMENDMENT TO PROMISSORY NOTE
                                        (ALLONGE)

         $21,791,245                                                      Due: August 31, 2014

              The terms of the Promissory Note in the principal amount of TWENTY ONE
         MILLION SEVEN HUNDRED NINETY ONE THOUSAND TWO HUNDRED
         FORTY FIVE DOLLA.n.S ($21,791,245) executed by Ruben A. Hernandez Gregorat, in
         his capacity as Executive Director of the PUERTO RICO HIGHWAY AND
         TRANSPORTATION AUTHORITY (the "AUTHORITY") to the order of the
         GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the "BANK") on May
         17, 2011, before Notary Public Marfa de Lourdes Rodriguez, is hereby amended to
         extend the maturity date to August 31, 2014.

               This First Amendment to Promissory Note is executed in connection with the
         Seventh Amendment to Loan Agreement between the AUTHORITY and the BANK,
         executed on this same date. All other provisions of the referenced Promissory Note, as
         amended, not inconsistent with this First Amendment to Promissory Note, shali remain
         unchanged, binding and in full force and effect.

               IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
         Authority have caused this First Amendment to Promissory Note to be signed by its
         Executive Director, in San Juan, Puerto Rico, this~ day of August, 2013.

                                                 PUERTO RICO lilGHWAYS AND
                                                 TRANSPORTATION AUTHORITY




         Testimony No. 5'1-"t

               Recognized and subscribed before me by Javier E. Ramos Hernandez, as
          Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
          age, married, engineer and resident of Bayam6n, Puerto Rico, who is personally
          known tome.

               In San Juan, Puerto Rico, on August ti5., 2013.




     EXE:NTO DEL PAGO •
      LEY 47 DE 4 DE JUNI
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16   Filed:03/31/21 Entered:10/27/21
                  Doc#:18815-9 Filed:10/27/21     Entered:03/31/2109:09:47
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                         Exhibit A-16
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                                         Page91117
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                  SECOND AMENDMENT TO PROMISSORY NOTE
                              (ALLON GE)

 $21,791,245                                                         Due: August 31, 2015

        The terms of the Promissory Note in the principal amount of TWENTY ONE
 MILLION SEVEN HUNDRED NINETY ONE THOUSAND TWO HUNDRED
 FORTY FIVE DOLLARS ($21,791,245) executed by Ruben A. Hernandez Gregorat, in
 his capacity as Executive Director of the PUERTO RICO HIGHWAY AND
 TRANSPORTATION AUTHORITY (the "AUTHORITY") to the order of the
 GOVERNMENT DEVELOPMENT BANK FOR PUERTO RICO (the "BANK") on
 May 17, 2011, before Notary Public Maria de Lourdes Rodriguez; as amended by a
 First Amendment to Promissory Note (Allonge) executed by Javier E. Ramos
 Hernandez in his capacity as Executive Director of the AUHTORITY on
 August 28, 2013; is hereby amended to extend the maturity date to August 31, 2015.

       This Second Amendment to Promissory Note is executed in connection with the
 Ninth Amendment to Loan Agreement between the AUTHORITY and the BANK,
 executed on this same date. All other provisions of the referenced Promissory Note, as
 amended, not inconsistent with this Second Amendment to Promissory Note, shall
 remain unchanged, binding and in full force and effect.

       IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
 Authority have caused this Second Amendment to Promissory Note to be signed by its
 Executive Director, in San Juan, Puerto Rico, this 1 day of December, 2014.

                                          PUERTO RICO HIGHWAYS AND
                                          TRANSPORTATION AUTHORITY




                                                Executive Director


Testimony No. /1 {)JO

      Recognized and subscribed before me by Javier E. Ramos Hernandez, as
 Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
 age, married, engineer and resident of Bayamon, Puerto Rico, who is personally
 known tome.

       In San Juan, Puerto Rico, on December __!l___, 2014.




                               EXENTO DEL PAGO DE ARANCEL
                                LEY 47 DE 4 DE JUNIO DE 1982
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16   Filed:03/31/21 Entered:10/27/21
                  Doc#:18815-9 Filed:10/27/21     Entered:03/31/2109:09:47
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                         Exhibit A-16
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                                  UNITED STATES OF AMERICA
                               COMMON WEALTH OF PUERTO RICO
                    PUERTO RICO HIGHWA Y AND TRANSPO RTATION AUTHOR ITY



        $140,000,000.00                                                                June 30, 2009
                  PUERTOR ICO HIGHWA Y AND TRANSPO RTATION . AUTHOR ITY
         (hereinafter called the "Authority "), a public corporatio n and autonomo us governme nt
         instrumen tality of the Commonw ealth of Puerto_ Rico, for value received hereby
         promises to pay, solely from the sources described in the Loan Agreemen t mentioned
         herein, to the order of Governme nt Developm ent Bank for Puerto Rico (the "Lender") at
         its principal office in San Juan, Puerto. Rico, on June 30, 2009, subject to prepayme nt as
         set forth below, the principal sum of ONE HUNDRE D FORTY MILLION DOLLARS
         ($140,000,000.00) to the extent- that such amount or any portion .thereof has beert
         borrowed by the Authority under the Loan Agreemen t (hereinafter defined) and remains
         unpaid. Such payment shall be made in any coin or currency of the United States of
         America which at the time of payment is legal tender for the payment of public and
         private debts. The Authority hereby agrees to repay the outstandin g aggregate principal
         amount of the Loan at the principal office of the Lender in San Juan, Puerto Rico, from
         proceeds -of bonds to be issued by the Authority pursuant to the provisions of
        Authority' s Constructi on Fund, created and established under Resolution No. 68-18,
        adopted by the Authority on June 13, 1968, as amended, (the ''1968 Resolution''), or the
        Authority' s Constructi on Fund created and established under Resolution 98~06 adopted
        by the Authority on February 26, 1998, as amended, (the "1998 Resolution) (collectively,
        "the Resolutions"). Each Drawing shall bear interest daily until paid in full from the date
        such Loanis.m~ de until its repaymen t at a variable rate of interest, which rate may be
        reviseq.. inbnthly;·p er annum equal to the Lender's cost of funding for taxable variable
        rat~ lo?lfl-transactiohs or the cost of any other obligations or source of funds used to -fund
        t:1-{e Lpan. ;'F9,r. r\urp\Jses of the preceding sentence, tl1e cost of funding shall mean the
        applicable
          '    .
               '·
                       co'st ,,of.. any source of funds used to fund the Loan, plus in either case, a
                       .
                      ',·    ~

        requir¢d,m ar~co_st. Initially, this required.m argin cost will be equal to 150 basis points.
        The··riqui red margin cost may be revised from time to time by the Lender to such an
        extentlha t when added to the applicable cost of funds, the interest rate so determine d
        and applicable to the Loan will provide for a total coverage of what the Lender
        determine s to be its "all-inclusive" funding costs. lnterest shall be payable monthly in
        arrears not later than the tenth Banking Day following receipt from the Lender of the
        statement referred below, from any available moneys of the Authority. Not later than the
        fifth (5 th) Banking Day of each month the Bank shall furnish to the Authority a written
        statement showing the amount of.interest due and payable by the Authority on the Loan
        for the preceding month. The Loan may be prepaid at any time by the Authority
        without penalty or premium. This Note is issued pursuant to a Loan Agreemen t between
        tl1e Authority and the Lender subscribed on this same date.

              The Authority waives the requireme nt of demand, presentme nt, protest, notice of
        dishonor, and, in general, any other legal formality.

             If the Autl1ority defaults in making any payment when due under this Note, the
       Lender may declare this Note to be immediate ly due and payable.               ·
               In case of recourse to the courts by tl1e Lender in order to collect the whole or any
       portion of the principal or interest due under this Note, the Administr ation agrees to pay
       a liquidated sum equal to 10% of tl1e principal sum of this Note to cover expenses of such
       proceeding s, court costs, disbursem ents and attorney's fees, which amount will become
       immediate ly due and payable upon the filing of.such judicial proceedings.

             All acts, conditions and tl1ings required by the Puerto Rican Federal Relations Act
       and the Constituti on and Laws of the Commonw ealth of Puerto Rico to happen, exist,
       and be·perform ed precedent to and in the issuance of this Note have happened, exist and


       Document 23544
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16   Filed:03/31/21 Entered:10/27/21
                  Doc#:18815-9 Filed:10/27/21       Entered:03/31/2109:09:47
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       have been perfonned as so required. This Note shaU be construed in accordance with
       the laws of the Commonwealth of Puerto Rico.     ·      ·

               IN     WITNESS         WHEREOF,         PUERTO         RICO     HIGHWAY          AND
        TRANSPORTATION AUTHORITY .has caused this note to be signed by its executive
      · director and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this 19th day
        of March, 2008.


                                                                   PUERTO RICO HIGHWAY AND
                                                                - TRANSPORT TI N AUT     TY


                                                     By:
                                                                                        ad Garay
                                                                           .    u ve    irector

      _Affidavit No. -:Jfi.::.. _

              Recognized and subscribed before me by Luis M. Trinidad Garay, as Executive
       Director of the Puerto Rico Highway and Transpoi·tatiori. Authority, of legal age, married a:nd_. · ·
       resident of San Juan, Puerto Rico, persOnally known to me .

               . In San Juan, Puerto Rico, on March 19, 2008.




        Document 23544
Case:17-03283-LTS
Case:17-03283-LTS Doc#:16276-16   Filed:03/31/21 Entered:10/27/21
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                              FIRST ALLONGE TO PROMISSORY NOTE


                The Promissory Note ti.tied United States of America, Commonwealth of

         Puerto Rico, Puerto Rico Highway and Transportation Authority, executed by Luis

         M. Trinidad Garay on March 19, 2008, for the amount of $140,000,000, before notary

         public Zoraya Betancourt Calzada, is hereby amended to extend the term for

         payment to September 30, 2010, and to provide that the President of the Government

         Development Bank for Puerto Rico or his designee, may amend the interest rate at

         any ti.me, discreti.onarily, depending on the interest rate market.

                This First Allonge to Promissory Note is executed in connection with the First

         Amendment to Loan Agreement between the Puerto Rico Highway and

         Transportation Authority and the Government Development Bank for Puerto Rico,

         executed by these parties on this same date. All other provisions of the referenced

         Promissory Note not inconsistent with this First Allonge to Promissory Note, shall

         remain in full force and effect.

                IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation

         Authority has caused this First Amendment to Promissory Note to be signed by its

         Executive Director, in San Juan, Puerto Rico, this ~day of October, 2009.



                                                          PUERTO RIC, HIGHWAY AND.
                                                                         N AUTHORITY .


                                                   By:   (
                                                                Ruben A. Hernandez Gregorat
                                                                   Executive Director

        Testimony No.   2ItJ
               Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
        Executive Director of the Puerto Rico Highway and Transportation Authority, .of
        legal age, married and a resident of Guaynabo, Puerto Rico, who is personally
        known tome.

                In San Juan, Puerto Ric


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                                SECOND ALLON GE TO PROMISSORY NOTE


                      The Promissory Note titled United States of America, Commonwealth of

             Puerto Rico, Puerto Rico Highway and Transportation Authority, executed by Luis

             M. Trinidad Garay on March 19, 2008, for the amount of $140,000,000, before notary

              public Zoraya Betancourt Calzada, as amended by First Allonge to Pmmissory Note

             executed by Ruben A. Hernandez Gregorat on October 30, 2009 before notary public

             Meraris Ambert Cabrera is hereby amended to extend the term for payment to June

             30, 2011, and to modify the terms and conditions of the Loan Agreement.

                      This Second Allonge to Promissory Note is executed in connection with the

             Second Amendment to Loan Agreement between the Puerto Rico Highway and

              Transportation Authority and the Government Development Bank for Puerto Rico,

              executed by these parties on this same date. All other provisions of the referenced

              Promissory Note not inconsistent with this Second Allonge to Promissory Note, shall

              remain in full force and effect.

                      IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation

              Authority has caused this Second Amendment to Promissory Note to be signed by its

              Executive Director, in San Juan, Puerto Rico, this _f day of October, 2010.



                                                              PUERTO RICO HIGHWAY AND
                                                              TRAN     TA     AUTHORITY


                                                       By:
                                                              Ru n A. Hernandez Gregorat
                                                              Secretary of Transportation and
                                                              Public Works and Executive Director

              Affidavit No.-?.,&-

                     Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
              Secretary of Transportation and Public Works and Executive Director of the
              Puerto Rico Highway and Transportation Authority, of legal age, married and a
              resident of Guaynabo, Puerto Rico, who is personally known to me.




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                     THIRD ALLONGE TO PROMISSORY NOTE

         The Promissory Note titled United States of America, Commonwealth of Puerto
 Rico, Puerto Rico Highway and Transportation Authority, executed by Luis M.
 Trinidad Garay on March 19, 2008, for the amount of $140,000,000, before notary
 public Zoraya Betancourt Calzada, as amended by First Allonge to Promissory Note
 executed by Ruben A. Hernandez Gregorat on October 30, 2009 before notary public
 Meraris Ambert Cabrera, and as amended by Second Allonge to Promissory Note
 executed by Ruben A. Hernandez Gregorat on October 8, 2010 before notary public
 Zoraya Betancourt Calzada, is hereby further amended to: extend the maturity date
 of the Loan to August 31, 2012; provide that if Borrower does not pay the principal
 amount of the Loan when it becomes due and payable, Borrower shall pay the Bank a
 default interest rate on the outstanding principal amount equivalent to 200 basis points
 over the otherwise applicable interest rate; and provide that if Borrower does not pay the
 principal amount of the Loan when it becomes due and payable, or does not pay interest
 when due, Lender may, at its sole option, without notice to Borrower and to the
 fullest extent allowed by law, set off and apply any other available moneys (including
 deposits of any kind) of the Borrower against any such unpaid principal amount or
 unpaid accrued interest.

        This Third Allonge to Promissory Note is executed in connection with the
 Third Amendment to Loan Agreement between the Puerto Rico Highway and
 Transportation Authority and the Government Development Bank for Puerto Rico,
 executed by these parties on this same date. All other provisions of the referenced
 Promissory Note, as amended, not inconsistent with this Third Allonge to Promissory
 Note, shall remain in full force and effect.

       IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
 Authority has caused this Third Amendment to Promissory Note to be signed by its
 Executive Director, in San Juan, Puerto Rico, thisBday of      t1a.J' - ,
                                                                     2011.

                                    PUERTO RICO HIGHWAY AND
                                    TRANSPO Ii.    N AUTHORITY



                                           'n A. ·He:rnandez Gregorat,
                                       Secretary of Transportation and Public Works
                                       and Executive Director of the Puerto Rico
                                       Highway and Transportation Authority

 TestimonyNo. 5Z'f -

        Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
 Secretary of T:i;ansportation and Public Works and Executive Director of the
 Puerto Rico Highway and Transportation Authority, of legal age, married, and
 resident of Guaynabo, Puerto Rico, personally known to me.

       In San Juan, Puerto Rico, on May   13.._, 2011.


                                                         Notary Public




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                  Doc#:18815-9 Filed:10/27/21
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                              FOURTH ALLONGE TO PROMISSORY NOTE


              The Promissory Note titled United States of America, Commonwealth of
        Puerto Rico, Puerto Rico Highway and Transportation Authority, executed by Luis M.
        Trinidad Garay on March 19, 2008, for the amount of $140,000,000, before notary public
        Zoraya Betancourt Calzada, as amended by First Allonge to Promissory Note executed
        by Ruben A. Hernandez Gregorat on October 30, 2009 before notary public Meraris
        Ambert Cabrera, and as amended by Second Allonge to Promissory Note executed by
        Ruben A. Hernandez Gregorat on October 8, 2010 before notary public Zoraya
        Betancourt Calzada, as amended by Third Allonge to Promissory Note executed by
        Ruben A. Hernandez Gregorat on May 19, 2011 before notary public Marfa de Lourdes
        Rodriguez, ls hereby further amended to: (i) increase the aggregate principal amount to
         ONE HUNDRED FlFTY ONE MILLION TWO HUNDRED THIRJY ONE
         THOUSAND SEVEN HUNDRED FIFTY SIX DOLLARS WITH EIGHTY THREE
         CENTS ($151,231,756.83), (ii) extend the maturity date to January 31, 2013, and (iii)
         provide that interest shall be payable at maturity.

                 This Fourth Allonge to Promissory Note is executed in connection with the Fourth
         Amendment to Loan Agreement between the Puerto Rico Highway and Transportation
         Authority and the Govermnent Development Bank for Puerto Rico, executed by these
         parties on this same date. All other provisions of the referenced Promissory Note, as
         amended, not inconsistent with this Fourth Allonge to Promissory Note, shall remain in
         full force and effect.

               IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
         Authority has caused this Fourth Amendment to Promissory Note to be signed by its
         Executive Director, in San Juan, Puerto Rico, this 6"' day of July, 2012.




                                                   Rub~n A. Hernandez Gregorat,
                                                   Secretary of Transportation and Public Works
                                                      and Executive Director of the Puerto Rico
                                                      Highway and Transportation Authority

         Testimony No. 3 '8 '1

                Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
         Secretary of Transportation and Public Works and Executive Director of the Puerto Rico
         Highway and Transportation Authority, of legal age, married, executive and resident of
         Guaynabo, Puerto Rico, personally known to me.

                 In San Juan, Puerto Rico, on July 6, 2012.




                                                                  KotaryPublic




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                          FIFTH ALLONGE TO PROMISSORY NOTE


       The Promissory Note titled United States of America, Commonwealth of
Puerto Rico, Puerto Rico Highway and Transportation Authority, executed by Luis M.
Trinidad Garay on March 19, 2008, for the amount of $140,000,000, before notary public
Zoraya Betancourt Calzada, as amended by First Allonge to Promissory Note executed
by Ruben A. Hernandez Gregorat on October 30, 2009 before notary public Meraris
Ambert Cabrera, and as amended by Second Allonge to Promissory Note executed by
Ruben A. Hernandez Gregorat on October 8, 2010 before notary public Zoraya
Betancourt Calzada, as amended by Third Allonge to Promissory Note executed by
Ruben A. Hernandez Gregorat on May 19, 2011, before notary public Maria de Lourdes
Rodriguez, as amended by Fourth Allonge to Promissory Note executed by Ruben A.
Hernandez Gregorat on July 6, 2012, to among other things, increase the aggregate
principal amount to $151,231,756.83, before notary public Belen Fomaris Alfaro, is
hereby further amended to extend the maturity date to January 31, 2014.

        This Fifth Allonge to Promissory Note is executed in connection with the Fifth
Amendment to Loan Agreement between the Puerto Rico Highway and Transportation
Authority and the Government Development Bank for Puerto Rico, executed by these
parties on this same date. All other provisions of the referenced Promissory Note, as
amended, not inconsistent with this Fifth Allonge to Promissory Note, shall remain in
full force and effect.

          IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
  utl)m:if:y~as caused this Fif~. Amendment to Promissory Nwtq be signed by the
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              o ,...the Puerto R.1co -,,artmcot o Transportation      ih!
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                                                                                    m San
                               th
Juan, Puerto Rico, this 14 day of February, 2013.

                                        PUERTO RICO HIGHWAY AND
                                        TRANSPORTATION AUTHORITY




                                            Executive Director

Testimony No. '1'("1

      Recognized and subscribed before me by Javier E. Ramos Hernandez, as Executive
Director of the Puerto Rico Highway and Transportation Authority, of legal age,
married, executive and resident of Bayamon, Puerto Rico, personally known to me.

            In San Juan, Puerto Rico, on February I'/ 2013.




                                                              j,it'tary Public




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                   SIXTH ALLONGE TO PROMISSORY NOTE

  $151,231,756.83                                                           Due: January 31, 2015

       The Promissory Note titled United States of America, Commonwealth of
 Puerto Rico, Puerto Rico Highway and Transportation Authority, executed by Luis M.
 Trinidad Garay on March 19, 2008, for the amount of $140,000,000, before notary public
 Zoraya Betancourt Calzada, as amended by First Allonge to Promissory Note executed
 by Ruben A. Hernandez Gregorat on October 30, 2009 before notary public Meraris
 Ambert Cabrera, and as amended by Second Allonge to Promissory Note executed by
 Ruben A. Hernandez Gregorat on October 8, 2010 before notary public Zoraya
 Betancourt Calzada, as amended by Third Allonge to Promissory Note executed by
 Ruben A. Hernandez Gregorat on May 19, 2011, before notary public Marfa de Lourdes
 Rodriguez, as amended by Fourth Allonge to Promissory Note executed by Ruben A.
 Hernandez Gregorat on July 6, 2012, before notary public Belen Fornaris Alfaro, as
 amended by Fifth Allonge to Promissory Note executed by Javier E. Ramos Hernandez
 on February 14, 2013, before notary public Belen Fornaris Alfaro, is hereby further
 amended to extend the maturity date to January 31, 2015.

         This Sixth Allonge to Promissory Note is executed in connection with the Sixth
 Amendment to Loan Agreement between the Puerto Rico Highway and Transportation
 Authority and the Government Development.Bank for Puerto Rico, executed by these
 parties on this same date. All other provisions of the referenced Promissory Note, as
 amended, not inconsistent with this Sixth Allonge to Promissory Note, shall remain in
 full force and effect..

             IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
 Authority has caused this Sixth Amendment to Promissory Note to be signed by the
 Executive Director or the Puerto Rico Highway and Transportation Authority, in
 San Juan, Puerto Rico, on February -1- 2014.

                                                        PUERTO RICO HIGHWAY AND
                                                        TRANSPORTATION AUTHORITY




 Testimony No.                          1 f 3 __.
       Recognized and subscribed before me by Javier E. Ramos Hernandez, as Executive
 Director of the Puerto Rico Highway and Transportation Authority, of legal age,
 married, executive and resident of Bayam6n, Puerto Rico, personally known to me.

           In San Juan, Puerto Rico, on February              J/-, 2014.

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                            UNITED STATES OF AMERICA
                         COMMONWEALTH OF PUERTO RICO
              PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY



        $147,113,000.00                                                            June 30, 2009

                 PUERTO RICO HIGHWAY AND .TRANSPORTATION AUTHORITY
         (hereinafter called the · "Authority"), a public corporation and autonomous
         instrumentality of the Commo_nwealth of Puerto Rico, for value received hereby
         promises to pay, solely from the sources described in the Loan Agreement mentioned
         herein, to the order of Government Development Bank for Puerto Rico (the
         "Lender") at its principal office iri SanJuan, Puerto Rico, on June 30, 2009, subject to
         prepayment as set forth below, the principal sum of ONE HUNDRED FORTY
       · SEVEN MILLION ONE HUNDRED · THIRTEEN THOUSAND DOLLARS
         ($147,113,000.00) to the extent that such amount or any portion thereof has been
         borrowed by the Authority under the Loan Agreement (hereinafter defined) and
         remains unpaid. Such payment shall be made in any coin or currency of the United
         States of America which at the time of payment is legal tender for the payment of
         public and private debts. The Authority hereby agrees to repay the outstanding
         a gregate principal amount of the Loan at the principal office of the Lender in
           an Juan, Puerto Rico, from proceeds of bonds to be issued by the Authority
           ursuant to the provisions of Authority's Construction Fund, created and established
           nder Resolution No. 68-18, adopted by the Authority on June 13, 1968, as amended,
          the "1968 Resolution"), or the Authority's Construction Fund created and
         established under Resolti.tion 98-06 adopted by the Authori1.-y on February 26, 1998,
         as amended, (the "1998 Resolution) (collectively, "the Resolutions"), or with the
         proceeds of the Operational Management Agreement for the Private/Public
         Partnership on Highway PR-22 to be entered by the Authority with a third party yet
         to be determined. If these measures are not implemented successfully, or do not
         produce the projected benefits, the Authority will implement the necessary increases in
         tolls for the repayment of the Line of Credit.

               Each Drawing shall bear interest daily until paid in full from the date such
        Loan is made until its repayment at a variable rate of interest, which rate may be
        revised monthly, per annum equal to. the Lender's cost of funding for taxable
        variable rate loan transactions or the cost of any other obligations or source of funds
        used to fund the Loan. For purposes of the preceding sentence, the cost of funding
        shall mean the applicable ccist of any source of funds used to fund the Loan, plus in
        either case, a required margin cost. Initially, this required margin cost will be equal
        to 150 basis points. The required margin cost may be revised from time to time by
        the Lender to such an extent that when added to the applicable cost of funds, the
        interest rate so determined and applicable to the Loan will provide for a total
        coverage of what the Lender determines to .. be its "all-inclusive" funding costs.
        Interest shall be payable monthly in arrears not later than the tenth Banking Day
        following receipt from the Lender of the statement referred below, from any
        available moneys of the Authority. Not later than the fifth (5 th) Banking Day of each
        month the Bank shall furnish to the Authority a written statement showing the
        amount of interest due and payable by the Authority on the Loan for the preceding
        month. The Authority may prepay the Line of Credit at any time without penalty or
        premium. This Note is issued pursuant to a Loan Agreement between the Authority
        and the Lender subscribed on this same date.

               The Authority waives the requirement of demand, presentment, protest,
        notice of dishonor, and, in general, any other legal foqnality ..

              If the Authority defaults in making any payment when due under this Note,
        the Lender may declare this Note to be immediately due and payable.
Case:17-03283-LTS
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                In case of recourse to the courts by the Lender in order to collect the whole or
         any portion of the principal or interest due under this Note, the Administration
         agrees to pay a liquidated sum equal to 10% of the principal sum of this Note to
         cover expenses of such proceedings, court costs, disbursements and attorney's fees,
         which amount will become immediately due and payable upon the filing of such
         judicial proceedings.

                  All acts, conditions and things required by the Puerto Rican Federal Relations
          Act and the Constitution and Laws of the Commonwealth of Puerto Rico to happen,
          exist, and bl= performed precedent to and in the issuance of this Note have happened,
          exist and have been performed as so required. This Note shall .be construed in
          accordance with the laws of the Commonwealth of Puerto Rico.

                 IN.·. WITNESS       WHEREOF,        PUERTO      RICO     HIGHWAY       AND
          TRANSPORTATION AUTHORITY has caused this note to be signed by its executive
          director and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this
          6th day of August, 2008 .
                     •
                                                             PUERTO RICO HIGHWAY AND
                                                            TRANSPORTATI. N AUTHORITY


                                                    .By:
                                                                        . Trinidad Garay
                                                                    Executive Director

          Affidavit No. 508

                 Recognized and subscribed before. me by Luis M. Trinidad Garay, as
          Executive Director of the Puerto Rico Highway and Transportation Authority, of
          legal age, married and a resident of San Juan, Puerto Rico, who is personally known
          tome.

                   In San Juan, Puerto Rico; on August 6th, 2008.


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                        FIRST ALLONGE TO PROMISSORY NOTE


          The Promissory Note titled United States of America, Commonwealth of Puerto

         Rico, Puerto Rico Highway and Transportation Authority, executed by Luis M.

         Trinidad Garay, as Executive Director of the Puerto Rico Highway and

         Transportation Authority, on August 6, 2008, for the amount of $147,113,000, is

         hereby amended to extend the term for payment to September 30, 2010, and to

         provide that the President of the Government Development Bank for Puerto Rico or

         his designee, may amend the interest rate at any tiine, discretionarily, depending on

         the interest rate market.

                 This First Allonge to Promissory Note is executed in connection with the

         Amended and Restated Loan Agreement between the Puerto Rico Highway and

         Transportation Authority and the Government Development Bank for Puerto Rico,

         executed by the foregoing parties on this same date. All other provisions of the

         referenced Promissory Note not inconsistent with this First Allonge to Promissory

         Note, shall remain in full force and effect.


                 IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation

         Authority has caused this First Amendment to Promissory Note to be signed by its

         Executive Director, in Guaynabo, Puerto Rico, this .3Z>day of October, 2009.


                                                              PUERTO RICO HIGHWAY AND
                                                              T     IO \ION AUTHORITY
                                                         _  _,__
                                                    By:
                                                                  en A. Hernandez Gregorat
                                                               Executive Director


         Affidavit No.~

                Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
         Executive Director of the Puerto Rico Highway and Transportation Authority, of
         legal age, married and a resident of Guaynabo, Puerto Rico, personally known to me.

                 In San Juan         :::::              er B'.:> •2009.



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                     SECOND ALLON GE TO PROMISSORY NOTE
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                 The Promissory Note titled "United Stales of America, Commonwealth of

         Puerto Rico, Puerto Rico Highway and Transportation Authority", executed by Luis M.

         Trinidad Garay, as Executive Director of the Puerto Rico Highway and Transportation

         Authority, on August 6, 2008, for the amount of $147,113,000, as amended on October

         30, 2009, is hereby amended lo extend the maturity date to June 30, 2011, and to

         provide that the Loan will accumulate interest daily until its r~payment at the rate of

         PRIME plus 150 basis points, or the interest determined by the President of Bank or

         his designee, discretionarily, depending on the interest rate market which rate shall

         never be less than 6%.

                This Second Allonge to Promissory Note is executed in connection with the First

         Amendment to Amended and Restated Loan Agreement between the Puerto Rico

         Highway and Transportation Authority and the Government Development Bank for

         Puerto Rico, executed by the foregoing parties on this same date. All other provisions

         of the referenced Promissory Note, as amended, not inconsistent with this Second

          Allonge to Promissory Note, shall remain in full force and effect.


                IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation

          Authority has caused this Second Allonge lo Promissory Note lo be signed by its

         Executive Director, in San Juan, Puerto Rico, this glli day of October, 2010.


                                                          PUERTO RICO HIGHWAY AND
                                                          TRANSPOR     ON AUTHORITY


                                                          By:
                                                                      n A. Hernandez Gregorat
                                                                  Executive Director
          Testimony No. '.260

                Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
          Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
          age, married and a resident of Guay11:abo, Puerto Rico, personally known to me.

                 In San Juan, Puerto Rico, on October ~ 2010.




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                      .THIRD ALLONGE TO PROMISSORY NOTE


          The Promissory Note titled "United States of America, Commonwealth of
   Puerto · Rico, Puerto Rico Highway and Transportation Authority", executed by
   Luis M. Trinidad Garay, as Executive Director of the Puerto Rico Highway and
   Transportation Authority, on August 6, 2008, for the amount of $147,113,000, as
   amended on October 30, 2009, and October 8, 2010 is hereby amended to extend the
   maturity date to August 31, 2012, and to provide that the if on the date the principal
   amount becomes due Borrower does not make the required payment, the balance of
   the Line of Credit will accumulate interest at a default rate of 200 basis points over the
   otherwise applicable interest rate. In addition, to provide that if Borrower fails to pay
   the principal amount of the Line of Credit by the date of maturity, or to pay any
   interest on a timely fashion, the Lender may, at its sole option, without notice to
   Borrower and to the fullest extent allowed by law, set off and apply against the Line
   of Credit any other available moneys (including deposits of any kind) of the Borrower
   held by the Lender.

          This Third Allonge to Promissory Note is executed in connection with the
  Second Amendment to Amended and Restated Loan Agreement between the
  Puerto Rico Highway and Transportation Authority and the Government
  Development Bank for Puerto Rico, executed by the foregoing parties on this same
  date. All other provisions of the referenced Promissory Note, as amended, not
  inconsistent with this Third Allonge to Promissory Note, shall remain in full force and
  effect.

        IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
  Authority has caused this Third Allonge to Promissory Note to be signed by its
  Executive Director, in San Juan, Puerto Rico, on May .13__, 2011.


                                     PUERTO RICO HIGHWAY AND
                                     T  . Sl't:>R;n\.~~ UTHORITY




                                            ' A. Hernandez Gregorat,
                                        Secretary of Transportation and Public Works
                                        and Executive Director of the Puerto Rico
                                        Highway and Transportation Authority

  Testimony No.    .foO -
         Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
  Secretary of Transportation and Public Works and Executive Director of the
  Puerto Rico Highway and Transportation · Authority, of legal age, married, and
  resident of Guaynabo, Puerto Rico, personally known to me.




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                     FOURTH ALLONGE TO PROMISSORY NOTE

        The Promissory Note titled "United States of America, Commonwealth of
 Puerto Rico, Puerto Rico Highway and Transportation Authority", executed by Luis M.
 Trinidad Garay, as Executive Director of the Puerto Rico Highway and Transportation
 Authority, on August 6, 2008, for the amount of $147,113,000, as amended on
 October 30, 2009, October 8, 2010, and May 19, 2011, is hereby furhter amended to: (i)
 increase the aggregate principal amount to ONE HUNDRED FIFTY SIX MILLION
 NINE HUNDRED SEVEN THOUSAND NINE HUNDRED TWENTY THREE
 DOLLARS AND SEVENTY ONE CENTS ($156,907,923.71), (ii) extend the maturity
 date to January 31, 2013, and (iii) provide for the payment of interest at maturity.

      This Fourth Allonge to Promissory Note is executed in connection with the Third
Amendment to Amended and Retated Loan Agreement between the Puerto Rico
Highway and Transportation Authority and the Government Development Bank for
Puerto Rico, executed by the foregoing parties on this same date. All other provisions
of the referenced Promissory Note, as amended, not inconsistent with this Fourth
Allonge to Promissory Note, shall remain in full force and effect.

      IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
Authority has caused this Third Allonge to Promissory Note to be signed by its
Executive Director, in San Juan, Puerto Rico, on July 6, 2012.




                                        a;;=s
                                          PUERTO RICO HIGHWAY AND

                                    ¥                          AUTHOrnY



                                          Ruben A. Hernandez Gregorat
                                          Secretary of Transportation and Public Works
                                          Executive Director PRHTA

Affidavit No."106

       Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
Secretary of Transportation and Public Works and Executive Director of the Puerto Rico
Highway and Transportation Authority, of legal age, married and a resident of
Guaynabo, Puerto Rico, who is personally known to me.

        In San Juan, Puerto Rico, on July lR__, 2012.




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                      Doc#:18815-9 Filed:10/27/21
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                               FIFTH ALLONGE TO PROMISSORY NOTE

           The Promissory Note titled "United States of America, Commonwealth of
     Puerto Rico, Puerto Rico Highway and Transportation Authority", executed by Luis M.
     Trinidad Garay, as Executive Director of the Puerto Rico Highway and Transportation
     Authority, on August 6, 2008, as amended on October 30, 2009, October 8, 2010, May 19,
     2011 and July 6, 2012, for the amount of $156,907,923.71, is hereby further amended to
     extend the maturity date to January 31, 2014.

            This Fifth Allonge to Promissory Note is executed in connection with the Fourth
     Amendment to Amended and Restated Loan Agreement between the Puerto Rico
     Highway and Transportation Authority and the Government Development Bank for
     Puerto Rico, executed by the foregoing parties on this same date. All other provisions
     of the referenced Promissory Note, as amended, not inconsistent with this Fifth Allonge
     to Promissory Note, shall remain in full force and effect.

                 IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation

f   ,
       Auth9ritv.-tns caused this Fifth f.llonge to Promissory Note to be. signed by the
         C:C,,TIV<. l)I ,,-             \-li W   a,,d               A,,;/h'bvl
      'g;eretary o the Puerto Rico De~~Ht of Transportation aflfl Ptitlie 'Nor~, in
       San Juan, Puerto Rico, on February 14, 2013.

                                                 PUERTO RICO HIGHWAY AND
                                                 TRANSPORTATION AUTHORITY




                                                 Executive Director

     Testimony No. 'f 5J.-

           Recognized and subscribed before me by Javier E. Ramos Hernandez, as
     Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
     age, married, executive and resident of Bayamon, Puerto Rico, personally known to me.

                 In San Juan, Puerto Rico, on February   Ir'   2013.




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                          SIXTH ALLONGE TO PROMISSORY NOTE

 $156,907,923.71                                                 Due: January 31, 2015

        The Promissory Note titled "United States of America, Commonwealth of
 Puerto Rico, Puerto Rico Highway and Transportation Authority", executed by Luis M.
 Trinidad Garay, as Executive Director of the Puerto Rico Highway and Transportation
 Authority on August 6, 2008, as amended on October 30, 2009, October 8, 2010, May 19,
 2011, July 6, 2012, and February 14, 2013, is hereby further amended to extend the
 maturity date of the Loan to January 31, 2015.

         This Sixth Allonge to Promissory Note is executed in connection with the Fifth
 Amendment to Amended and Restated Loan Agreement between the Puerto Rico
 Highway and Transportation Authority and the Government Development Bank for
 Puerto Rico, executed by the foregoing parties on this same date. All other provisions
 of the referenced Promissory Note, as amended, not inconsistent with this Sixth Allonge
 to Promissory Note, shall remain in full force and effect.

       IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
 Authority has caused this Sixth Allonge to Promissory Note to be signed by its
 Executive Director in San Juan, Puerto Rico, on February, 4- , 2014.

                                        PUERTO RICO HIGHWAY AND
                                        TRANSPORTATION AUTHORITY




 Testimony No.   J..Ji,
       Recognized and subscribed before me by Javier E. Ramos Hernandez, as
 Executive Director of the Puerto Rico Highway and Transportation Authority, of legal
 age, married, executive and resident of Bayamon, Puerto Rico, personally known to me.

       In San Juan, Puerto Rico, on February,   L 2014.

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                                       PROMISSORY NOTE



        $20,000,000                                                           August 31, 2010

              PUERTO RICO HIGHWAY AND TRANSPORTATION AUTHORITY
       (hereinafter called the "Authority"), a public corporation and autonomous
       instrumentality of the Commonwealth of Puerto Rico, for value received hereby
       promises to pay, solely from the sources described in the Loan Agreement mentioned
       herein, to the order of Government Development Bank for Puerto Rico (the
       "Lender"), at its principal office in San Juan, Puerto Rico, on August 31, 2010, subject
       to prepayment as set forth below, the principal sum of TWENTY MILLION
       DOLLARS ($20,000,000), (the "Loan"), to the extent that such amount or any portion
       thereof has been borrowed by the Authority under the Loan Agreement, dated
       October __, 2009, between the Authority and the Lender and remains unpaid.
       Such payment shall be made in any coin or currency of the United States of America
       which at the time of payment is legal tender for the payment of public and private
       debts. The Authority hereby agrees to repay the outstanding aggregate principal
       amount of the Loan at the principal office of the Lender in San Juan, Puerto Rico,
       from the proceeds of federal reimbursements on payments done or to be done by the
       Authority for the Projects, from amounts available from the Authority's Construction
       Funds established under the Resolutions, as defined in the Loan Agreement, or from
       any other available resources of the Authority. Capitalized terms used in this Note
       and not otherwise defined shall have the meaning ascribed to them in the Loan
       Agreement.

       Each Drawing shall bear interest daily from the date such Drawing is made until its
       repayment al a variable rate of interest, which may be revised quarterly, equal to
       Prime plus 150 basis points. The President of the Bank or the duly authorized
       Executive Vice President of the Bank may modify the interest rate at anytime at their
       full discretion, depending on the interest rate market.

       Interest shall be payable monthly in arrears not later than the tenth Banking Day
       following receipt from the Lender of the statement referred to in the next sentence of
       this paragraph, from amounts available from the respective Construction Funds
       established under the Resolutions or from any available moneys of the Authority.
       Each month the Bank shall furnish to the Authority a written statement showing the
       amount of interest due and payable by the Authority on the Loan for the preceding
       month. The Authority may prepay the Line of Credit at any time without penalty or
       premium. This Note is issued pursuant to a Loan Agreement between the Authority
       and the Lender subscribed on this same date.

              The Authority waives the requirement of demand, presentment, protest,
       notice of dishonor, and, in general, any other legal formality.

             If the Authority defaults in making any payment when due under this Note,
       the Lender may declare this Note to be immediately due and payable.

              In case of recourse to the courts by the Lender in order to collect the whole or
       any portion of the principal or interest due under this Note, the Administration
       agrees to pay a liquidated sum equal to 10% of the principal sum of this Note to
       cover expenses of such proceedings, court costs, disbursements and attorney's fees,
       which amount will become immediately due and payable upon the filing of such
       judicial proceedings.

               All acts, conditions and things required by the Puerto Rican Federal Relations
       Act and the Constitution and Laws of the Commonwealth of Puerto Rico to happen,
       exist, and be performed precedent to and in the issuance of this Note have happened,


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         exist and have been performed as so required. This Note shall be construed in
         accordance with the laws of the Commonwealth of Puerto Rico.

                 IN WITNESS          WHEREOF,        PUERTO RICO HIGHWAY                AND
         TRANSPORTATION AUTHORITY has caused this note to be signed by its executive
         dirj!ctor and its corporate seal to be affixed hereto, in San Juan, Puerto Rico, this
         ~day of October, 2009.




                                                 By:
                                                             Ruben A. Hernandez Gregorat
                                                                Executive Director

         Affidavit No.    li12-
                Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
         Executive Director of the Puerto Rico Highway and Transportation Authority, of
         legal age, married and a resident of Guaynabo, Puerto Rico, who is personally
         known tome.

                   In San Juan, Puerto Ri




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                                    FIRST ALLON GE TO PROMISSORY NOTE


                       The Promissory Note titled United States of America, Commonwealth of

              Puerto Rico, Puerto _Rico Highway and Transportation Authority, executed by Ruben

              A. Hernandez Gregorat on October 30, 2009, for the amount of $20,000,000, before

              notary public Meraris Ambert Cabrera, is hereby amended to extend the term for

              payment to June 30, 2011, and to modify the terms and conditions of the Loan

              Agreement.

                       This First Allonge to Promissory Note is executed in connection with the First

              Amendment to Loan Agreement between the Puerto Rico Highway and

              Transportation Authority and the Government Development Bank for Puerto Rico,

              executed by these parties on this same date·. All other provisions of the referenced

              Promissory Note not inconsistent with this First Allonge to Promissory Note, shall

              remain in full force and effect.

                       IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation

              Authority has caused this First Amendment to Promissory Note to be signed by its

              Executive Director, in San Juan, Puerto Rico, this 1!:,.., day of October, 2010.



                                                                PUERTO RICO HIGHWAY AND
                                                                TRANS         O AUTHORITY


                                                          By:
                                                                         . Hernandez Gregorat
                                                                Secretary of Transportation and
                                                                Public Works and Executive Director

               Affidavit No.-111-

                       Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
              Secretary of Transportation and Public Works and Executive Director of the
              Puerto Rico Highway and Transportation Authority, of legal age, married and a
              resident of.Guaynabo, Puerto Rico, who is personally known to me.

                       In Sanjuan, Puerto Rico, on October      B-11, 2010.




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                             SECOND ALLONGE TO PROMISSORY NOTE


             The Promissory Note executed by Ruben A. Hernandez Gregorat on October
      30, 2009, for the amount of $20,000,000, before notary public Meraris Ambert Cabrera,
      as amended by First Allonge to Promissory Note executed by Ruben A. Hernandez
      Gregorat on October 8, 2010, before notary public Zoraya Betancourt Calzada, is
      hereby amended to extend the term for payment to August 31, 2012, to provide that if
      Borrower does not pay the principal amount of the Loan when it becomes due and
      payable Borrower will pay Lender a default interest rate on any such principal amount
      equal to 200 basis points over the otherwise applicable interest rate, and to provide that
      if Borrower does not pay the principal amount of the Loan by the date of maturity or
      does not pay interest due on a timely fashion, Lender may at its sole option and to
      the fullest extent allowed by law, set off and apply any other available moneys
      (including deposits of any kind) of the Borrower to the Loan.

            This Second Allonge to Promissory Note is executed in connection with the
      Second Amendment to Loan Agreement between the Puerto Rico Highway and
      Transportation Authority and the Government Development Bank for Puerto Rico,
      executed by these parties on this same date. All other provisions of the referenced
      Promissory Note, as amended, not inconsistent with this Second Allonge to
      Promissory Note, shall remain in full force and effect.

            IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
      Authority has caused this Second Amendment to Promissory Note to be signed by its
      Executive Director, in San Juan, Puerto Rico, on May lt:r. 2011.

                                          PUERTO RICO HIGHWAY AND
                                          TRANSPvr;J.aTI N AUTHORITY


                                          By::~4~'fZ-----------
                                           Ru -     . Hernandez Gregorat,
                                           Secretary of Transportation and Public Works
                                           and Executive Director of the Puerto Rico
                                           Highway and Transportation Authority

      Testimony No. 5~~           -
            Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
     Secretary of Transportation and Public Works and Executive Director of the
     Puerto Rico Highway and Transportation Authority, of legal age, married, and
     resident of Guaynabo, Puerto Rico, personally known to me.

                In San Juan, Puerto Rico, on May I '1   2011.


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                  THIRD ALLONGE TO PROMISSORY NOTE


  Amount: $21,505,982.71                                   Maturity date: January 31, 2013


        The Promissory Note executed by Ruben A. Hernandez Gregorat on
  October 30, 2009, for the amount of $20,000,000, before notary public Meraris Ambert
  Cabrera, as amended by First Allonge to Promissory Note executed by Ruben A.
  Hernandez Gregorat on October 8, 2010, before notary public Zoraya Betancourt
  Calzada, as amended by Second Allonge to Promissory Note executed by Ruben A.
  Hernandez Gregorat on May 19, 2011, before notary public Maria de Lourdes
  Rodriguez, is hereby further amended to extend the maturity date to January 31, 2013
  and increase the amount of the note to $21,505,982.71.

         This Third Allonge to Promissory Note is executed in connection with the
  Third Amendment to Loan Agreement between the Puerto Rico Highway and
  Transportation Authority and the Government Development Bank for Puerto Rico,
  executed by these parties on this same date. All other provisions of the referenced
  Promissory Note, as amended, not inconsistent with this Third Allonge to Promissory
  Note, shall remain in full force and effect.

        IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
  Authority has caused this Third Allonge to Promissory Note to be signed by its
  Executive Director, in San Juan, Puerto Rico, onAUJW( 1:Q, 2012.



                                    ?!PT?AUTHORm
                                    PUERTO RICO HIGHWAY AND




                                    By:_~""=----------------
                                     Ruben A. Hernandez Gregorat,
                                     Secretary of Transportation and Public Works
                                     and Executive Director of the Puerto Rico
                                     Highway and Transportation Authority

  Testimony No.   ft 10,,---
         Recognized and subscribed before me by Ruben A. Hernandez Gregorat, as
  Secretary of Transportation and Public Works and Executive Director of the
  Puerto Rico Highway and Transportation Authority, of legal age, married, and
  resident of Guaynabo, Puerto Ric.z;_personally known to me.
                               --,,,..,, A'<1~-r
        In San Juan, Puerto Rico, on J.$ 2--0 • 2012.




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                     FOURTH ALLONGE TO PROMISSORY NOTE


 Amount: $21,505,982.71                                Maturity date: January 31, 2014


       The Promissory Note executed by Ruben A. Hernandez Gregorat on October 30,
2009, for the amount of Twenty Million Dollars ($20,000,000), before notary public
Meraris Ambert Cabrera, as amended by First Allonge to Promissory Note executed by
Ruben A. Hernandez Gregorat on October 8, 2010, before notary public Zoraya
Betancourt Calzada, as amended by Second Allonge to Promissory Note executed by
Ruben A. Hernandez Gregorat on May 19, 2011, before notary public Maria de Lourdes
Rodriguez, as amended by Third Allonge to Promissory Note executed by Ruben A.
Hernandez Gregorat on August 20, 2012 before notary public Marfa de Lourdes
Rodriguez, is hereby further amended to extend the maturity date to January 31, 2014.

        This Fourth Allonge to Promissory Note is executed in connection with the
Fourth Amendment to Loan Agreement between the Puerto Rico Highway and
Transportation Authority and the Government Development Bank for Puerto Rico,
executed on this same date. All other provisions of the referenced Promissory Note, as
amended, not inconsistent with this Fourth Allonge to Promissory Note, shall remain in
full force and effect.

      IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation
Authority has caused this Fourth Allonge to Promissory Note to be signed by its
Executive Director, in San Juan, Puerto Rico, on May,£ 2013.


                                         PUERTO RICO HIGHWAY AND
                                         TRANSPORTATION AUTHORITY


                                                     ~
                                                               'ndez


Affidavit No. 5 DI

      Recognized and subscribed before me by Javier E. Ramos Hernandez as
Executive Director of Puerto Rico Highway and Transportation Authority, of legal age,
married, engineer and resident of Bayamon, Puerto Rico, who is personally known to
me.

      In San Juan, Puerto Rico, on May!!:._, 2013.




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                         FIFTH ALLONGE TO PROMISS ORY NOTE


  Amount: $21,505,982.71                                     Maturity date: January 31, 2015


         The Promissory Note executed by Ruben A. Hernandez Gregorat on October 30, 2009,
 for the amount of Twenty Million Dollars ($20,000,000), before notary public Meraris Ambert
 Cabrera, as amended by First Allonge to Promissory Note executed by Ruben A. Hernandez
 Gregorat on October 8, 2010, before notary public Zoraya Betancourt Calzada, as amended by
 Second Allonge to Promissory Note executed by Ruben A. Hernandez Gregorat on
 May 19, 2011, before notary public Maria de Lourdes Rodriguez, as amended by Third Allonge
 to Promissory Note executed by Ruben A. Hernandez Gregorat on August 20, 2012 before
 notary public Maria de Lourdes Rodriguez, as amended by Fourth Allonge to Promissory Note
 executed by Javier E. Ramos Hernandez on May 6, 2013 before notary public Belen Fornaris, is
 hereby further amended to extend the maturity date to January 31, 2015.

        This Fifth Allonge to Promissory Note is executed in connection with the Fifth
 Amendment to Loan Agreement between the Puerto Rico Highway and Transportation Authority
 and the Government Development Bank for Puerto Rico, executed on this same date. All other
 provisions of the referenced Promissory Note, as amended, not inconsistent with this Fifth
 Allonge to Promissory Note, shall remain in full force and effect.

        IN WITNESS WHEREOF, the Puerto Rico Highway and Transportation Authority has
 caused this Fifth Allonge to Promissory Note to be signed by its Executive Director, in San Juan,
 Puerto Rico, on February, _±_, 2014.

                                              PUERTO RICOIDG HWAY AND
                                              TRANSPO RTATION AUTHOR ITY




 Testimony No. 7 73

         Recognized and subscribed before me by Javier E. Ramos Hernandez as Executive
 Director of Puerto Rico Highway and Transportation Authority, of legal age, married, engineer
 and resident of Bayamon, Puerto Rico, who is personally known to me.




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                                                  PROMISSORY NOTE


             AMOUNT: $59,722,346                                               MATURITY: August 31, 2013

                       FOR VALUE RECEIVED, I will pay to the order of the GOVERNMENT
             DEVELOPMENT BANK FOR PUERTO RICO, at its main office in Santurce, Puerto Rico, the
             principal amount of FIFTY-NINE MILLION SEVEN HUNDRED TWENTY-TWO
             THOUSAND THREE HUNDRED FORTY-SIX DOLLARS ($59,722,346), plus capitalized
             interest, in United States legal tender, less any amount already paid. This PROMISSORY NOTE
             will accrue interest based on the unpaid balance of the principal amount through the date of its
             payment in full, based on the Prime Rate of interest plus 1.50%, with a minimum of 6%, or the
             rate that the BANK President or the Executive Vice President designated by the same may
             establish, depending on market interest rates. Interest will be capitalized upon maturity. This
             PROMISSORY NOTE is granted by virtue of the LOAN AGREEMENT granted on this same
             date.

                      In the event that the holder or bearer of this PROMISSORY NOTE is compelled to turn
             to the law courts for its collection or must participate in procedures under Federal Bankruptcy
             Law, the undersigned will also pay an amount equal to TEN PERCENT (10%) of the principal of
             this PROMISSORY NOTE, as due and payable without the need for judicial intervention, for
             costs, expenses and attorney’s fees, and the penalty of which will be payable with the mere filing
             in the court of claims.

                      We expressly release the holder or bearer of this PROMISSORY NOTE from their
             obligation to provide security in the event of legal action for the collection of this PROMISSORY
             NOTE if such holder or bearer requests an order from the court to ensure the performance of the
             judgment according to the Laws of Puerto Rico.

                     The holder or bearer of this PROMISSORY NOTE may accelerate its term and declare it
             due and payable before its maturity, if any of the following events occurs:

                      a)       Any of the interest and principal installments or any advance related to the loan
             that evidences this PROMISSORY NOTE has been made by its holder or bearer in favor of the
             undersigned are not paid when due;
[initials]
                         b)   Attachment or seizure of any of the properties of the undersigned pledged as
             security;

                      c)       Insolvency, receivership, dissolution, termination, liquidation or bankruptcy or
             any of the foregoing of the undersigned and their successors;

                     d)       It is determined that any information, guarantee or representation made by the
             undersigned to the holder or bearer of this PROMISSORY NOTE be false or doubtful in part or in
             whole on the date made; and the

                      e)       Breach by the undersigned of any of the terms, clauses and conditions of this
             PROMISSORY NOTE or LOAN AGREEMENT signed on the date of closing with the holder or
             bearer of this PROMISSORY NOTE.

                      The undersigned hereby waives all rights to filing, non-payment, objection, claim and
             notice. The undersigned authorizes the holder or bearer of this PROMISSORY NOTE and
             bestows power, without requiring any notification, to apply the right of compensation, or set-off,
             to the obligations that originate from this PROMISSORY NOTE




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             and to extend its payment date before or after its maturity, and likewise before or after its maturity
             to extend forbearance, grant leniency, make any application of payments of any amount belonging
             to the undersigned or for any other note under the authority of the holder or bearer of this
             PROMISSORY NOTE, and to modify, change or alter the form of payment of this
             PROMISSORY NOTE and to substitute, change or release any person of responsibility without
             this affecting, diminishing or altering the joint responsibility of the undersigned, who despite such
             substitution, change or release, will continue to be jointly responsible for their payment obligation
             to the holder or bearer of this PROMISSORY NOTE.

                       The use of the singular in this PROMISSORY NOTE shall be understood to mean the
             plural if more than one person signs; the use of the plural includes the singular; and the use of
             pronouns for any gender includes the other; and if there is more than one signer the responsibility
             of each one of those obligated to the holder or bearer of this PROMISSORY NOTE will be joint
             for all the signers.

                      In San Juan, Puerto Rico, on [hw:] October 27, 2011.


                                                                    HIGHWAYS AND TRANSPORTATION
                                                                    AUTHORITY


                                                                    [signature]
                                                                    Rubén Hernández Gregorat
                                                                    Executive Director
                                                                    Secretary, Puerto Rico Department of
                                                                     Transportation and Public Works
[initials]
             Certification No. [hw:] 626

                      Acknowledged and signed before me by Rubén Hernández Gregorat, of legal age,
             married and resident of Guaynabo, Puerto Rico, in his capacity as Executive Director of the Puerto
             Rico Highways and Transportation Authority, and Secretary of the Puerto Rico Department of
             Transportation and Public Works, whom I attest to personally know.

                      In San Juan, Puerto Rico, on October [hw:] 27, 2011.


                 [seal:] MARIA DE LOURDES RODRIGUEZ                         [signature]
                                  [emblem]                                Notary Public
                           Attorney - Notary Public
Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                                    Desc:
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                   FIRST AMENDMENT TO PROMISSORY NOTE (“ALLONGE”)


      VALUE: $185,281,724.19                                           MATURITY: August 31, 2013

              The PROMISSORY NOTE for FIFTY-NINE MILLION SEVEN HUNDRED

      TWENTY-TWO THOUSAND THREE HUNDRED FORTY-SIX DOLLARS ($59,722,346)

      signed on October 27, 2011, by Rubén Hernández Gregorat, in his capacity as Executive Director

      of the Puerto Rico Highways and Transportation Authority, and Secretary of the Puerto Rico

      Department of Transportation and Public Works, before the Notary Public María de Lourdes

      Rodríguez, payable to the Government Development Bank for Puerto Rico, is amended to increase

      the amount to ONE HUNDRED EIGHTY-FIVE MILLION TWO HUNDRED EIGHTY-ONE

      THOUSAND SEVEN HUNDRED TWENTY-FOUR DOLLARS AND NINETEEN CENTS

      ($185,281,724.19). This increase in amount is recorded by virtue of the FIRST AMENDMENT

      TO THE LOAN AGREEMENT that the Highways and Transportation Authority and the

      Government Development Bank have signed today, and based on Resolution No. 9719 approved

      by the Board of Directors of the Bank on February 22, 2012.

              In San Juan, Puerto Rico, on March [hw:] 5, 2012.


                                                           HIGHWAYS AND TRANSPORTATION
                                                           AUTHORITY


                                                           [signature]
                                                           Rubén Hernández Gregorat
                                                           Executive Director and
                                                           Secretary, Puerto Rico Department of
                                                           Transportation and Public Works

      Certification No. [hw:] 661-

               Acknowledged and signed before me by Rubén Hernández Gregorat, of legal age,
      married and resident of Guaynabo, Puerto Rico, in his capacity as Executive Director of the Puerto
      Rico Highways and Transportation Authority, and Secretary of the Puerto Rico Department of
      Transportation and Public Works, whom I attest to personally know.

              In San Juan, Rico, on March [hw:] 5, 2012.

       [seal:] MARIA DE LOURDES RODRIGUEZ
                        [emblem]                                    [signature]
                 Attorney - Notary Public                         Notary Public
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              FIRST [sic: SECOND] AMENDMENT TO PROMISSORY NOTE (“ALLONGE”)


      VALUE: $185,281,724.19                                           MATURITY: August 31, 2014

               The PROMISSORY NOTE for FIFTY-NINE MILLION SEVEN HUNDRED
      TWENTY-TWO THOUSAND THREE HUNDRED FORTY-SIX DOLLARS ($59,722,346)
      signed October 27, 2011, by Rubén Hernández Gregorat, in his then capacity as Executive
      Director of the Puerto Rico Highways and Transportation Authority, and Secretary of the Puerto
      Rico Department of Transportation and Public Works, before the Notary Public María de Lourdes
      Rodríguez, Certification No. 626, and payable to the Government Development Bank for Puerto
      Rico (the “BANK”), amended by the First Amendment to the Promissory Note (“Allonge”) signed
      on March 5, 2012, by the aforementioned official and before the notary public María de Lourdes
      Rodríguez, Certification No. 661, is hereby amended to extend its maturity date to August 31,
      2014.

                This amendment is recorded by virtue of the THIRD AMENDMENT TO THE LOAN
      AGREEMENT that the Highways and Transportation Authority and the BANK have signed on
      this day.

               All other terms and conditions of the PROMISSORY NOTE, as amended, not
      inconsistent with this SECOND AMENDMENT TO THE PROMISSORY NOTE, shall remain
      unaltered and in full force.


                In San Juan, Puerto Rico, on August [hw:] 28, 2013.

                                                           HIGHWAYS AND TRANSPORTATION
                                                           AUTHORITY


                                                           [signature]
                                                           Javier E. Ramos Hernández
                                                           Executive Director




      Certification [hw:] 844

              Acknowledged and signed before me by Javier E. Ramos Hernández, of legal age,
      married and resident of Bayamón, Puerto Rico, in his capacity as Executive Director of the Puerto
      Rico Highways and Transportation Authority, whom I attest to personally know.

                In San Juan, Rico, on August [hw:] 28, 2013.

                                                                    [signature]
       [seal:] MARGUILEÁN RIVERA AMILL                            Notary Public
                    [emblem]
          ATTORNEY - NOTARY PUBLIC
                                [seal:] EXEMPT FROM PAYMENT OF TARIFF
                                           LAW 47 OF JUNE 4, 1982




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                          THIRD AMENDMENT TO PROMISSORY NOTE (“ALLONGE”)


             VALUE: $185,281,724.19                                           MATURITY: August 31, 2015

                      The PROMISSORY NOTE for FIFTY-NINE MILLION SEVEN HUNDRED
             TWENTY-TWO THOUSAND THREE HUNDRED FORTY-SIX DOLLARS ($59,722,346)
             signed October 27, 2011, by Rubén Hernández Gregorat, in his then capacity as Executive
             Director of the Puerto Rico Highways and Transportation Authority, and Secretary of the Puerto
             Rico Department of Transportation and Public Works, before the Notary Public María de Lourdes
             Rodríguez, Certification No. 626, and payable to the Government Development Bank for Puerto
             Rico (the “BANK”), amended by the First Amendment to the Promissory Note (“Allonge”) signed
             on March 5, 2012, by the aforementioned official and before the notary public María de Lourdes
             Rodríguez, Certification No. 661, to increase its amount to ONE HUNDRED EIGHTY-FIVE
             MILLION TWO HUNDRED EIGHTY-ONE THOUSAND SEVEN HUNDRED TWENTY-
             FOUR DOLLARS AND NINETEEN CENTS ($185,281,724.19), and by the First Amendment to
             the Promissory Note (“Allonge”) (which should have been titled “Second Amendment to the
             Promissory Note (“Allonge”)) [sic] signed August 28, 2013, by Javier E. Ramos Hernández, in his
             capacity as Executive Director of the AUTHORITY, before the Notary Public Marguileán Rivera
             Amill, Certification No. 874, to extend its maturity date, is hereby amended to again extend the
             maturity date to August 31, 2015.

                  This amendment is recorded by virtue of the FOURTH AMENDMENT TO THE LOAN
             AGREEMENT that the AUTHORITY and the BANK have signed on this day.
[initials]
                      All other terms and conditions of the PROMISSORY NOTE, as amended, not
             inconsistent with this THIRD AMENDMENT TO THE PROMISSORY NOTE (ALLONGE),
             shall remain unaltered and in full force.

                      In San Juan, Puerto Rico, on December [hw:] 9, 2014.

                                                                 HIGHWAYS AND TRANSPORTATION
                                                                 AUTHORITY


                                                                 [signature]
                                                                 Javier E. Ramos Hernández
                                                                 Executive Director

             Certification [hw:] 1,014

                     Acknowledged and signed before me by Javier E. Ramos Hernández, of legal age,
             married and resident of Bayamón, Puerto Rico, in his capacity as Executive Director of the Puerto
             Rico Highways and Transportation Authority, whom I attest to personally know.

                      In San Juan, Rico, on December [hw:] 9, 2014.

                 [seal:] MARGUILEÁN RIVERA AMILL                          [signature]
                              [emblem]                                  Notary Public
                    ATTORNEY - NOTARY PUBLIC
                                   [seal:] EXEMPT FROM PAYMENT OF TARIFF
                                              LAW 47 OF JUNE 4, 1982




             30900
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                                           PROMISSORY NOTE


      AMOUNT: $11,397,243                                                MATURITY: August 31, 2013

               FOR VALUE RECEIVED, I will pay to the order of the GOVERNMENT
      DEVELOPMENT BANK FOR PUERTO RICO, at its main office in Santurce, Puerto Rico, the
      principal amount of ELEVEN MILLION THREE HUNDRED NINETY-SEVEN
      THOUSAND TWO HUNDRED FORTY-THREE DOLLARS ($11,397,243), plus capitalized
      interest, in United States legal tender, less any amount already paid. This PROMISSORY NOTE
      will accrue interest based on the unpaid balance of the principal amount through the date of its
      payment in full, based on the Prime Rate of interest plus 1.50%, with a minimum of 6%, or the
      rate that the BANK President or the Executive Vice President designated by the same may
      establish, depending on market interest rates. Interest will be capitalized upon maturity. This
      PROMISSORY NOTE is granted by virtue of the LOAN AGREEMENT granted on this same
      date.

               In the event that the holder or bearer of this PROMISSORY NOTE is compelled to turn
      to the law courts for its collection or must participate in procedures under Federal Bankruptcy
      Law, the undersigned will also pay an amount equal to TEN PERCENT (10%) of the principal of
      this PROMISSORY NOTE, as due and payable without the need for judicial intervention, for
      costs, expenses and attorney’s fees, and the penalty of which will be payable with the mere filing
      in the court of claims.

               We expressly release the holder or bearer of this PROMISSORY NOTE from their
      obligation to provide security in the event of legal action for the collection of this PROMISSORY
      NOTE if such holder or bearer requests an order from the court to ensure the performance of the
      judgment according to the Laws of Puerto Rico.

              The holder or bearer of this PROMISSORY NOTE may accelerate its term and declare it
      due and payable before its maturity, if any of the following events occurs:

               a)       Any of the interest and principal installments or any advance related to the loan
      that evidences this PROMISSORY NOTE has been made by its holder or bearer in favor of the
      undersigned are not paid when due;

                  b)    Attachment or seizure of any of the properties of the undersigned pledged as
      security;

                c)      Insolvency, receivership, dissolution, termination, liquidation or bankruptcy or
      any of the foregoing of the undersigned and their successors;
                d)      [initials]It is determined that any information, guarantee or representation made
      by the undersigned to the holder or bearer of this PROMISSORY NOTE be false or doubtful in
      part or in whole on the date made; and the

               e)       Breach by the undersigned of any of the terms, clauses and conditions of this
      PROMISSORY NOTE or LOAN AGREEMENT signed on the date of closing with the holder or
      bearer of this PROMISSORY NOTE.

               The undersigned hereby waives all rights to filing, non-payment, objection, claim and
      notice. The undersigned authorizes the holder or bearer of this PROMISSORY NOTE and
      bestows power, without requiring any notification, to apply the right of compensation, or set-off,
      to the obligations that originate from this PROMISSORY NOTE and to extend its payment date
      before or after its maturity, and likewise before or after its maturity to extend forbearance, grant
      leniency, make any



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             application of payments of any amount belonging to the undersigned or for any other note under
             the authority of the holder or bearer of this PROMISSORY NOTE, and to modify, change or alter
             the form of payment of this PROMISSORY NOTE and to substitute, change or release any person
             of responsibility without this affecting, diminishing or altering the joint responsibility of the
             undersigned, who despite such substitution, change or release, will continue to be jointly
             responsible for their payment obligation to the holder or bearer of this PROMISSORY NOTE.

                       The use of the singular in this PROMISSORY NOTE shall be understood to mean the
             plural if more than one person signs; the use of the plural includes the singular; and the use of
             pronouns for any gender includes the other; and if there is more than one signer the responsibility
             of each one of those obligated to the holder or bearer of this PROMISSORY NOTE will be joint
             for all the signers.

                     In San Juan, Puerto Rico, on [hw:] October 27, 2011.


                                                                  HIGHWAYS AND TRANSPORTATION
                                                                  AUTHORITY


                                                                  [signature]
                                                                  Rubén Hernández Gregorat
                                                                  Executive Director
                                                                  Secretary, Puerto Rico Department of
                                                                   Transportation and Public Works

             Certification No. [hw:] 625

                      Acknowledged and signed before me by Rubén Hernández Gregorat, of legal age,
             married and resident of Guaynabo, Puerto Rico, in his capacity as Executive Director of the Puerto
             Rico Highways and Transportation Authority, and Secretary of the Puerto Rico Department of
             Transportation and Public Works, whom I attest to personally know.

                     In San Juan, Puerto Rico, on October [hw:] 27, 2011.


[initials]
                 [seal:] MARIA DE LOURDES RODRIGUEZ                       [signature]
                                  [emblem]                              Notary Public
                           Attorney - Notary Public
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                   FIRST AMENDMENT TO PROMISSORY NOTE (“ALLONGE”)


      VALUE: $12,440,090.81                                            MATURITY: August 31, 2013

              The PROMISSORY NOTE for ELEVEN MILLION THREE HUNDRED NINETY-

      SEVEN THOUSAND TWO HUNDRED FORTY-THREE DOLLARS ($11,397,243) signed on

      October 27, 2011, by Rubén Hernández Gregorat, in his capacity as Executive Director of the

      Puerto Rico Highways and Transportation Authority, and Secretary of the Puerto Rico Department

      of Transportation and Public Works, before the Notary Public María de Lourdes Rodríguez,

      payable to the Government Development Bank for Puerto Rico, is amended to increase the amount

      to TWELVE MILLION FOUR HUNDRED FORTY THOUSAND NINETY DOLLARS AND

      EIGHTY-ONE CENTS ($12,440,090.81). This increase in amount is recorded by virtue of the

      FIRST AMENDMENT TO THE LOAN AGREEMENT that the Highways and Transportation

      Authority and the Government Development Bank have signed today, and based on Resolution

      No. 9719 approved by the Board of Directors of the Bank on February 22, 2012.

              In San Juan, Puerto Rico, on March [hw:] 5, 2012.


                                                           HIGHWAYS AND TRANSPORTATION
                                                           AUTHORITY


                                                           [signature]
                                                           Rubén Hernández Gregorat
                                                           Executive Director and
                                                           Secretary, Puerto Rico Department of
                                                           Transportation and Public Works

      Certification No. [hw:] 660-

               Acknowledged and signed before me by Rubén Hernández Gregorat, of legal age,
      married and resident of Guaynabo, Puerto Rico, in his capacity as Executive Director of the Puerto
      Rico Highways and Transportation Authority, and Secretary of the Puerto Rico Department of
      Transportation and Public Works, whom I attest to personally know.

              In San Juan, Rico, on March [hw:] 5, 2012.

       [seal:] MARIA DE LOURDES RODRIGUEZ
                        [emblem]                                    [signature]
                 Attorney - Notary Public                         Notary Public
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                  SECOND AMENDMENT TO PROMISSORY NOTE (“ALLONGE”)


      VALUE: $12,440,090.81                                            MATURITY: August 31, 2014

               The PROMISSORY NOTE for ELEVEN MILLION THREE HUNDRED NINETY-
      SEVEN THOUSAND TWO HUNDRED FORTY-THREE DOLLARS ($11,397,243) signed
      October 27, 2011, by Rubén Hernández Gregorat, in his then capacity as Executive Director of the
      Puerto Rico Highways and Transportation Authority, and Secretary of the Puerto Rico Department
      of Transportation and Public Works, before the Notary Public María de Lourdes Rodríguez,
      Certification No. 625, and payable to the Government Development Bank for Puerto Rico (the
      “BANK”), amended by the First Amendment to the Promissory Note (“Allonge”) signed on
      March 5, 2012, by the aforementioned official and before the notary public María de Lourdes
      Rodríguez, Certification No. 660, is hereby amended to extend its maturity date to August 31,
      2014.

                This amendment is recorded by virtue of the THIRD AMENDMENT TO THE LOAN
      AGREEMENT that the Highways and Transportation Authority and the BANK have signed on
      this day.

               All other terms and conditions of the PROMISSORY NOTE, as amended, not
      inconsistent with this SECOND AMENDMENT TO THE PROMISSORY NOTE, shall remain
      unaltered and in full force.


              In San Juan, Puerto Rico, on August [hw:] 28, 2013.

                                                          HIGHWAYS AND TRANSPORTATION
                                                          AUTHORITY


                                                          [signature]
                                                          Javier E. Ramos Hernández
                                                          Executive Director



      Certification [hw:] 873

              Acknowledged and signed before me by Javier E. Ramos Hernández, of legal age,
      married and resident of Bayamón, Puerto Rico, in his capacity as Executive Director of the Puerto
      Rico Highways and Transportation Authority, whom I attest to personally know.

              In San Juan, Rico, on August [hw:] 28, 2013.

                                                                   [signature]
       [seal:] MARGUILEÁN RIVERA AMILL                           Notary Public
                    [emblem]
          ATTORNEY - NOTARY PUBLIC
                                             [seal:] EXEMPT FROM PAYMENT OF TARIFF
                                                        LAW 47 OF JUNE 4, 1982




      29858
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                           THIRD AMENDMENT TO PROMISSORY NOTE (“ALLONGE”)


             VALUE: $12,440,090.81                                            MATURITY: August 31, 2015

                      The PROMISSORY NOTE for ELEVEN MILLION THREE HUNDRED NINETY-
             SEVEN THOUSAND TWO HUNDRED FORTY-THREE DOLLARS ($11,397,243) signed
             October 27, 2011, by Rubén Hernández Gregorat, in his then capacity as Executive Director of the
             Puerto Rico Highways and Transportation Authority, and Secretary of the Puerto Rico Department
             of Transportation and Public Works, before the Notary Public María de Lourdes Rodríguez,
             Certification No. 625, and payable to the Government Development Bank for Puerto Rico (the
             “BANK”), amended by the First Amendment to the Promissory Note (“Allonge”) signed on
             March 5, 2012, by the aforementioned official and before the notary public María de Lourdes
             Rodríguez, Certification No. 661, to increase its amount to TWELVE MILLION FOUR
             HUNDRED FORTY THOUSAND NINETY DOLLARS AND EIGHTY-ONE CENTS
             ($12,440,090.81), and by the Second Amendment to the Promissory Note (“Allonge”) signed
             August 28, 2013, by Javier E. Ramos Hernández, in his capacity as Executive Director of the
             AUTHORITY, before the Notary Public Marguileán Rivera Amill, Certification No. 873, to
             extend its maturity date, is hereby amended to again extend the maturity date to August 31, 2015.

                  This amendment is recorded by virtue of the FOURTH AMENDMENT TO THE LOAN
             AGREEMENT that the AUTHORITY and the BANK have signed on this day.
[initials]
                      All other terms and conditions of the PROMISSORY NOTE, as amended, not
             inconsistent with this THIRD AMENDMENT TO THE PROMISSORY NOTE (ALLONGE),
             shall remain unaltered and in full force.


                       In San Juan, Puerto Rico, on December [hw:] 9, 2014.

                                                                  HIGHWAYS AND TRANSPORTATION
                                                                  AUTHORITY


                                                                  [signature]
                                                                  Javier E. Ramos Hernández
                                                                  Executive Director

             Certification [hw:] 1,013

                     Acknowledged and signed before me by Javier E. Ramos Hernández, of legal age,
             married and resident of Bayamón, Puerto Rico, in his capacity as Executive Director of the Puerto
             Rico Highways and Transportation Authority, whom I attest to personally know.


                       In San Juan, Rico, on December [hw:] 9, 2014.

                 [seal:] MARGUILEÁN RIVERA AMILL                          [signature]
                              [emblem]                                  Notary Public
                    ATTORNEY - NOTARY PUBLIC
                                   [seal:] EXEMPT FROM PAYMENT OF TARIFF
                                              LAW 47 OF JUNE 4, 1982



             3090[0]
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                                                  PROMISSORY NOTE


             AMOUNT: $49,325,000                                              MATURITY: January 31, 2013

                       FOR VALUE RECEIVED, I will pay to the order of the GOVERNMENT
             DEVELOPMENT BANK FOR PUERTO RICO, at its main office in Santurce, Puerto Rico, the
             principal amount of FORTY-NINE MILLION THREE HUNDRED TWENTY-FIVE
             THOUSAND DOLLARS ($49,325,000), plus capitalized interest, in United States legal tender,
             less any amount already paid. This PROMISSORY NOTE will accrue interest daily based on the
             unpaid balance of the principal amount, calculated on an Actual/360 basis, according to the Prime
             Rate of interest, as determined by the BANK, plus one hundred fifty (150) basis points. The
             interest rate that will apply to this PROMISSORY NOTE will be no less than six percent (6%).
             The BANK may from time to time revise the basis, margin and frequency of the interest rate, as
             deemed necessary and according to market rates. The interest will vary as the Prime Rate varies.
             Accrued interest under this PROMISSORY NOTE will be payable at maturity.

                      If the AUTHORITY has not paid the outstanding principal balance on the maturity date
             of the obligation to repay, the AUTHORITY will pay interest on this amount calculated on two
             hundred (200) basis points of the rate that applies under this PROMISSORY NOTE.

                      This PROMISSORY NOTE is granted by virtue of the LOAN AGREEMENT granted on
             this same date.

                      In the event that the holder or bearer of this PROMISSORY NOTE is compelled to turn
             to the law courts for its collection or must participate in procedures under Federal Bankruptcy
             Law, the undersigned will also pay an amount equal to TEN PERCENT (10%) of the principal of
             this PROMISSORY NOTE, as due and payable without the need for judicial intervention, for
             costs, expenses and attorney’s fees, and the penalty of which will be payable with the mere filing
             in the court of claims.

                      We expressly release the holder or bearer of this PROMISSORY NOTE from their
             obligation to provide security in the event of legal action for the collection of this PROMISSORY
             NOTE if such holder or bearer requests an order from the court to ensure the performance of the
             judgment according to the Laws of Puerto Rico.

                     The holder or bearer of this PROMISSORY NOTE may accelerate its term and declare it
             due and payable before its maturity, if any of the following events occurs:

                      a)       Any of the interest and principal installments or any advance related to the loan
             that evidences this PROMISSORY NOTE has been made by its holder or bearer in favor of the
             undersigned are not paid when due;
[initials]
                         b)   Attachment or seizure of any of the properties of the undersigned pledged as
             security;

                      c)       Insolvency, receivership, dissolution, termination, liquidation or bankruptcy or
             any of the foregoing of the undersigned and their successors;

                     d)       It is determined that any information, guarantee or representation made by the
             undersigned to the holder or bearer of this PROMISSORY NOTE be false or doubtful in part or in
             whole on the date made; and the

                      e)       Breach by the undersigned of any of the terms, clauses and conditions of this
             PROMISSORY NOTE or LOAN AGREEMENT signed on the date of closing with the holder or
             bearer of this PROMISSORY NOTE.



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               The undersigned hereby waives all rights to filing, non-payment, objection, claim and
      notice. The undersigned authorizes the holder or bearer of this PROMISSORY NOTE and
      bestows power, without requiring any notification, to apply the right of compensation, or set-off,
      to the obligations that originate from this PROMISSORY NOTE and to extend its payment date
      before or after its maturity, and likewise before or after its maturity to extend forbearance, grant
      leniency, make any application of payments of any amount belonging to the undersigned or for
      any other note under the authority of the holder or bearer of this PROMISSORY NOTE, and to
      modify, change or alter the form of payment of this PROMISSORY NOTE and to substitute,
      change or release any person of responsibility without this affecting, diminishing or altering the
      joint responsibility of the undersigned, who despite such substitution, change or release, will
      continue to be jointly responsible for their payment obligation to the holder or bearer of this
      PROMISSORY NOTE.

                The use of the singular in this PROMISSORY NOTE shall be understood to mean the
      plural if more than one person signs; the use of the plural includes the singular; and the use of
      pronouns for any gender includes the other; and if there is more than one signer the responsibility
      of each one of those obligated to the holder or bearer of this PROMISSORY NOTE will be joint
      for all the signers.

               In San Juan, Puerto Rico, on November [hw:] 29, 2011.


                                                            HIGHWAYS AND TRANSPORTATION
                                                            AUTHORITY


                                                            [signature]
                                                            Rubén Hernández Gregorat
                                                            Executive Director and Secretary,
                                                            Puerto Rico Department of Transportation
                                                            and Public Works

      Certification No. [hw:] 415

               Acknowledged and signed before me by Rubén Hernández Gregorat, of legal age,
      married and resident of Guaynabo, Puerto Rico, in his capacity as Executive Director of the Puerto
      Rico Highways and Transportation Authority, and Secretary of the Puerto Rico Department of
      Transportation and Public Works, whom I attest to personally know.

               In San Juan, Puerto Rico, on November [hw:] 29, 2011.

           [seal:] Zoraya Betancourt Calzada
                       [emblem]
                Attorney - Notary Public                            [signature]
                                                                  Notary Public
Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                                   Desc:
                     Monolines Ex. 51 Page 153 of 167


                           FIRST AMENDMENT TO PROMISSORY NOTE
                                       (“ALLONGE”)


      $49,325,000                                                         Maturity: January 31, 2014

               The PROMISSORY NOTE for FORTY-NINE MILLION THREE HUNDRED
      TWENTY-FIVE THOUSAND DOLLARS ($49,325,000), signed on November 29, 2011, by
      Rubén Hernández Gregorat, in his then capacity as Executive Director of the Puerto Rico
      Highways and Transportation Authority, and Secretary of the Puerto Rico Department of
      Transportation and Public Works, before the Notary Public Zoraya Betancourt Calzada,
      Certification number 415, and payable to the Government Development Bank for Puerto Rico (the
      “BANK”) or to its order, is amended to extend its maturity date through January 31, 2014. The
      principal and interest accrued on the PROMISSORY NOTE will be payable at maturity.

               All other terms and conditions of the PROMISSORY NOTE, as amended, not
      inconsistent with this FIRST AMENDMENT TO THE PROMISSORY NOTE, shall remain
      unaltered and in full force.

              This modification is recorded by virtue of the FOURTH AMENDMENT TO THE LOAN
      AGREEMENT that the BANK and the Puerto Rico Highways and Transportation Authority have
      signed on this day.

              In San Juan, Puerto Rico, on March [hw:] 13, 2013.



                                                            PUERTO RICO HIGHWAYS AND
                                                            TRANSPORTATION AUTHORITY


                                                            [signature]
                                                            Javier E. Ramos Hernández
                                                            Executive Director

      Certification No. [hw:] 786

               Acknowledged and signed before me by Javier E. Ramos Hernández, of legal age,
      married, engineer, and resident of Bayamón, Puerto Rico, in his capacity as Executive Director of
      the Puerto Rico Highways and Transportation Authority, whom I attest to personally know.


              In San Juan, Rico, on March [hw:] 13, 2013.


                                                                   [signature]
         [seal:] MARGUILEÁN RIVERA AMILL                         Notary Public
                      [emblem]
            ATTORNEY - NOTARY PUBLIC                [seal:] EXEMPT FROM PAYMENT OF TARIFF
                                                               LAW 47 OF JUNE 4, 1982




      29240
Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                                   Desc:
                     Monolines Ex. 51 Page 154 of 167


                          SECOND AMENDMENT TO PROMISSORY NOTE
                                      (“ALLONGE”)


      $49,325,000                                                         Maturity: January 31, 2015

               The PROMISSORY NOTE for FORTY-NINE MILLION THREE HUNDRED
      TWENTY-FIVE THOUSAND DOLLARS ($49,325,000), signed November 29, 2011, by
      Rubén Hernández Gregorat, in his then capacity as Executive Director of the Puerto Rico
      Highways and Transportation Authority, and Secretary of the Puerto Rico Department of
      Transportation and Public Works, before the Notary Public Zoraya Betancourt Calzada,
      Certification number 415, and payable to the Government Development Bank for Puerto Rico (the
      “BANK”) or to its order, amended by the FIRST AMENDMENT TO THE PROMISSORY
      NOTE (“ALLONGE”) signed by Javier E. Ramos Hernández, in his capacity as Executive
      Director of the Puerto Rico Highways and Transportation Authority, March 13, 2013, before the
      notary public Marguileán Rivera Amill, Certification No. 786, is hereby amended to extend its
      maturity date and repayment of accrued interest to January 31, 2015.

               All other terms and conditions of the PROMISSORY NOTE, as amended, not
      inconsistent with this SECOND AMENDMENT TO THE PROMISSORY NOTE, shall remain
      unaltered and in full force.

              This modification is recorded by virtue of the FIFTH AMENDMENT TO THE LOAN
      AGREEMENT that the BANK and the Puerto Rico Highways and Transportation Authority have
      signed on this day.

              In San Juan, Puerto Rico, on January [hw:] 31, 2014.



                                                          PUERTO RICO HIGHWAYS AND
                                                          TRANSPORTATION AUTHORITY



                                                          [signature]
                                                          Javier E. Ramos Hernández
                                                          Executive Director

      Certification No. [hw:] 584

               Acknowledged and signed before me by Javier E. Ramos Hernández, of legal age,
      married, engineer, and resident of Bayamón, Puerto Rico, in his capacity as Executive Director of
      the Puerto Rico Highways and Transportation Authority, whom I attest to personally know.

              In San Juan, Rico, on January [hw:] 31, 2014.

        [seal:] BELÉN FORNARIS ALFARO                              [signature]
                     [emblem]                                    Notary Public
                   PUERTO RICO
          ATTORNEY - NOTARY PUBLIC

[seal:] EXEMPT FROM PAYMENT OF TARIFF
           LAW 47 OF JUNE 4, 1982



      30279
       Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                                   Desc:
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                                    THIRD AMENDMENT TO PROMISSORY NOTE
                                               (“ALLONGE”)


               $49,325,000                                                        Maturity: January 31, 2016

                        The PROMISSORY NOTE for FORTY-NINE MILLION THREE HUNDRED
               TWENTY-FIVE THOUSAND DOLLARS ($49,325,000), signed November 29, 2011, by
               Rubén Hernández Gregorat, in his then capacity as Executive Director of the Puerto Rico
               Highways and Transportation Authority, and Secretary of the Puerto Rico Department of
               Transportation and Public Works, before the Notary Public Zoraya Betancourt Calzada,
               Certification number 415, and payable to the Government Development Bank for Puerto Rico (the
               “BANK”) or to its order, amended by the FIRST AMENDMENT TO THE PROMISSORY
               NOTE (“ALLONGE”) signed by Javier E. Ramos Hernández, in his capacity as Executive
               Director of the Puerto Rico Highways and Transportation Authority, March 13, 2013, before the
               notary public Marguileán Rivera Amill, Certification No. 786, amended by the SECOND
               AMENDMENT TO THE PROMISSORY NOTE (“ALLONGE”) signed by Javier E. Ramos
               Hernández, in his capacity as Executive Director of the Puerto Rico Highways and Transportation
               Authority, January 31, 2014, before the notary public Belén Fornaris Alfaro, Certification No.
               584, is hereby amended to extend its maturity date and repayment of accrued interest to January
               31, 2016.

                        All other terms and conditions of the PROMISSORY NOTE, as amended, not
               inconsistent with this THIRD AMENDMENT TO THE PROMISSORY NOTE, shall remain
               unaltered and in full force.

                       This modification is recorded by virtue of the SIXTH AMENDMENT TO THE LOAN
               AGREEMENT that the BANK and the Puerto Rico Highways and Transportation Authority have
               signed on this day.

                       In San Juan, Puerto Rico, on May [hw:] 20, 2015.

                                                                   PUERTO RICO HIGHWAYS AND
                                                                   TRANSPORTATION AUTHORITY


                                                                   [signature]
                                                                   Carmen A. Villar-Prados
                                                                   Executive Director

               Certification No. [hw:] 732

                        Acknowledged and signed before me by Carmen A. Villar-Prados, of legal age, married,
               engineer, and resident of Guaynabo, Puerto Rico, in her capacity as Executive Director of the
               Puerto Rico Highways and Transportation Authority, whom I attest to personally know.

                       In San Juan, Rico, on May [hw:] 20, 2015.
                     [seal:] BELÉN FORNARIS ALFARO
                                                                            [signature]
[seal:] EXEMPT FROM PAYMENT[emblem]
                                OF TARIFF
                             PUERTO RICO                                  Notary Public
           LAW 47 OF JUNE 4, 1982
                      ATTORNEY - NOTARY PUBLIC
Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                                          Desc:
                     Monolines Ex. 51 Page 156 of 167
                                                                                               [stamp:] MARIA DE LOURDES
                                                                                               RODRIGUEZ
                                                                                               ATTORNEY – NOTARY

                                              PROMISSORY NOTE

VALUE: $33,960,000                                                        EXPIRATION: January 31, 2013

         FOR VALUE RECEIVED, promissory note to the order of the BANCO GUBERNAMENTAL DE FOMENTO
PARA PUERTO RICO in legal currency of the United States of America at its main office in Santurce, Puerto Rico, the
principal sum of THIRTY-THREE MILLION NINE HUNDRED SIXTY THOUSAND DOLLARS ($33,960,000),
which includes the sum of THIRTY-THREE MILLION TWO HUNDRED SEVENTY-SIX THOUSAND TWO
HUNDRED SEVENTY-TWO DOLLARS ($33,276,272) which the AUTHORITY shall use to continue its capital
improvements projects during the first six months of Fiscal Year 2013, plus SIX HUNDRED EIGHT-THREE
THOUSAND SEVEN HUNDRED TWENTY-EIGHT DOLLARS ($683,728) which the AUTHORITY shall use to
cover fees for financial consultant’s services and the capitalization of interest upon expiration, minus any sum previously
paid. This PROMISSORY NOTE shall accumulate interest on the unpaid balance of the principal of THIRTY-THREE
MILLION NINE HUNDRED SIXTY THOUSAND DOLLARS ($33,960,000), based on the Prime Rate plus 1.505,
with a minimum of 6%, or any interest rate that the President of the BANK or the Executive Vice President designated
by him for this provides, depending on the market interest rate. The interest shall be capitalized upon expiration. This
PROMISSORY NOTE is granted pursuant to the LOAN AGREEMENT signed by the AUTHORITY on this same date.

          In the event that the taker or holder of this PROMISSORY NOTE finds that it is appropriate to go to the courts
of justice for its collection or if it has to intervene in proceedings under the Federal Bankruptcy Law, the signatories
shall also pay a sum equivalent to TEN PERCENT (10%) of the principal amount of this PROMISSORY NOTE, as
liquidated damages due without any need for court intervention, for costs, expenses and attorney’s fees and which shall
be payable with only the filing in the court of the complaint.

         We expressly disclose to the taker or holder of this PROMISSORY NOTE its obligation to provide security in
the case of any court action for the collection of this PROMISSORY NOTE if such taker or holder requests an order
from the court to ensure the enforceability of the decision in accordance with the Laws of Puerto Rico.

          The taker or holder of this PROMISSORY NOTE may accelerate its term and declare that it is due and payable
before its expiration, of any of the following events occur:

          a)       Any of the instalments for interest and principal or any accelerated payment related to the loan
evidenced by this PROMISSORY NOTE that has been made by the taker or holder of this PROMISSORY NOTE in
favor of the signatory is not paid on its due date;

         b)       Seizure or enforcement of any of the properties of the signatory given as collateral;

         c)       Insolvency, trusteeship, dissolution, termination, liquidation or bankruptcy of the signatory or of any
of them and their successors;

         d)       That it is determined that any information, guarantee or representation made by the signatory to the
taker or holder of this PROMISSORY NOTE on any date when it is made that is false or inaccurate, in part or in full;
and the

         e)   Breach by the signatory of any of the terms, clauses and conditions of this PROMISSORY NOTE or
of the LOAN AGREEMENT signed on this date with the taker or holder of this PROMISSORY NOTE.

         The signatory hereby waives any right to presentation, failure to pay, protest, demand and notice. The signatory
authorizes the taker or holder of this PROMISSORY NOTE and confers upon it authorization, without any requirement
of notice, to apply the right to set off the obligations that arise from this PROMISSORY NOTE and to extend its payment
date before or after its expiration, and in the same manner before or after its

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Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                                          Desc:
                     Monolines Ex. 51 Page
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expiration to extend waivers, to give forbearance, to make any application of payment of any sum of money that belongs to
the undersigned or any other promissory note that is held by the taker or holder of this PROMISSORY NOTE and to modify,
change or alter the form of payment of this PROMISSORY NOTE and to replace, change or release from liability any person
without this affecting, reducing or altering the joint and several liability of the undersigned, who notwithstanding the
replacement, change or release, shall continue to be jointly and severally liable for its payment to the taker or holder of this
PROMISSORY NOTE.
          The use of the singular in this PROMISSORY NOTE shall be understood to be plural if more than one person signs
it; the use of the plural shall include the singular; and the use of the pronouns of any gender shall include the others; and in
the case of more than one signatory the liability of each of them to the taker or holder of this PROMISSORY NOTE shall be
joint and several for any signatory.
         In San Juan, Puerto Rico, on [hw:] September 6, 2012.

                                                       HIGHWAYS AND TRANSPORTATION
                                                       AUTHORITY

                                                       [signature]
                                                       __________________________________
                                                       Rubén Hernández Gregorat
                                                       Executive Director
                                                       Secretary, Department of
                                                         Transportation and Public Works of
                                                         Puerto Rico

Statement No. [hw:] 702B ----

        Acknowledged and signed before me by Rubén Hernández Gregorat, adult, married and resident of
Guaynabo, Puerto Rico, in his capacity of Executive Director of the Highways and Transportation Authority of
Puerto Rico, and Secretary of the Department of Transportation and Public Works of Puerto Rico, whom I attest
I know personally.

         In San Juan, Puerto Rico, on September [hw:] 6, 2012.

 [stamp:] MARIA DE                                                                 [signature]
 LOURDES RODRIGUEZ                                                                 Public Notary
 ATTORNEY – NOTARY
                                                                   EXEMPT FROM PAYMENT OF STAMP
                                                                      TAX LAW 47 OF JUNE 4, 1982
Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                           Desc:
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                          FIRST AMENDMENT TO PROMISSORY NOTE
                                      (“ALLONGE”)
$33,960,000                                                     Expiration: January 31, 2014
        The PROMISSORY NOTE for THIRTY THREE MILLION NINE HUNDRED SIXTY
THOUSAND DOLLARS ($33,960,000), signed on September 6, 2012 by Rubén Hernández Gregorat, in
his former capacity as Executive Director of the Highways and Transportation Authority of Puerto Rico and
Secretary of the Department of Transportation and Public Works of Puerto Rico before the notary María de
Lourdes Rodríguez, Statement number 702B, and payable to the Banco Gubernamental de Fomento para
Puerto Rico (the “BANK”) or to its order, is amended to extend its expiration date until January 31, 2014.
The principal and accrued interest on the PROMISSORY NOTE shall be payable upon expiration.
      The other terms and conditions of the PROMISSORY NOTE, as amended, not inconsistent with this
FIRST AMENDMENT TO PROMISSORY NOTE, shall remain unchanged and in full effect.
         This modification is made pursuant to the FOURTH AMENDMENT TO LOAN AGREEMENT
that the BANK and the Highways and Transportation Authority of Puerto Rico signed on this date.
        In San Juan, Puerto Rico, on March [hw:] 13, 2013.
                                    HIGHWAYS AND TRANSPORTATION
                                    AUTHORITY OF PUERTO RICO


                                    [signature]
                                    Javier E. Ramos Hernández
                                    Executive Director
Statement [hw:] 783
        Acknowledged and signed before me by Javier E. Ramos Hernández, adult, married, engineer and
resident of Bayamón, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation
Authority of Puerto Rico, whom I know personally.
        In San Juan, Puerto Rico, on March [hw:] 13, 2013.
                                                        [signature]
 [stamp:] MARGUILEAN RIVERA AMILL
 ATTORNEY-NOTARY                                     EXEMPT FROM PAYMENT OF THE STAMP
                                                     TAX LAW 47 OF JUNE 4, 1982

29244
Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                           Desc:
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                           SECOND AMENDMENT TO PROMISSORY NOTE
                                       (“ALLONGE”)
$10,536,362.50                                                   Expiration: January 31, 2014
        The PROMISSORY NOTE for THIRTY THREE MILLION NINE HUNDRED SIXTY
THOUSAND DOLLARS ($33,960,000), signed on September 6, 2012 by Rubén Hernández Gregorat, in his
former capacity as Executive Director of the Highways and Transportation Authority of Puerto Rico and Secretary
of the Department of Transportation and Public Works of Puerto Rico before the notary María de Lourdes
Rodríguez, Statement number 702B, and payable to the Banco Gubernamental de Fomento para Puerto Rico (the
“BANK”) or to its order, as amended by the FIRST AMENDMENT TO PROMISSORY NOTE (“ALLONGE”)
signed on March 13, 2013 by Javier E. Ramos Hernández in his capacity of Executive Director of the Highways
and Transportation Authority of Puerto Rico before notary Marguileán Rivera Amill, Statement number 783, is
amended to reduce the maximum principal amount to TEN MILLION FIVE HUNDRED THIRTY-SIX
THOUSAND THREE HUNDRED SIXTY-TWO DOLLARS AND FIFTY CENTS ($10,536,362.50).
     The other terms and conditions of the PROMISSORY NOTE, as amended, not inconsistent with this
SECOND AMENDMENT TO PROMISSORY NOTE, shall remain unchanged and in full effect.
     This modification is made pursuant to the SECOND AMENDMENT TO LOAN AGREEMENT that the
BANK and the Highways and Transportation Authority of Puerto Rico signed on this date.
        In San Juan, Puerto Rico, on September [hw:] 10, 2013.
                                    HIGHWAYS AND TRANSPORTATION
                                    AUTHORITY OF PUERTO RICO


                                    [signature]
                                    Javier E. Ramos Hernández
                                    Executive Director
Statement [hw:] 882
        Acknowledged and signed before me by Javier E. Ramos Hernández, adult, married, engineer and
resident of Bayamón, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation
Authority of Puerto Rico, whom I know personally.
        In San Juan, Puerto Rico, on September [hw:] 10, 2013.
                                                        [signature]
 [stamp:] MARGUILEAN RIVERA AMILL
 ATTORNEY-NOTARY                                     EXEMPT FROM PAYMENT OF THE STAMP
                                                     TAX LAW 47 OF JUNE 4, 1982

29780
Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                             Desc:
                   THIRD AMENDMENT
                      Monolines Ex. 51 TO PROMISSORY
                                        Page 160 of 167 NOTE
                                                  (“ALLONGE”)
$10,536,362.50                                                       Expiration: January 31, 2015
        The PROMISSORY NOTE for THIRTY THREE MILLION NINE HUNDRED SIXTY
THOUSAND DOLLARS ($33,960,000), signed on September 6, 2012 by Rubén Hernández Gregorat, in his
former capacity as Executive Director of the Highways and Transportation Authority of Puerto Rico and
Secretary of the Department of Transportation and Public Works of Puerto Rico before the notary María de
Lourdes Rodríguez, Statement number 702B, and payable to the Banco Gubernamental de Fomento para
Puerto Rico (the “BANK”) or to its order, as amended by the FIRST AMENDMENT TO PROMISSORY
NOTE (“ALLONGE”) signed on March 13, 2013 by Javier E. Ramos Hernández in his capacity of Executive
Director of the Highways and Transportation Authority of Puerto Rico before notary Marguileán Rivera Amill,
Statement number 783, and by the SECOND AMENDMENT TO PROMISSORY NOTE (“ALLONGE”)
signed on September 10, 2013 by Javier E. Ramos Hernández in the referenced capacity before Notary
Marguileán Rivera Amill, statement number 882, whereby the maximum principal amount was reduced to
TEN MILLION FIVE HUNDRED THIRTY-SIX THOUSAND THREE HUNDRED SIXTY-TWO
DOLLARS AND FIFTY CENTS ($10,536,362.50), is hereby amended to extend its expiration date until
January 31, 2015.
      The other terms and conditions of the PROMISSORY NOTE, as amended, not inconsistent with this
THIRD AMENDMENT TO PROMISSORY NOTE, shall remain unchanged and in full effect.
     This modification is made pursuant to the THIRD AMENDMENT TO LOAN AGREEMENT that the
BANK and the Highways and Transportation Authority of Puerto Rico signed on this date.
              In San Juan, Puerto Rico, on [hw:] January 31, 2014.
                                         HIGHWAYS AND TRANSPORTATION
                                         AUTHORITY OF PUERTO RICO


                                         [signature]
                                         Javier E. Ramos Hernández
                                         Executive Director
Statement [hw:] 908
        Acknowledged and signed before me by Javier E. Ramos Hernández, adult, married, engineer and
resident of Bayamón, Puerto Rico, in his capacity as Executive Director of the Highways and Transportation
Authority of Puerto Rico, whom I know personally.
              In San Juan, Puerto Rico, on [hw:] January 31, 2014.
                                                             [signature]
 [stamp:] MARGUILEAN RIVERA AMILL
 ATTORNEY-NOTARY                                          EXEMPT FROM PAYMENT OF THE STAMP
                                                          TAX LAW 47 OF JUNE 4, 1982

[illegible]
Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                           Desc:
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                          FOURTH AMENDMENT TO PROMISSORY NOTE
                                      (“ALLONGE”)
$10,536,362.50                                                  Expiration: January 31, 2016
        The PROMISSORY NOTE for THIRTY THREE MILLION NINE HUNDRED SIXTY
THOUSAND DOLLARS ($33,960,000), signed on September 6, 2012 by Rubén Hernández Gregorat, in his
former capacity as Executive Director of the Highways and Transportation Authority of Puerto Rico and Secretary
of the Department of Transportation and Public Works of Puerto Rico before the notary María de Lourdes
Rodríguez, Statement number 702B, and payable to the Banco Gubernamental de Fomento para Puerto Rico (the
“BANK”) or to its order, as amended by (i) the FIRST AMENDMENT TO PROMISSORY NOTE
(“ALLONGE”) signed on March 13, 2013 by Javier E. Ramos Hernández in his capacity of Executive Director
of the Highways and Transportation Authority of Puerto Rico before notary Marguileán Rivera Amill, Statement
number 783, (ii) by the SECOND AMENDMENT TO PROMISSORY NOTE (“ALLONGE”) signed on
September 10, 2013 by Javier E. Ramos Hernández in the referenced capacity before Notary Marguileán Rivera
Amill, statement number 882, whereby the maximum principal amount was reduced to TEN MILLION FIVE
HUNDRED THIRTY-SIX THOUSAND THREE HUNDRED SIXTY-TWO DOLLARS AND FIFTY
CENTS ($10,536,362.50), (iii) and by the THIRD AMENDMENT TO PROMISSORY NOTE (“ALLONGE”)
signed on January 31, 2014 by Javier E. Ramos Hernández, before Notary Marguileán Rivera Amill, statement
number 908, is hereby amended to extend the expiration date until January 31, 2016.
     The other terms and conditions of the PROMISSORY NOTE, as amended, not inconsistent with this
FOURTH AMENDMENT TO PROMISSORY NOTE, shall remain unchanged and in full effect.
     This modification is made pursuant to the FOURTH AMENDMENT TO LOAN AGREEMENT that the
BANK and the AUTHORITY signed on this date.
        In San Juan, Puerto Rico, on May [hw:] 20, 2015.
                                    HIGHWAYS AND TRANSPORTATION
                                    AUTHORITY OF PUERTO RICO


                                    [signature]
                                    Carmen A. Villar Prados
                                    Executive Director
Statement [hw:] 738
        Acknowledged and signed before me by Carmen A. Villar Prados, Executive Director, adult, married and
resident of Guaynabo, Puerto Rico, in her capacity as Executive Director of the Highways and Transportation
Authority of Puerto Rico, whom I know personally.
        In San Juan, Puerto Rico, on May [hw:] 20, 2015.
                                                        [signature]
 [stamp:] BELEN FORNARIS ALFARO
 PUERTO RICO                                         EXEMPT FROM PAYMENT OF THE STAMP
 ATTORNEY-NOTARY                                     TAX LAW 47 OF JUNE 4, 1982

31267
             Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                                         Desc:
                                  Monolines Ex. 51 Page 162 of 167
                                                           PROMISSORY NOTE

             VALUE: $33,189,996                                                       EXPIRATION: January 31, 2014

                       The HIGHWAYS AND TRANSPORTATION AUTHORITY OF PUERTO RICO (“AUTHORITY”), a legal
             entity established pursuant to Law Number 74 of June 23, 1965, as amended, acknowledges that it owes and for value
             received hereby promises to pay to the BANCO GUBERNAMENTAL DE FOMENTO PARA PUERTO RICO
             (“BANK”), or to its order, the principal sum of THIRTY-THREE MILLION ONE HUNDRED EIGHTY-NINE
             THOUSAND NINE HUNDRED NINETY SIX DOLLARS ($33,189,996). The disbursements under the credit line
             evidenced by this PROMISSORY NOTE shall accrue interest payable monthly, computed on the Prime Rate preferential
             interest rate plus a differential of 1.50% with a minimum of 6% or any other interest rate determined by the President of
             the BANK or his designee, in accordance with the market interest rate. The BANK may change the basis, margin and
             time period of the interest rate from time to time, as it deems necessary and in accordance with the interest rate market.

                      The expiration of this PROMISSORY NOTE is on January 31, 2014. If this obligation has not been satisfied
             upon expiration, from February 1, 2014 an interest rate equal to two hundred (200) basis points shall be applied on the
             applicable interest rate in effect prior to the expiration.

                     The principal as well as the interest on this PROMISSORY NOTE are payable in any legal currency of the
             United States of America, which on the respective payment dates is legal currency for the payment of public and private
             debts.

                  This PROMISSORY NOTE is set forth in a LOAN AGREEMENT signed on this date between the
             AUTHORITY and the BANK, and its expiration may be accelerated in accordance with the terms of the LOAN
             AGREEMENT.

                       In the event that the taker or holder of this PROMISSORY NOTE finds that it is appropriate to go to the courts
[initials]   of justice for its collection or if it has to intervene in proceedings under the Federal Bankruptcy Law, the signatories
             shall also pay a sum equivalent to TEN PERCENT (10%) of the principal amount of this PROMISSORY NOTE, as
             liquidated damages due without any need for court intervention, for costs, expenses and attorney’s fees and which shall
             be payable with only the filing in the court of the complaint.

                      We expressly disclose to the taker or holder of this PROMISSORY NOTE its obligation to provide security in
             the case of any court action for the collection of this PROMISSORY NOTE if such taker or holder requests an order
             from the court to ensure the enforceability of the decision in accordance with the Laws of Puerto Rico.

                       The taker or holder of this PROMISSORY NOTE may accelerate its term and declare that it is due and payable
             before its expiration, of any of the following events occur:

                 a) Any of the instalments for interest and principal or any accelerated payment related to the loan evidenced by
                 this PROMISSORY NOTE that has been made by the taker or holder of this PROMISSORY NOTE in favor of the
                 signatory is not paid on its due date;

                 b) Seizure or enforcement of any of the properties of the signatory given as collateral;

                 c)   Insolvency, trusteeship, dissolution, termination, liquidation or bankruptcy of the signatory or of any of them;




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    d) Expiration or breach of any other promissory note, debt or obligation of the signatories with the taker or holder
    of this PROMISSORY NOTE;

    e) That it is determined that any information, guarantee or representation made by the signatory to the taker or
    holder of this PROMISSORY NOTE on any date when it is made that is false or inaccurate, in part or in full;

    f) Breach by the signatory of any of the terms, clauses and conditions of this PROMISSORY NOTE or of the
    LOAN AGREEMENT signed on this date with the taker or holder of this PROMISSORY NOTE.

         The signatories hereby waive any right to presentation, failure to pay, protest, demand and notice. The signatory
authorizes the taker or holder of this PROMISSORY NOTE and confers upon it authorization, without any requirement
of notice, to apply the right to set off the obligations that arise from this PROMISSORY NOTE and to extend its payment
date before or after its expiration, and in the same manner before or after its expiration to extend waivers, to give
forbearance, to make any application of payment of any sum of money that belongs to the undersigned or any other
promissory note that is held by the taker or holder of this PROMISSORY NOTE and to modify, change or alter the form
of payment of this PROMISSORY NOTE and to replace, change or release from liability any person without this
affecting, reducing or altering the joint and several liability of the undersigned, who notwithstanding the replacement,
change or release, shall continue to be jointly and severally liable for its payment to the taker or holder of this
PROMISSORY NOTE.

           The use of the singular in this PROMISSORY NOTE shall be understood to be plural if more than one person
signs it; the use of the plural shall include the singular; and the use of the pronouns of any gender shall include the others;
and in the case of more than one signatory the liability of each of them to the taker or holder of this PROMISSORY
NOTE shall be joint and several for any signatory.
         In San Juan, Puerto Rico, on [hw:] February 28, 2013.

                                                         HIGHWAYS AND TRANSPORTATION
                                                         AUTHORITY OF PUERTO RICO

                                                         [signature]
                                                         __________________________________
                                                         Javier E. Ramos Hernández
                                                         Executive Director

Testimony [hw:] 779

       Acknowledged and signed before me by Javier E. Ramos Hernández, adult, married and a resident of
Bayamón, Puerto Rico, in his capacity of Executive Director of the Highways and Transportation Authority of Puerto
Rico, whom I know personally.

         In San Juan, Puerto Rico, on [hw:] February 28, 2013.

 [stamp:] MARGUILEÁN RIVERA AMILL                                                 [signature]
 ATTORNEY – NOTARY                                                                Public Notary

                                                                  EXEMPT FROM PAYMENT OF STAMP TAX
                                                                         LAW 47 OF JUNE 4, 1982
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                              FIRST AMENDMENT TO PROMISSORY NOTE
                                          (“ALLONGE”)
$33,189,996                                                            Expiration: January 31, 2015
        The PROMISSORY NOTE for THIRTY-THREE MILLION ONE HUNDRED EIGHTY-
NINE THOUSAND NINE HUNDRED NINETY-SIX DOLLARS ($33,189,996), signed on February
28, 2013 by Javier E. Ramos Hernández in his capacity of Executive Director of the Highways and
Transportation Authority of Puerto Rico before Notary Marguileán Rivera Amill, Statement number 779,
is hereby amended to extend its expiration date until January 31, 2015.
        The other terms and conditions of the PROMISSORY NOTE, as amended, not inconsistent with
this FIRST AMENDMENT TO PROMISSORY NOTE, shall remain unchanged and in full effect.
       This modification is made pursuant to the FIRST AMENDMENT TO LOAN AGREEMENT that
the BANK and the Highways and Transportation Authority of Puerto Rico signed on this date.
        In San Juan, Puerto Rico, on January [hw:] 31, 2014.
                                                HIGHWAYS AND TRANSPORTATION
                                                AUTHORITY OF PUERTO RICO

                                                [signature]
                                                __________________________________
                                                Javier E. Ramos Hernández
                                                Executive Director

Testimony [hw:] 911

       Acknowledged and signed before me by Javier E. Ramos Hernández, adult, married and a resident of
Bayamón, Puerto Rico, in his capacity of Executive Director of the Highways and Transportation Authority of Puerto
Rico, whom I know personally.

        In San Juan, Puerto Rico, on January [hw:] 31, 2014.

 [stamp:] MARGUILEÁN RIVERA AMILL                                    [signature]
 ATTORNEY – NOTARY                                                   Public Notary

                                                       EXEMPT FROM PAYMENT OF STAMP TAX
                                                              LAW 47 OF JUNE 4, 1982




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Case:17-03283-LTS Doc#:18815-9 Filed:10/27/21 Entered:10/27/21 09:09:47                          Desc:
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                            SECOND AMENDMENT TO PROMISSORY NOTE
                                        (“ALLONGE”)
$33,189,996                                                            Expiration: January 31, 2016
        The PROMISSORY NOTE for THIRTY-THREE MILLION ONE HUNDRED EIGHTY-
NINE THOUSAND NINE HUNDRED NINETY-SIX DOLLARS ($33,189,996), signed on February
28, 2013 by Javier E. Ramos Hernández in his capacity of Executive Director of the Highways and
Transportation Authority of Puerto Rico before Notary Marguileán Rivera Amill, Statement number 779,
as amended by the FIRST AMENDMENT TO PROMISSORY NOTE (“ALLONGE”) signed on January
31, 2014 by that official before Notary Marguileán Rivera Amill, statement number 911, is hereby amended
to extend its expiration date until January 31, 2016.
        The other terms and conditions of the PROMISSORY NOTE, as amended, not inconsistent with
this SECOND AMENDMENT TO PROMISSORY NOTE, shall remain unchanged and in full effect.
         This modification is made pursuant to the SECOND AMENDMENT TO LOAN AGREEMENT
that the BANK and the AUTHORITY signed on this date.
        In San Juan, Puerto Rico, on May [hw:] 20, 2015.
                                               HIGHWAYS AND TRANSPORTATION
                                               AUTHORITY OF PUERTO RICO

                                               [signature]
                                               __________________________________
                                               Carmen A. Villar Prados
                                               Executive Director

Testimony [hw:] 736

        Acknowledged and signed before me by Carmen A. Villar Prados, Executive Director, adult, married and
resident of Guaynabo, Puerto Rico, in her capacity as Executive Director of the Highways and Transportation
Authority of Puerto Rico, whom I know personally.

        In San Juan, Puerto Rico, on May [hw:] 20, 2015.

 [stamp:] BELEN FORNARIS ALFARO                                      [signature]
 PUERTO RICO                                                         Public Notary
 ATTORNEY – NOTARY
                                                       EXEMPT FROM PAYMENT OF STAMP TAX
                                                              LAW 47 OF JUNE 4, 1982




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                                           PROMISSORY NOTE


      AMOUNT: $15,000,000                                                    MATURITY: June 30, 2015

                The PUERTO RICO HIGHWAYS AND TRANSPORTATION AUTHORITY
      (“AUTHORITY”), a legal entity created by virtue of Law No. 74 of June 23, 1965, as amended,
      acknowledges its debt and, for value received, hereby promises to pay the GOVERNMENT
      DEVELOPMENT BANK FOR PUERTO RICO (“BANK”) or to its order, the principal amount
      of FIFTEEN MILLION DOLLARS ($15,000,000). Disbursements under the line of credit
      documented by this PROMISSORY NOTE will accrue interest, which will be payable upon
      maturity, calculated using the preferential Prime Rate of interest plus a differential of 1.50%, with
      a minimum of 6%, or any other interest rate determined by the president of the BANK or its
      designee, according to market interest rates. The BANK may from time to time revise the basis,
      margin and frequency of the interest rate, as deemed necessary and according to market rates. The
      interest will vary as the Prime Rate varies.

               The maturity date of this PROMISSORY NOTE is June 30, 2015. If this obligation has
      not been satisfied in full by its maturity date, an interest rate equal to two hundred (200) basis
      points will be applied on top of the applicable interest rate in force prior to maturity.

               Both the principle and interest on this PROMISSORY NOTE are payable in any legal
      tender of the United States of America that is the legal tender in force for the payment of public
      and private debts as of the respective payment dates.

               This PROMISSORY NOTE is related to a LOAN AGREEMENT signed on this same
      date between the AUTHORITY and the BANK, and its maturity may be accelerated pursuant to
      the terms of the LOAN AGREEMENT.

               In the event that the holder or bearer of this PROMISSORY NOTE is compelled to turn
      to the law courts for its collection or must participate in procedures under Federal Bankruptcy
      Law, the undersigned will also pay an amount equal to TEN PERCENT (10%) of the principal of
      this PROMISSORY NOTE, as due and payable without the need for judicial intervention, for
      costs, expenses and attorney’s fees, and the penalty of which will be payable with the mere filing
      in the court of claims.

               We expressly release the holder or bearer of this PROMISSORY NOTE from their
      obligation to provide security in the event of legal action for the collection of this PROMISSORY
      NOTE if such holder or bearer requests an order from the court to ensure the performance of the
      judgment according to the Laws of Puerto Rico.

              The holder or bearer of this PROMISSORY NOTE may accelerate its term and declare it
      due and payable before its maturity, if any of the following events occurs:

               a)       Any of the interest and principal installments or any advance related to the loan
               that evidences this PROMISSORY NOTE has been made by its holder or bearer in favor
               of the undersigned are not paid when due;

               b)       Attachment or seizure of any of the properties of the undersigned subject to
               public auction, pledged as security;

               c)       Insolvency, receivership, dissolution, termination, liquidation or bankruptcy or
               any of the foregoing of the undersigned and their successors;




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               d)       Maturity of or non-compliance with any other promissory note, debt or
               obligation of the undersigned with the holder or bearer of this PROMISSORY NOTE;

               e)        It is determined that any information, guarantee or representation made by the
               undersigned to the holder or bearer of this PROMISSORY NOTE be false or doubtful in
               part or in whole on the date made; and the

               f)       Breach by the undersigned of any of the terms, clauses and conditions of this
               PROMISSORY NOTE or LOAN AGREEMENT signed on the date of closing with the
               holder or bearer of this PROMISSORY NOTE.

                The undersigned hereby waive all rights to filing, non-payment, objection, claim and
      notice. The undersigned authorize the holder or bearer of this PROMISSORY NOTE and bestows
      power, without requiring any notification, to apply the right of compensation, or set-off, to the
      obligations that originate from this PROMISSORY NOTE and to extend its payment date before
      or after its maturity, and likewise before or after its maturity to extend forbearance, grant leniency,
      make any application of payments of any amount belonging to the undersigned or for any other
      note under the authority of the holder or bearer of this PROMISSORY NOTE, and to modify,
      change or alter the form of payment of this PROMISSORY NOTE and to substitute, change or
      release the joint responsibility of the undersigned, who despite such substitution, change or
      release, will continue to be jointly responsible for their payment obligation to the holder or bearer
      of this PROMISSORY NOTE.

                The use of the singular in this PROMISSORY NOTE shall be understood to mean the
      plural if more than one person signs; the use of the plural includes the singular; and the use of
      pronouns for any gender includes the other; and if there is more than one signer the responsibility
      of each one of those obligated to the holder or bearer of this PROMISSORY NOTE will be joint
      for all the signers.

               In San Juan, Puerto Rico, on January [hw:] 16, 2014.

                                                              PUERTO RICO HIGHWAYS AND
                                                              TRANSPORTATION AUTHORITY


                                                              [signature]
                                                              César M. Gandiaga Texidor
                                                              Assistant Executive Director for
                                                              Administration and Finance

      Certification [hw:] 897

      Acknowledged and signed before me by César M. Gandiaga Texidor, Assistant Executive Director
      for Administration and Finance of the Puerto Rico Highways and Transportation Authority, who is
      of legal age, married, accountant, and resident of San Juan, Puerto Rico, whom I attest to
      personally know. In San Juan, Puerto Rico, on January [handwritten:] 16, 2014.

               In San Juan, Puerto Rico, on January [hw:] 16, 2014.


                                                                      [signature]
   [seal:] MARGUILEÁN RIVERA AMILL                                  Notary Public
                [emblem]
      ATTORNEY - NOTARY PUBLIC
                                [seal:] EXEMPT FROM PAYMENT OF TARIFF
                                           LAW 47 OF JUNE 4, 1982



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